       Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 1 of 220 PageID #: 72560




                                             UNITED STATES DEPARTME NT OF.JUSTICE
                                              DRUG ENFORCEM ENT ADMINISTRATION

                                                                               )
                    In the Matter of                                           )
                                                                               )
                             McKesson Corporation                              )

                                                                    PLEADING S
                                                                     VOLUME I
                                        1   FILED      nvTDi:safIP'Tn1ocomNr.,,_;,_____~ ~--~- ~ 1
                                                 DEA                  how Cause
            ~--+-- - --+- - - - --,--- -~-~-- - -~ - -- - -- - - - - - - - ~,
             2   9/1/06    HPM       R¥quest for a Hearing
                 3         9/1 1/06              DEA        Order for ?rehearing Statements
                4                                           Government' s Prehearing Statement
                5                                           Ruling on Requested Extension
                6          l 0/23/ 06        HPM            Respondent's Motion for Extension of Ti.me to File
                                                           _Prehearing Statement
                7          10/27/06 i        HPM            Respondenfs Motion fQr a.Second Extension of Time to
                                                            File Prehearing Statement
       -.   _    _ _,
                    !' _- - --+--            -    -   -   --+-- -
                8          10/27/06          DEA           ! Rulihg on Requested Extension
                9          I 1/3/06          HPM            Prehearing Statement
                10         l l/27/06         DEA           Prehearing Ruling
                11         3!16/07           HPM           Motion for Extension of Time to File Supplemental
                                                           Prehearing Statements and Exchange Documentary
                                                           Evidence
       I   ~
       l 12 3/1                                                       Extension of Time
       L___:,_, _- ~ ~ ~ - ~ ~- - ~ - - - - ~ ~ - - - - ~ ~- - -- - - ~


                                                                                                                     17-MDL-2804

                                                                                                                 PLAINTIFFS TRIAL
                                                                                                                     EXHIBIT
                                                                                                               P-00016_00001



CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                   MCKMDL00496306
                                                                                                                      P-00016_00001
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 2 of 220 PageID #: 72561




         B      6/7/07         DEA     Memorandum to Counsel (Failure of both Parties to File
                                       Supplemental Prehea.ring Statements - Possibly
                                       Terminating Proceedings)

         14     6/7/07         DEA     Memorandum to Counsel (Not Terminating Proceedings)

         15    6/12/07         DEA     Government Supplemental Prehearing Statement

         16     6/13/07        fIPM    Motion To File Supplemental Prehearing Statement; Supplemental
                                       Prehearing Statement Of McKesson Corporation


         l7    6/25/07         DEA      Consent Motion to Reschedule Hearing Dates
         18    6/26/06         DEA      Memorandum to Counsel and Order
         19    9/10/07         DEA      Memorandum to Counsel
         20    10/12/07        HPM      Joint Motion for Extension of Time to File Supplemental
                                        Prehearing Statements and Exchange Documentary Evidence
         21    10/12/07        DEA      Ruling on Requested Extension
         22    10/19/07        DEA      Government Supplemental Preheating Statement
         23    10/22/07        DEA      Government Request That Subpoenas Be Issued For The
                                      i Appearance And Testimony Of Vlitness
         24    10/22/07        DEA      Letter re: Subpoenas that had been Issued for Walker and
                                        Mahoney
         25    10/23/07        DEA      Letter requesting Lists of Attendees
         26    10/23/07        DEA      Letter re Hearing Schedule
         27    10/23/07    \   DEA      Subpoenas to William Mahonev, Donald Walker
         28    10/24/07        DEA      Letter to William Mahoney, Donald Walker Explaining Subpoena
         29 10/25/07           DEA      Request for a Subpoena for !'vfichael Mapes
         30    10/25/07        DEA      Letter re Michael Mapes Subpoena
         31    10/26/07        DEA      Settlement Offer
         32 !11/1/07           DEA      Letter re Copies of Transcript
         33     1117/07        DEA      Letter requesting List of Attendees
         34     11/7/07        DEA      Letter re Hearing Schedule
         35    11/19/07        HPM      Letter: Re Proposed Settlement
         36    l l/19/07       DEA      Letter: Re Proposed Settlement
         ">'"!
         ,) l  l l/23/07       DEA      Order: Request for Stay Granted (November 19, 2007)
         38    11/23/07        DEA      Order: Request for Stay Granted {November 20, 2007)
         39    12/17/07        DEA      Memorandum to Counsel re Settlement Negotiations                i
         40     3/7/08         HPM      Consent Motion to Stay Administrative Hearing and Proceedings




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                              MCKM D L00496307
                                                                                                P-00016_00002
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 3 of 220 PageID #: 72562




                                                              S60HH3.02 McKi:sson (On:kr to Show Cause)




         41   3/7/08     DEA      Order: Hearing for 3/10-12/08 cancelled and Proceedings Stayed
                                  Indefinitely
         42   5/1/08     DEA      Letter from Linden Barber Authorizing Changes as Agreed Upon
                                  by the Six USA's Offices (signed)
         43   5/5/08     DEA      Settlement and Release Agreement and Administrative
                                  Memorandum of Agreement
         44   6/2/08      DOJ     Subpoena to Garry Adam
         45   6/6/08     HPM      Joint Motion to Terminate
         46   6/6/08     DEA      Order Terminating Proceedings




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                MCKM D L00496308
                                                                                                    P-00016_00003
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 4 of 220 PageID #: 72563



                                                              U. S. Dcpamnel;~f Justice
                                                              Drug Enforcement Administration




            www.deaogov



           IN THE MATTER OF
                                                                  AUG o4 2006
           McKesson Corporation
           dba McKesson Drug Company
           l 515 West Bella Vista Street
           Lakeland, Florida 33805


                                               ORDER TO SHOW CAUSE

                   PURSUANT to Sections 303 and 304 of the Controlled Substances Act, Title 21, United
           States Code, Sections 823 and 824,

                   NOTICE is hereby given to afford McKesson Drug Company of Lakeland, Florida
           (McKesson-Lakeland), an opportunity to Show Cause before the Drug Enforcement Administration,
           (DEA) at a place and time to be determined, as to why the DEA should not revoke its Certificate of
           Registraticm, PM0000771, as a distributor of controlted substances, and deny any applications fo:r
           renewal or modification ofsuch registration pursuant to 21 U.S.C. §§ 824(a)(4) and 823(b) and (e),
           for reason that its regis1ration is inconsistent with the public interest, as that term is used in 2 l
           U,S.C. § 823(b) and (d), as evidenced by, but not limited to, the following:

                   l. McKesson Corporation of San Francisco, California operates numerous nationwide
                      Distribution Centers including the facility McKesst:m-Lakeland, which holds a DEA
                      registration as a distributor of controlled substances at registered premises located in
                      Lakeland, Florida.

                  2. Each person who is registered to distribute controlled substances is required to report
                     acquisition nnd distribution transactions for Schedule U controlled substances and
                      narcotic controlled substances in Schedule HL DEA utilizes the ARCOS system, which
                      is an automated darn acquisition program, for this purpose.

                  3. In an April 27i 2001 policy statement, entitled, Dispensing and Purchasing Controlled
                     Substances Over the lnlernet, 66 Fed. Reg, 21,181 (200 J), DEA delineated certain
                     circumstances in which prescribing over the Internet is unlawful. Many Internet
                     pharmacies bypass a legitimate doctor-patient relationship, usually by use of a cursory
                     online questionnaire or perfunctory telephone "consult" with a doctor, who has a
                     contractual arrangement with the online phannacy and is often paid on the basis of
                     prescriptions issued. When the established safeguards of an authentic doctor~patient
                     relationship are lacking, controlled 1m:bstance prescription drugs can not only be misused,
                     but also present potentially serious health risks: to patients, Such rogue lntemet
                     pharmacies facilitate the easy circumvention oflegitimate medical practice, and dispen.se




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                               MCKM D L00496309
                                                                                                                 P-00016_00004
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 5 of 220 PageID #: 72564




                                                     2


                     quantities of controlled substances far beyond what normal waJk~in or mail order
                     pharmacies dispense,

                 4. On September 1, 2005, DEA Office of Diversion Control Headquarters personnel held a
                    briefing for corporate officials and 001.msel of McKesson Corporation. The presentation
                    included information on the characteristics oflntemet pharmacies mtd the nature of their
                    illegal activities. The presentation il:mluded a discussion of fue DEA Internet poJicy
                    statement as well as identification of common practices and ordering patterns of these
                    internet pha:rmacies. The briefing specifically identified problem states, including
                    Florida, as well as, problem drugs to include phentermine, alprazolam and the Schedule
                    DI.narcotio-hydrocodone. DEA also identified. one customer of the Lakeland facility
                    (United Prescription Services} whose ordering practices were suspicious.

                 5. Subsequently, DEA officials reviewed ARCOS reports for the period October I, 2005, to
                    January 31, 2006, and found that seven Florida pharmacies were still acquiring
                    extraordinary quantities ofhydrocodone, Despite its knowledge of suspicious internet
                    practices, McKesson-Lakeland was engaged in a continuing practice of supplying
                    hydrocodone to these seven phrumacies,

                 6. A specific review of McKesson-Lakeland's distribution of hydrocodone during the month
                    of October 2005, indicated that it hs.d approximately distributed 4.35 mi!Hon tablets of
                    hydrocodone to 898 different pharmacies. A breakdown of these distribution practices
                    revealed-that 486 pharmacy customers received less than 2,000 tablets; 306 pharmacies
                    received 2000-5000 tablets; and 99 pharmacies received between 5,000 and 21,200
                    tablets each.                                                          ·         ·

                 7. During October 2005, the remaining seven pharmacy customers of McKesscm-Lakefand,
                    all located in the Tampa area, received the following number of hyd:mcodone tablets:
                    Trelles Pharmacy (Trelies)-53,000, BiWise Drugs (Bi-Wise)-160,300, Universal RX
                    (Universal)-254,700, United Prescription Service (United)M:288,100, Accumed Rx
                    (Accumed)-404i400, Mediphrum Rx (Medipbrum)-500,900, and Avee Pharmacy (Avee}
                    520,200.

                 8. A further review of ARCOS data for the full year 2005 indicated that Medipbarm and
                    Universal ranked sixth and ninth respectively in the nation for hydrocodone purchases.
                    Furthennore, for the full year 2005, Med.iphmn, Universal, Avee, and United ranked
                    number one through four for purohases of hydrooodone in the State of Florida.        ·

                 9. McKesson-Lakeland submitted excessive purchase reports to DEA for the months
                    October and November 2005, .in that report, they indicated their self-imposed shipment
                    parameters for 500 count bottles ofhydrocodone in various strengths. Despite this, in
                    October 2005 and again in November 2005, McKesson~Lakeland made six sales of
                    hydrocodone to Accumed, Bi-Wise, and Trelles substantially in excess of these limits.

                 10. An analysis of ARCOS data regarding purchases made during the four month: period
                     October 2005 through January 2006, indicate.d that the national average and Florida
                     average hydrocodone purchases was approximately 24,000 tablets per pham:mcy. Over
                     that same four month period, the seven Internet pharmacies received between 24:5,000




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKM D L00496310
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                                                         3


                       and 3.5 million tablets. Most ofthese hydrocodone tablets were acquired from
                       McKesson-Lakeland.

                    IL Again, on January 3, 2006, DEA Office of Diversion Control Headquarters personnel
                       held a meeting for corporate officials and counsel of McKesson Corporation to discuss
                       the multi-million tablet di.stributioos of hydrocodone to Tampa area pharmacies. At the
                       time oft.he presentation, it was learned that McKesson-Lakeland had not been able to
                       access the level of sales of generic hydrooodone products from their recordkeeping
                       system for internal a.na.Iysis.

                    12. DEA investigators later commenced an a.nru.ysis of all reported purchases and purchase
                        records of controlled substances to establish percentages of sales for the seven
                        pharmacies. For the month January 2006, the percentage of sales that were hydrocodone
                        sales for these seven pharmacies were as follows: Accumed-77. 7%, Avee-79. 7%, Bi-
                        Wise~83.3%, Medipharm-87,6%,Trelles-41.3%, United~90.1%, and Universal-77%.
                        These percentages of hydrocodone sales are clearly indicative of a large scrue internet
                        dispensing activity, and are far beyond the hydrocodone sale activities of a true waJ.&.in
                        pharmacy or mail order pl::umnacy.

                   The following procedures are available to McKesson-Lakeland in this matter:

            1. Wit.bin 30 days after the date of receipt ofthls Order to Show Cause, you may file with.'the
               Deputy Administrator oHhe DEA a written request for a hearing in the form set forth in 21 ·
               C.F.R § 1316.47. (See21 C.F.R.. § 130L43(a)).

            :2. Within 30 days after the date of receipt of this Order to Show Cause, you may file v.'ith the
                Deputy Administrator a waiver of headng together with a written statement regarding its position
                on the matters of fact and law involved. (See 21 C.F.R. §l301A3(c)).

            3. Should you decline to file a request for a hearing or should you so ftle and fail to appear at the
               hearing, you shall be deemed to have waived the hearing and the Deputy' Administrator may
               caned such hearing, if scheduled, and may enter her final order in this matter without a hearing
               and based upon the investigative fiJe and the record of this proceeding as it may then appear,
               (See 21 C.F.R.. §§ 130L43(d) and I301.43(e)).

                   Correspondence concerning this matter, McKesson Corporation, should be addressed to the
            Hearing Clerk, Office of Administrative Law Judges, Drug Enrorcement Administration,
            Washington, D.C. 20537,




                                                                           si
                                                                Assistant Administrator
                                                               of Diversion Control
                                                         Drug Enforcement Administration

            cc: Hearing Clerk, Office of Administrative Law Judges




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                              MCKMDL00496311
                                                                                                                P-00016_00006
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 7 of 220 PageID #: 72566




                     Arty perroo desiring a. hemiug with~ tom Oro.et to Show Dmse must, within thirty

                                                     H ..                                        .
             {30) days from receipt ofthe Omer to $how Cause, file a request fur a hearing in the fullo-wmg
             format:

                                                                         [DAW]

             H~Cledc
             Office of the Admmistmti.ve Law .fudges
            ·Drug Enfbrcemmt Admmistnmon
             Washington, D.C. 20537


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             ,The ~gned. [Name of pci»oo.]. h~by requesm a hetmng in the matter of [Ideniiiication of
             theproooedmru.                      .                                                       I
                            (A) [State with partioolmity the interest of the peroon in t h e ~ . ]

                            (B} (S~ with pm:ticu!arity the objections or iffiJes., if any ooncemfug wh.icl:L the
                               · ~ demes to be beam.]

                            (C) [Shlt.e briefly dw position of the person with regard to the pmiicular
                                objections or issues.]

                            (D) [Name (either regismmt, applicant, or atrorney), address (wclurung street
                                ~ city~ state am! 1.ip code), and tclq,hone oomber (mcludiilg area
                                rode) of pernon to whom all subsequent ootices or mailings in this proceeding
                                should be sent.]

                                                                  Respeclfully yom:s,

                                                                   [ S i ~ of regiammt,
                                                                   applicam,. or attorney]
                                                                  "'
             Note: Pummnt to 21 CFR 1316.47(b), the A ~ v e L a w J ~ upo11request mid
             ·showmg of good cause, IMY gmo.t a ~ e ~ o n oftime allowing fur :response to an
             Order to Show Cause.




                                                                                                     MCKMDL00496312
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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           Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 8 of 220 PageID #: 72567




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                                                           RECEIPT FOR CASH OR OTHER ITEMS
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       MCKESSON CORPORATION D/B/A/ MCKESSON DRUG CO.




                                                                                                        DATE
                                                                                                            IH12006
       DMS!ON!OISTRJCT OFFICE
       D/I Deborah Butcher, l,illian Olmo, Ke:rmeth Boggess
      DOJ-DRUG ENFORCEMENT   ADMilUSTRATION                                          -
       TAMPA DI.STRICT OFFICE




            AMOUNT or QUANTITY                                     DESCRlPT!Oil! OF ITEMISl                                          PURPOSEma~~ik:;:!b~l
                                           l   Executive Correspondence

                                               Order to Show Cause clated Auguet 4, 2006



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                             MCKM DL00496313
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         Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 9 of 220 PageID #: 72568


                 REPORT OF GOVERN~i:i1' CONTACT       Drug Operations                     ~~~duaffl
                                         Exibit 55-39
     12/8/98
           Distribution Center Name and Ntmmben _L=ak=e=l=a.n=d"'-"1=9=5_ _ _ _ _ _ _ _ _ _ _ _ _ _ __


    TO: Vice President Distdbutlon Operations
          Director Distribution Quality

    CC:
          Gary Hilliard, Director of Regulatory Affairs, Arlington, TX (fax# 8 !7-652-7699)
          Ina Trugman, Law Department, 34th Floor, San Fmncisco, CA
     L    Time and date of contact by government representatives:
          8:25 am Friday August l l, 2006

          Name of government representative(s):
          Kenneth Boggess, LHlian Olmo, Deborah Butcher



          Name of government agency, division, and address at which represeotative(s) work(s):
          Drug Enforcement Administration
          4950 W, Kennedy Blvd.
          Tampa, FL 33609


          Purpose of contact
          Delivery of Order to Show Cause document



          ff tax is involved, state the nature of the tax, e.g,, sales or real estate:




          Additional comments:

          Document attached




          Sil 1106                                                       Brian Westmoreland
                                                                             Signature
                            AITACH COPIES OF ANY DOCUMENTS R.ECEfVEU OR GIVEN




                                                                                                               (712000)




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                              MCKM DL00496314
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 10 of 220 PageID #: 72569



                                                               LAW OFFICES


                                              HYMAN,. PHELPS S MCNAMARA,.                 P.C.
          JAMES R. l"HEL!"S                           '100 THIRTE:Ei',fl'H STREET, N.W.                .JENNll"ER El. !:I/WIS
          PAUL M. HYM/1\1\1                                                                            KIRK L. tlOOBINS ~
                                                                SUIT£ li:!00
          ROBERT /1\, DORMEl'i                                                                              ~C~S(;l.

          STEPHEN H. McNAMARA                        WASHmGTON, 0. C, Z000!5•Slol~9
         ROGm C. Th!IE$                                                                                CASSN<IOR/1\A.SOLTIS
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                                                                                                       MICHUU'.'. L. !lltJTI.El'I
         .JEFFREY 811. mass                                                                            ANNE MARIE MURPHY
         lil!RIAN J, OOOATO                                                                            PAULL FEFIIMAI
         FRANK J. $A5lNOWSKl
                                                                                                      l.ARRY K. HOOCK
         tllANE B. McCOLi.                                                                            CARA S. KATCHlm•
         A. WES SIEGNER, JR.                                                                          KURT R. KARST
          ALAN IM, K!R$CH£Nli!AIJM
                                                                                                      CHRISTIN£ P. !:!UMP
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         MARC H. Sl-!Al"!RO                                                                           CARM~LINA G. ALLIS•
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                US-45-I99'!11                                                                              l!fl~'3'~'!1'~1'AS.'8'


         DIRECT DIAL {202) 737-4293




                                                        September 1, 2006


         BY FACSIMILE/CONFIRMATION COPY BY I-IAND DELIVERY

         Helen Farmer
         Hearing Clerk
         Office of the Administrative Law Judges
         Drug Enforcement Administration
         U.S. Department of Justice
         600 Anny-Navy Drive
         Arlington, Virginia 22202

         Re:            Order to Show Cause, McKesson Corporation dba McKesson Drug Company,
                        Lakeland, Florida

         Dear Ms. Farmer:

                On behalf of McKesson Corporation dba McKesson Drug Company ("McKesson")
         and pursuant to 21 C.F.R §§ l30L43(a) and 1316.47, the undersigned counsel herein
         requests a hearing on the Drug Enforcement Administration's {"DEA's") Order to Show
         Cause (Order) that was received at McKesson~s Lakeland distribution center on August 11,
         2006.

                McKesson is registered with the DEA as a distributor of controlled substances (DEA
         No. PM0000771) at 15 l 5 West Bella Vista Street, Lakeland, Florida. The Order provided
         notice ofDEA's intent to revoke McKesson's DEA registration and deny any pending
         application for such registration, on the grounds that McKesson's continued registration is
         inconsistent with the public interest
                                                                                                 4819 EMPl'.'.J!OR' i!!OULEll'A~O


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                          MCKM D L00496315
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          Helen Farmer                                           HYMAN:, PHELPS © MCNAMARA, P.C
          September l, 2006
          Page2


                 McKesson herein requests a hearing, pursuant to 21 C.F.R §§ BOL43(a) and
         1316.47, on the issue of whether the continued registration of the above referenced DEA
         registration is inconsistent with the public interest McKesson denies generally the
         allegations raised in the Order that its registration should be revoked or denied. In
         particular, denies DEA's assertion that McKesson was engaged in the continuing practice
         of supplying hydrocodone to phannacies whose practices ,vere suspicious.

                All notices sent purstumt to this proceeding should be addressed to the attention of
         the undersigned.



                                                       ,. -. . ,_,· i~c17r~)
                                                        J hrl A. ~ ' Jr.
                                             #.,,,.,    Counsel for McKesson Corporation




         cc:   Joseph T. Rrumazzisi
               Deputy Assistant Administrator
               Office of Diversion Control

               Wayne Patrick
               Office of Chief Counsel (CCD)




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKMDL00496316
                                                                                                  P-00016_00011
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                                UNITED STATES DEPARTI\'IENT OF JUSTICE
                                     Drug Enforcement Administration



             In the Matter of

                     McKesson Corporation                           Docket No. 06-66
                     d!b/a McKesson Drug Company



                                       OR.DER FOR PREHEARING STATEMENTS

                    TI1e undersigned administrative law judge has been duly designated as the
             presiding officer in the above-captioned case,
                     Upon consideration of the Order to Show Cause herein and of the response
             thereto requesting a hearing, it is
                    ORDERED that the Government, no later than 4:00 p,m. eastern daylight time 011
             October 3, 2006, and Respondent, no later than 4:00 p.m. eastern daylight time on
             October 24, 2006, file with the Hearing Clerk, in triplicate, and serve on each other, a
             written statement containing the following sections:
                    1. Issuc(s). Statement of the perceived issues.
                    2. Stipulations. Proposed stipulations and admissions of fact
                    3. '\Vitnesst~s. Names and addresses of all witnesses whose testimony is to be
                       presented; counsel for Respondent should note that if an agent of Respondent
                        intends to testify, that agent must be listed as a witness, and a summary of the
                        testimony as described below must be provided,
                    4. Summary of h:estimony. Brief summary of the testimony of each v,ritness
                       ( counsel for the Government to indicate clearly each and every act, omission
                       or occurrence upon which he relies in seeking lo revoke Respondent's Drug
                       Enforcement Administration Certificate of Registration as a distributor of
                       controlled substances and deny any pending applications for renewal or
                       modification; counsel for Respondent to indicate dearly each and every
                       matter as to which he intends to introduce evidence in opposition to
                       revocation and denial), The summaries are to state what the testimony     wm be
                       rather than merely listing the areas to be covered, The parties are reminded
                       that testimony not disclosed in the prehearing statements or pursuant to
                       subsequent rulings is likely to be excluded at the hearing.
                    5. Documents. List of all documentary evidence, including affidavits and other
                       exhibits to be offered in evidence, specifying the number of pages in each
                       (Government counsel lo include in his list, and submit with his prehearing




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKM DL00496317
                                                                                                           P-00016_00012
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                           statement, a copy of the Certificate of Registration that is the subject ofthe
                           Order to Show Cause). Each exhibit is to be numbered or lettered with the
                           designation to be used at the hearing, Any exhibit of more than five pages
                           shall have each page numbered.
                    6. Other matters. Any other matters that the parties consider relevant.
                    7, Desired focation. Desired situs for the hearing, with a detailed statement of
                       reasons justifying any location other than Arlington, Virginia,
                    8, Best estimate as to time required for presentation of own case,

                    All proceedings vviH be governed by the provisions of2i CF.R. §§ JJ l6AI -
             1316.68 (2006). The date of the hearing 'Nill be set subsequent to the filing of prehearing
             statements.

             Dated: September 11, 2006


                                                                      ]&:/ {i/4v .lk&ur
                                                                     Mary EJ,ren Bittner
                                                                     Administrative Law Judge


             N.R Attention is directed to 2l C.F.R § 1316.45 (2006) which provides that papers are
             "deemed filed upon receipt by the Hearing Clerk." The Hearing Clerk's address is:


                                              Office of Administrative Law Judges
                                              Drug Enforcement Administration
                                              Washington, D.C. 20537


             Respondent's counsel is cautioned that failure to file timely a prehearing statement as
             directed above may be considered a waiver of hearing and an implied withdrawal of a
             request for hearing. Both parties are cautioned that documents are to be filed in triplicate.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKMDL00496318
                                                                                                             P-00016_00013
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 14 of 220 PageID #: 72573




                                             CERTIFICATE OF SERV]CE

                      This is to certify that the undersigned on September 11, 2006, caused a copy of
              the foregoing to be delivered via interoffice mail to counsel for the Government,
              Wayne Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
              Washington, D,C. 20537, and a copy to be mailed, postage paid, to counsel for
              Respondent, John A, Gilbert, Jr., Esq., Hyman, Phelps & McNamara, P,C., 700
              Thi1ieenth Street, N.W,, Suite 1200, Washington, D,C, 20005,                   /


                                                                             ~:, 4~
                                                                   atricia ,.\, K11edico
                                                                  Secretary to Mary Ellen Bittm~r
                                                                  Administrative Lavv Judge




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00496319
                                                                                                        P-00016_00014
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 15 of 220 PageID #: 72574




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                  MCKMDL00496320
                                                                                 P-00016_00015
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 16 of 220 PageID #: 72575




                            UNITED STATES DEPARTMENT OF JUSTICE

                             DRUG ENFORCEl\iENT ADlVDNISTRATION




             IN THE MATTER OF      )
                                   )
             MCKESSONCORPORATION   )                  Docket .No. 06-23
                     dba           )
             MCKESSON DRUG COMPANY )




                            GOVERNMENT'S PR.EH.EARING STATEMENT




                                      Wayne M. Patrick
                               Attorney, Office of Chief Cm.msel
                               Drug Enforcement Administration
                                2401 Jefferson Davis Highway
                                  Alexam.hia, Virginia 22301
                                           (202) 307-8010




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                  MCKMDL00496321
                                                                                 P-00016_00016
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 17 of 220 PageID #: 72576




             fo the Matter of: McKesson Drug Company (Respo:ndimt)

                    Pursuant to the September 11, 2006, Order of the Administrative Law

             Judge, the United States Department of Justice, Drug Enforcement Administration,

             by and tluough its undersigned attorney, hereby submits the foliowing prehearing

             statement



             ISSUE

                    Whether the Drug Enforcement Administration (DEA) should revoke

             McKesson Drug Company-Lakeland's (Respondent) (McKesson-Lakeland) DEA

             Certificate of Registration, PM0000771, as a distributor pursuant to 2 l U.S.C §

             824 (a) (4), any deny pending applications for renewal or modification of said

             registration pursuant to 21 U.S.C, § 823 (t), for reason that its registration would

             be inconsistent with the public interest as that term is used in 21 U.S.C. § 823 (f).



             PROPOSED STIPULATIONS AND ADMISSIONS OF FACT

             l.     Hydrocodone is a Schedule HI narcotic controlled substance pursuant to 21

                    CF.R. § 1308.13 (e).


             PROPOSED WITNESSES

             Diversion Investigator Scott Davis
             Drug Enforcement Administration
             Philadelphia Field Division
             Philadelphia, Pennsylvania




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM DL00496322
                                                                                                     P-00016_00017
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 18 of 220 PageID #: 72577




              Diversion Investigator Shirley Scott
              Drug Enforcement Administration
              El Paso r:ieid Division
              El Paso, Texas

             Lisa Sumvan
             Staff Coordinator, E-Commerce Section
             Office of Diversion Control, DEA HQS
             Arlington Virginia

             Diversion Investigator Michael Mapes
             Chief, E-Commerce Section
             Office of Diversion Controli DEA HQS
             Arlington Virginia


              PROPOSED TESTIMONY

              Investigator Davis' Proposed Testimony

                    Investigator Scott Davis 'vvm testify that he is a Diversion Investigator with

             the DEA Philadelphia Field Division. He was assigned to participate in

              investigations involving the distribution of controlled substances to and from

             various internet pharmacy operations in the Tampa, Florida vicinity,

                    He wm testify that McKesson Corporation of San Francisco, California

             operates numerous nationwide Distribution Centers including the facility

             McKesson-Lakelru:u't which holds a DEA Certificate of Registration, PM0000771 ~

             as a distributor of controlled substances at registered premises located in Lakeland,

             Florida.

                    A specific review of McKesson-Lakeland's distribution of hydrocodone

             during the month of October 2005, indicated that it had distributed 435 million

             tablets ofhydmcodone to 898 different pharmacies, A breakdown of these


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                  MCKM DL00496323
                                                                                                     P-00016_00018
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 19 of 220 PageID #: 72578




             distribution practices revealed that 486 pharmacy customers received less than

             2,000 tablets; 306 pharmacies received 2000-5000 tablets; and 99 pharmacies

             received between 5,000 and 21,200 tablets each.

                    He wm testify' that during October 2005, the oilier seven pharmacy

             customers of McKesson-Lakeland, all located in ilie Tampa area, received the

             following number ofhydrocodone tablets: Trelles Pharmacy (Trelles)- 51,000, Bi-

             Wise Drugs (Bi-Wise)-160,300, Universal R.,,""{ (Universal)- 254,700, United

             Prescription Service (United)-288, 100, Accumed Rx (Accumed)- 404,400,

             Medipharm Rx (Medipharm)-500, 900, and Avee Phannacy (Avee)-520,200.

                    He wm testify that DEA investigators later commenced an analysis of all

             reported purchases and purchase records of controlled substances to establish

             percentages of purchases attributable to hydrocodone .for ilie seven pharmacies,

             For the month January 2006, the percentage of purchases that were hydrocodone

             for these pharmacies were as follows: Accmned-77.7%, Avee-79.7°Ais Bi.. Wise-

             83.3%, Mediphru:m-87.6%, Treiles-41.3%, United-90.1%, and. Universal-77%,

              These percentages of hydrocodone sales are clearly indicative of a large scale

              internet dispensing activity, and are far beyond the hydrocodone sale activities of a

             true walk-in pharmacy or mail order pharmacy.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM DL00496324
                                                                                                      P-00016_00019
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              Diversion Investigator Shirley Scott's Proposed Testimony

                 Investigator Scott ""m testify that she is a Diversion Investigator assigned to

              DEA El Paso Field Division. She will testify as to her training, experience and

              background as a Diversion Investigator.

                 She wm testify that she was assigned to com:iuct an investigation of retail

              pharmacy registrant Accumed Rx, Inc. (Accumed) located at 3104 V.l. Waters

              Street, Suite 104B, Tampa, Florida 33614,

                 She win testify tlmt on September 2 I, 2005, DEA Tampa, Florida Diversion

              Investigators visited AccumecL A discussion with management indicated that the

             pharmacy processed no \Valk-in prescriptions and utmzed the Inten1.et and

              facsimile exdusively in their dispensing business. A document review revealed

              that .Accumed dispensed 877 nationwide prescriptions issued over t\vo days by

              various doctors located in Puerto Rico and Florida. The inspection also showed

              that Accumed had over 700,000 dosage units ofhydrocodone products in

              inventory, A review of records indicated that Accumed obtained predominantly a

             single controUed substance from rrndtipk distributors. This practice has been

              observed in some cases as a method to evade the traditional methods used by DEA

              to monitor sales data from a retail pharmacy.

                  She wm testify that Accumed dispensed more than fifty times as much

              hydrocodone as the average Florida retail pharmacy.

                 She wiH testify that in February 2006 1 DEA com.iucted an interview of a

              Florida physician who purportedly issued presc-riptions to facilitate Accumed)s


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM DL00496325
                                                                                                   P-00016_00020
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                    She will testify that these seven phannacies in 2006 were all ranked among

             the highest distributors of hydrocodone in the State of Florid~ and in several cases

             among the highest in the nation.



             Di.version Investigator Mid:maei Mapes' Proposed Testimony


                    Investigator Mapes wm testify that he is a Diversion Investigator and the

             Chief of the DEA HQS Office of Diversion Control, E-Commerce Section. He

             ·wm testify as to his training, experience and background as a Diversion.
             Investigator and supervisor.

                    He will testify that The Controlled Substances Act (CSA) establishes a

             '"dosed system" of distribution that regulates the :movement of controlled

             substance prescription medications from importation or :manufacture through their

             delivery to the ultimate user patient via the dispensing, administering or

             prescribing pursuant to the lawful order of a practitioner. The regulations

             implementing the CSA explidt1y describe the parameters of a lawful prescription

             as follows:

                           ''A prescription for a controlled substance to be effective must be
                           issued for a legitimate medical purpose by an individual practitioner
                           acting in the usual course of his professional practice. 21 C.F ,R §
                           1306.04 (ar.

             Prescriptions issued not in the "usual course of professional practice" are not

             "prescriptions" for purposes of the CSA and individuals issuing and filling such

             _purported prescriptions are subject to the penalties for violating the CSA's




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKM DL00496326
                                                                                                    P-00016_00021
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             contro.lled substances provisionso CSA regulations establish certain responsibilities

             not only on individual practitioners who issue prescriptions for controlled

             substances, but also on pharmacists who fill them. A pharmacist's ··corresponding

             responsibiHty" regarding the proper dispensing of controlled substances is

             explicitly described in 21 C.F.K § 1306.04(a).

                    He will testify that in an April 21, 200 l policy statement, entitled;

             Dispensing and Purchasing Controlled Substances Over the Internet; 66 Fed. Reg.

             21,181 (2001 ), DEA delineated certain circumstances in which prescribing over

             the Internet is unlawfuL The policy provides, inter alia, that a controlled substance

             should not be issued or dispensed unless there was a bona fide doctor/patient

             relationship, Such a relationship required that the patient has a medical complaint,

             a medical history be taken, a physical examination performed, and some logical

             connection exists between the medicaJ complaint, the medical history, the physical

             examination, and the drug prescribed, The policy statement specifically explained

             that the completion of "a questionnaire that is then reviewed by a doctor hired by

             the Internet pharmacy could not be considered the basis for a doctor/patient

             relationship .. .'1 Id,, at 21, 182-21,183.

                    He win testify that DEA has observed that while some consumers use

             Internet pharmacies for the convenience and privacy, others, including minor

             children, use the anonymity of the Internet to Hlegally procure controlled

             substances. Many Internet pharmacies bypass a legitimate doctor~patient

             relationship, usually by use of a cursory online questionnaire or perfunctory


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKM DL00496327
                                                                                                     P-00016_00022
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              telephone "consult" with a doctor1 who has a contractual arrangement with the

              online phan:nacy and is often paid on the basis of prescriptions issued" When the

              established safeguards of an authentic doctor-patient relationship are lacking,

              controHed substance prescription drugs can not only be misused, but also present

              potentially serious health risks to patients. Such rogue Internet pharmacies

              facilitate the easy circumvention of legitimate medical practice.

                     He wm testify that these internet activities typically result in the dispensing

              of quantities of controlled substances for beyond what normal retail walk-in or tme

              mail order pharmacies dispense.

                     Mro Mapes will testify that he concludes tlmt seven Tampa Florida area

              internet pharmacy operations have been distributing controHed substances in

              violation of Title 21 United States Code, Sections 829 and 841 (a) (1) in frmt the

              owners, pharmacists and employees all have direct knowledge that there is no

              legitimate _physician/patient relationship established bchveen the purported

              prescribing physician and the customers who order controlled substances directly

              through the websites. Each of these phammcies received hydrocodone

              distributions from McKesson Lakeland.

                     He wm testify that On September I, 2005, DEA Office of Diversion

              Control Headquarters personnel held a briefing for corporate officials and counsel

              of McKesson Corporation, The presentation included information on the

              characteristics ofintemet pharmacies and the nature of their megal activities. The

              presentation included the DEA internet policy statement as well as identification


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKM DL00496328
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             of common practices and ordering patterns of these internet pharmacies. The

             briefing specifically identified problem states, inch.u:iing Florida, as weH as

             problem drugs to include phentennine, alprazolam and the Schedule HI narcotic-

             hydrocodone, Again, on January 3, 2006, DEA Office of Diversion Control

             Headquarters personnel held a meeting for corporate officials and c01msel of

             McKesson Corpomtion to discuss the rnulti-mHlion tablet distributions of

             hydrocodone to Tampa area pharmacies, At the time of the presentation, it was

             learned that McKesson Lakeh:md had not been able to access the level of sales of

             generic hydrocodone products from their recordkeeping system for their own

             internal analysi~L



             Pharmacy Expert's Proposed Te~timony

                       The Government will present the testimony of an expert in the area of

             phrumacy practice, who will testify regarding his or her education, background,

             and experience. He. or she wm testify regarding the standard of practice and usual
                   '




             course of business observed by pharmacists and pharmacies when purchasing and

             dispensing controlled substances. The expert will testify regarding the concept of

             corresponding responsibility attaching to pharmacists when dispensing physicians i

             prescriptions,

                       The expert wm also testify regarding the seven Tampa area Internet

             Pharmacy's dispensing patterns with regard to the controlled substances they

             bandkdo The expert will opine on the seven Internet pharmacy purchasing


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00496329
                                                                                                     P-00016_00024
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 25 of 220 PageID #: 72584




              patterns of all dangerous drugs as demonstrated by a review of distributor records

              and opine how this compares to kno\vn industry walk-in retail pharmacies and

              known industry mail order pharmacies. The expert will conclude that the seven

              pharmacy operations do not fit the model of a retail pharmacy and apparently is

              engaged in dispensing narc:.otics predominantly to individuals, in amcmnts not

              consistent with known demand to retail or mail order pharmacies and by use of

              prescription authorizations not sufficiently documented to ensure that the

              pharmacy meets its corresponding responsibility to ensure the substances are for

              legitimate therapeutic purposes and in the course of professional medical practice.


              DOCUMENT ARY EVIDENCE

              L     Facsiluile copy of DEA Certificate of Registration (McKesson-Lakeland)

              2.    Copy of DEA notice in 66 Fed. Reg. 21181, dated April 27j 2001

              3.    Charts- Pharmacy Rankings for Hydrocodone, October 2005-Janaury 2006
                    (9 pages)

             4.     Charts- Accumed ARCOS purchases from McKesson, October 2005-
                    Janaury 2006 (9 pages)

             5.     Charts-Avee ARCOS purchases from McKesson. October 2005-Jammry
                    2006 (9 pages)

             6.     Charts- Bi-\~.tise ARCOS purchases from McKesson, October 2005-
                    Janaury 2006 (9 pages)

              7.    Charts~ Trelles ARCOS purchases from Iv[cKesson, October 2005-fanaury
                    2006 (9 pages)

              8,    Charts- United ARCOS purchases from McKesson, October 2005-Jammry
                    2006 (9 pages)



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM DL00496330
                                                                                                    P-00016 _ 00025
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 26 of 220 PageID #: 72585




             9.      Charts- Universal ARCOS purchases from McKesson. October 2005-
                     Janaury 2006 (9 pages)

              10.    Charts- Medipharm ARCOS purchases from McKesson. October 2005-
                     J anaury 2006 (9 pages)

              1 l.   Chart- Accumed Comparison ofhydrocodone purchases by pharmacy
                     October 2005 to January 2006. ( l page)

              12.    Chart-Avee Comparison of hydrocodone purchases by pharmacy October
                     2005 toJanumy 2006: ( 1 page)

             13.     Chart- Bi-Wise Comparison of hydrocodone purchases by pharmac_y
                     October 2005 to January 2006. ( l page)

             · 14,   Chart- Trelles Comparison ofhydrocodone purchases by pharmacy
                     October 2005 to January 200& ( 1 page)

             15.     Chart- United Comparison ofhydrocodone purchases by pharmacy
                     October 2005 to January 2006, ( l page)

             16,     Chart- Universal Comparison ofhydrocodone purchases by pharmacy
                     October 2005 to January 2006. ( l page)

             17,     Chart- Medipharm Comparison ofhydrocodone purchases by pharmacy
                     October 2005 to January 2006. ( 1 page)

             1ft     Charts- State of Florida- Suppliers ofHydrocodone to Seven Florida
                     Pharmacies October 3 J, 2005- January 31, 2006. (8 pages)

             19,     Accumed ARCOS purchases~ October 2005-Janaury 2006 (3 pages)

             20.     Spreadsheet-Mc Kesson Arcos Distribution October 1-31, 2005.
                     (208 pages)

             21.     Spreadsheet-Afc Kesson Arcos Distribution 2006.

             22.     Compilation-l'vfc Kesson Distribution ofHydrocodone ... to Florida
                     Pharmacies October 1-31, 20()5 (16 pages)

             23,     Compilation- Mc Kesson Distribution ofHydrncodone by DEA Number
                     Sort October 1-31, 2005 (19 pages)



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                  MCKM DL00496331
                                                                                                P-00016_00026
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 27 of 220 PageID #: 72586




              24.   Chart-kfc Kesson Hydrocodane Sales October 1-31, 2005. (2 pages)

             25.    Spreadsheet-Mc Kesson Suspicious Purchase Report, October-November
                    2005. (27 _pages)

             26,    DEA Compilation Sheet- Erroneous DEA number Identification in reports
                    submitted by McKesson -2006.



             OTHER MATTERS

             None



             DESIRED SITUS FOR THE HEARING:

             Washington, D.C. (Arlington1 VA)



             TIME FOR PRESENTATION OF THE GOVERNMENT'S CASE

             One and one-half day, exclusive of cross-examination.




                                                     Respectfully submitted,




                                                     Wayne M. Patrick
                                                     Attorney, Office of Chief Counsel



             Dated: October 3, 2006




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                             MCKM DL00496332
                                                                                            P-00016_00027
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 28 of 220 PageID #: 72587




                                        CERTIFICAT.E OF SERVICE

                         On October 3, 2006, I sent via facsimile and mailed a copy ofthe

                   foregoing, postage prepaid, to Counsel for Respondent, John. A Gilbert, Jr,,

                   Esq., Hyman Phelps & McNamara, P.C., 700 B th Street N,Wo, Washington,

                   D.C. 20005



                                                     Wayne M. Patrick




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                               MCKM DL00496333
                                                                                                  P-00016_00028
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 29 of 220 PageID #: 72588

                                                                                              Po0V15




                                        CERTIFICATE OF SERVICE
                          On October 3, 2006, I sent via facsimile and mailed a copy of the

                   foregoing, postage prepaid, to Counsel for Respondent, John A, Gilbert, Jr.,

                   Esq., Hyman Phelps&. McNamara, P.C.~ 700 13th Street N.W., Washington.

                   D.C.20005



                                                     Wayne M. Pa.trick




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                              MCKM D L00496334
                                                                                                  P-00016_00029
       Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 30 of 220 PageID #: 72589

       10/23/2006    16:19     2023078198                  LJ                                         PAGE   01/02


                                                                U.S. Department of Justice

                                                                Drug Enforcement Administratk:m
                                                                Office of Administrative Law Judges
                                                                Washington, D.C 20531
                                                                Tet (202) 307-8188   Fa."< 307¥8198




                                  FAX TRANSMISSION

                         October 23, 2006

           To:           John A. Gilbert, Esq.
                         Wayne Patrick, Esq,

                         202~737-9329
                         7-4946

                         in the Matter ofMc.Ke,rson Carporatfrm, dlbla McKesson Drug Campany
                             Docket Na. 06~66

                         Patricia: Medico
                         Secretary to Mary Ellen Bittner
                         Chief Administrative Law Judge


                    YOU SHOULD RECEIVE 2 PAGE(S), Thl'CLUDING THIS COVER SifEET. lF
                    YOU DO NOT RECEIVE ALL THE PAGES, PLEASE CALL (202) 307-8188.



           Attachment




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKM D L00496335
                                                                                                      P-00016_00030
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 31 of 220 PageID #: 72590




                               UNITED STATES DEPARTMENT OF JUSTICE
                                    Drug Enforcement Administration



            In the Matter of

                   McKesson Corporation
                   d/b/a McKesson Drug Company                    Docket No. 06-66




                                       RULING ON REQUESTED EXTENSiON

                   On October 23, 2006, counsel for Respondent filed a request for an extension of
            time to October 30, 2006, to file it<i prehearing statement in the above-captioned matter,
            Counsel for Respondent advised that counsel for lhe Government does not oppose the
            extension.
                   Inasmuch as it appears that no prejudice wi!l result, Respondent's request is
            granted, Accordingly, Respondent may file its prehearing statement no ialer than
            4:00 p.m. eastern standard time on October 30, 2006.

            Dated: October 23, 2006



                                                                  y
                                                                   ./~~~JJZL._   of ...~
                                                                 Mary Ellen Bittner
                                                                 Administrative Law Judge


                                            CERTU'ICATE OF SERVICE

                   This i:s to certify that the undersigned on October 23, 2006, caused a copy of the
            foregoing to be faxed and delivered via interoffice mail to counsel for the Government,
            Wayne Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
            Washington, D.C 20537, and a copy lo be faxed and mail.ed, postage paid, lo cmmsd for
            Respondent, John A. Gilbe11, Jr., Esq., Hyman, Phelps & McNamara, P.C., 700
            Thirteenth Street, N.W., Suite 1200, Washington, D.C. 20005.

                                                                   L.
                                                                 ~ntricia A. Medico  Ou
                                                                             t, (.L ~cr-t::c~J
                                                                 Secretarv to Marv Ellen Binner
                                                                 Adrniniitrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL00496336
                                                                                                         P-00016 _ 00031
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 32 of 220 PageID #: 72591




           In The Matter of                          )
                                                     )
             McKesson Corporation                    )                     Docket No. 06-66
             d/b/a McKesson Drug Company              )




                        RESPONDENT'S MOTION FOR EXTENSION OF TilV[E
                              TO FILE PREHEAIUNG STATEMENT

                 McKesson Corporation d/b/a McKesson Drug Company (Respondent), through

          the undersigned counsel, files this motion for an extension of time to file Respondenfs

          Preheating Statement in the above captioned matter. On September l l ~ 2006, the

          Administrative Law Judge (ALJ) issued an order requiring that the Government file its

          Prehearing Statement on or before October 3, 2006 and that Respondent file its

          Prehearing Statement on or before October 24, 2006, Respondent's counsel was served

          with a copy of the Government's Prehearing Statement on October 3, 2006.

                 In order to ensure that Respondent is able to address all of the issues in this matter,

          Respondent requests a brief extension of time until. October 30, 2006 to file its Prehearing

          Statement Respondent contacted Government counsel who represented that the

          Government does not object to the request for an extension.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKMDL00496337
                                                                                                      P-00016_00032
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 33 of 220 PageID #: 72592




                                                                        Respectfully submitted,
                                                    ~--..........,.......,
                                                /




                                           (
                                            /              /           John A: Gilbert, r.
                                            L./                        Hyman,            McNamara PC
                                                                       700 Thirteenth Street, N.W.
                                                                       Washington~ D.C. 20005
                                                                       (202) 737-5600
                                                                       (202) 737-9329 (Fax)

                                                                       Counsel for f\.foKesson Corporation


           Dated: October 23, 2006




                                                     2




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM DL00496338
                                                                                                             P-00016_00033
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 34 of 220 PageID #: 72593




                                         CERTIFICATE OF SERVICE

                     This is to certify that the undersigned, on October 23, 2006, caused a copy of the
             foregoing to be delivered by facsimile and by hand to The Honorable Mary Ellen Bittner
             U.S. Department of Justice, Drug Enforcement Administration, 600 Army Navy Drive,
             A.rlington, Virginia, 22202, and copies to be sent by facsimile and first class mail to:


                                           \1Vayne Patrick
                                           Diversion and Regulatory Litigation Section
                                           Office of Chief Counsel
                                           Drug Enforcement Admfoistration
                                           600 Army-Navy Drive
                                           Arlington, Virginia 22202



                                                          R,   fan Kluge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00496339
                                                                                                          P-00016_00034
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 35 of 220 PageID #: 72594




                            UNITED STATES DEPARTMENT OF JUSTICE
                                 Drug Enforcement Administration




         In The Matter of                         )
                                                  )
           McKesson Corporation                   )                      Docket No. 06-66
           d/b/a McKesson Drug Company            )




               RESPONDENTJS MOTION FOR A SECOND EXTENSION OF TIME
                         TO FILE ?REHEARING STATEMENT

                McKesson Corporation d/b/a McKesson Drug Company (Respondent), through

         the undersigned counsel, files this motion for an second extension of time to fife

         Respondent's Prehearing Statement in the above captioned matter. On September I],

         2006, the Administrative Law Judge (ALJ) issued an order requiring that the Government

         file its Prehearing Statement on or before October 3, 2006 and that Respondent   me its
         Prehearing Statement on or before October 24. 2006. Respondent's counsel was served

         with a copy of the Government's Prehearing Statement on October 3, 2006, On October

         23, 2006, Respondent requested an extension of time until October 30, 2006 to file its

        prehearing statement. The ALJ granted this request in an Order dated October 23, 2006.

               Respondent herein requests a further extension until Friday, November 3, 2006 to

        submit its prehearing statement. Because of the press of other matters this week, Counsel

        for Respondent believes it will need additional time to make sure that it is able to




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM D L00496340
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         complete its Prehearing Statement Respondent contacted Government counsel, Wayne

         Patrick, who stated that the Government does not object to this request for an extension.

                                                              Respectfully submitted,




                                                  j
                                                      /
                                                                ym ,              cNarnara PC
                                                              700 Thirteenth Street, N.W.
                                                              Washington, D.C, 20005
                                                              (202) 737-5600
                                                              (202) 737-9329 (Fax)

                                                              Counsel for McKesson Corporation


         Dated: October 27, 2006




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKMDL00496341
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                                        CERTIFICATE OF SERVICE

                   This is to certify that the undersigned, on October 27, 2006, caused a copy of the
            foregoing to be delivered by facsimile and by hand to The Honorable Mary Ellen Bittner
            U,So Department of Justice, Drug Enforcement Administration, 600 Army Navy Drive,
            Arlington, Virginia, 22202, and copies to be sent by facsimile and first class mail to:


                                         Wayne Patrick
                                         Diversion and Regulatory Litigation Section
                                         Office of Chief Counsel
                                         Drug Enforcement Administration
                                         600 Army-Navy Drive
                                         Arlington, Virginia 22202


                                                   ~SIPK~                   'fnc \2,J7
                                                        Kathleen McKinley




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM D L00496342
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                                            HYMAN., PHELPS 8 McNAMARA., P.C,
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          l"AUI. M. HYMAN                                                                                        KIRK L DO!:ISIN5•
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          FROM:                            John Gilbert                                  DATE:              October 27, 2006


          TO:                              Honorable Mary Ellen Bittner                  FAX NO.:          (202) 307-8198
                                           Wayne Patrick                                                   (202) 307w4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                  MCKM D L00496343
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                                                                U.S. Department of Justice

                                                                Drug P.nforcement Administration
                                                                Office of Administrative Law Judges
                                                                Washington, D,C. 20537
                                                                Tel, (202) 307~8188     Fax 307-8198




                                    FAX TRANSMISSION

          Date:           October 27, 2006

                          John A. Gilbertr Jr.~ Esq.
                          Wayne M, Patrick, Esq.

                          202-737-9329
                          7--4946

                          In the Matter of McKesson Corporation dlhla McKesson Druf? Company

          Sender.         Jamie L. Stulin
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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                      Drug Enforcement Administration



              In the Matter of

                     McKesson Corporation                          Docket No, 06-66
                     d/b/a McKesson Drug Company


                                          RUUNG ON bQUES'T'ED EXTENSION

                     On October 27, 2006~ counsel for Respo:m:l'ent filed a request for a .second
              extcmion of time. to November 3, 2006, to file its prehearing statement in the above~
              captioned matter. Counsel for Respondent advised that counsel for the Government does
              not oppose the extension.
                     Inasmuch as it appears that n.o p~judice wm result, Respondent's reque.st is
             granted. Acmordingly, Respondent may file its prehemng statement no later than
             4:00 p.m. eastern standard time on November 3, 2006,

             Dated: October 27, 2006


                                                                    ~&_q~--
                                                                   By e direction of
                                                                   Mary l:Wen Bittner
                                                                   Administrative Law Judge




                                             CE:n:nFICATE OF SKRVICE

                    This is to certify that fue undersigned. on October 27, 2006, caused a copy of the
             foregoing to be faxed and delivered via interoffice mail to cmmsel for the Government.
             Wayne M. Patrick, Esq., Office of Chief Cc:mosel: Drug Enforcement Administra.tion,
             Washington, D.C. 20537, and a copy to be faxed and mailed. postage paid, to coW1Sd for
             Respondent, John A. Gilbert, Jr., Esq., Hyman, Phelps & McNamara, P.C., 700
             Thirteenth Street,. N.W., Suite 1200, Wruihmgton, D.C. 20005.


                                                                  J    L. StuJin
                                                                  Law Clerk to Mary Ellen Bittner
                                                                  AdmirristTative Law Judge




                                                                                                    MCKM D L00496345
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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                               UNITED STATES DEPARTMENT OF JUSTICE
                                    Drng Enforcement Administration



            In the Matter of

                   McKesson Corporation                          Docket No, 06-66
                   d/b/a McKesson Drug Company



                                        Rm.JNG ON REQUESTED Exn:NSION

                   On October 27, 2006, counsel for Respondent filed a request for a second
            extension of time, to November 3, 2006, to file its prehearing statement in the above-
            captioned matter . Counsel for Respondent advised that counsel for the Government does
            not oppose the extension.
                   Inasmuch as it appears that no prejudice will result, Respondent's request is
            granted. Accordingly, Respondent may file its prehearing sta1eme11t no later than
            4:00 p.m. eastern standard time on November 3, 2006.

            Dated: October 27, 2006


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                                                                 s;ifiedin:ction of
                                                                 !Vfary Ellen Bittner
                                                                 Adminislrative Law Judge




                                           CERTIFICATE OF SERVICE

                   This is to certify that the undersigned, on October 27, 2006, caused a copy of the
            foregoing to be faxed and delivered via interoffice mail lo counsel for the GovermnenL,
            Wayne M. Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
            Washington, D.C 20537, and a copy to be faxed and mailed, postage paid, to counsel for
            Respondent, John A, Gilbert, Jr., Esq., Hyman, Phelps & McNamara, P.C., 700
            Thirteenth Street, N.W., Suite !200, Washington, D.C. 20005.

                                                                 ~MD::k~.
                                                                 JaneLSi:ul in
                                                                 Law Clerk lo Marv Ellen Bittner
                                                                 Administrative La\v Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM D L00496346
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                          UNITED STATES DEPARTMENT OF JUSTICE
                           DRUG ENFORCEMENT ADMINISTRATION

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             In the Matter of                     )
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                   McKesson Corporation           )         Docket No. 06-66
                    d/b/a McKesson Drug Company   )
                                                  )




                                PREHEARING STATEMENT OF
                                 MCKESSON CORPORATION




                                                      John A. Gilbert, Jr.
                                                      Hyman, Phelps & McNamara PC
                                                      700 Thirteenth Street, N,W.
                                                      Suite 1200
                                                      Washington, D.C. 20005
                                                      (202) 737-5600
                                                      {202) 737-9329 (Fax)




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                       MCKM DL0049634 7
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                  PREHEARING STATEM.ENT OF MCKESSON CORPORATION


                     McKesson Corporation ('"McKesson") by and through the undersigned

            counsel, respectfuHy submits this prehearing statement pursuant to the Orders

            issued by this tribunal on September 11, 2006 and October 23, 20060

            I.       ISSUE

                     l"    Whether the Drug Enforcement Administration ('"DEA") has

            demonstrated, by a _preponderance ofthe evidence, that Respondent's DEA

            Certificate of Registration (#PM0000771) as a distributor of controlled substances

            at its Lakeland) Florida distribution center (DC) should be revoked as inconsistent

            with the public interest as that term is defined under 21 U.S.C. §§ 824(a) and

            823(i}


            H.       PROPOSED STIPULATIONS OF FACT


                     1"    Hydrocodone is a Schedule HI controlled substance pursuant to

                  21 C,F.R § 1308.B(e),

            UL    RESPONDENT'S WITNESSES AND SUMMARIES OF

            PROPOSED TESTIMONY

            A.    Witness List

                     l.   William Mahoney
                          Distribution Center Manager
                          McKesson Corporation
                          1515 West Bella Vista
                          Lakeland, Florida 33805



                                                     2




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                  2,    Colin DHley
                        Ware house Supervisor
                        McKesson Corporation
                        Lakeland, Florida

                  3.    Cassandra Wentworth
                        Computer Room Supervisor
                        McKesson Corporation
                        Lakeland, Florida

                  4.    Debra Butcher
                        DEA Diversion Investigator
                        Tampa, Florida

                  5,   Kyle Wright
                       DEA Diversion Investigator
                       Wash in gt on, DC

                  6,   Gary HiHiard
                       Director of Regulatory Affairs
                       McKesson Corporation

                  7,   Ron Bone
                       McKesson Corporation
                       San Francisco, California

                  8,   Jake Kramer
                       McKesson Distribution Center Manager
                       McKesson Corporation
                       Denver, Colorado

                  9.   Donald Walker
                       Senior Vice President
                       McKesson Corporation
                       San Francisco, CaHfomia




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             B.     Summary of Proposed Testimony

                    1.     Propq~ed Testimony of wmfam Mahoney

                    Mr. Mahoney wm testify as to his background and educational experience

             and provide testimony about his responsibilities as the Distribution Center

            Manager (DClv!) for the McKesson Lakeland DC. He wm testify on the policies

            and procedures for handling controlled substances. Mr. Mahoney will testify that

            he has a BA in English from Dartmouth College and an rvIBA, specializing in

            Industrial Science, from Carnegie Mellon University. Mr, Mahoney has worked in

            sales, information technology and production management positions at IBM and

            Morton International. He has eight years experience in the wholesale drug

            distribution industry at Cardinal Health and McKesson.

                   a.     Overview of the Lakeland Facility

                   Mr, Mahoney ,vm testify about the general characteristics ofMcKesson's

            DCs and specificaHy about the business conducted at the Lakeland DC. [Ex. l]

            He will testify that McKesson serves tens of thousands of customers nationwide.

            Sales of prescription drugs, including controlled substances to pharmacies vary

            greatly based on the size and type of customer. The Lakeland DC serves hospitals,

            health dinics 1 pharmacies and other health care entities, In particular, the size and

            other characteristics of pharmacies affect the type and amount of controlled

            substances purchased by a pharmacy. The Lakeland DC serves over 2,000

            customers, and about 1,700 ofthese customers purchase controlled substances

            from the facility. The Lakeland DC distributes to customers nationwide but


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             primarily to customers in Florida, Georgia and Alabama. The average monthly

             sales of health care products for this facility exceeds $250 million. About 15

             percent of these sales involve controlled substances. Mr, Mahoney will testify that

             the Lakeland DC recently increased the number of customers that it serves because

             of requirements mandated by recent changes in federal and state dmg pedigree

             laws. The drug pedigrees are required for all prescription drugs induding

            controlled substances. Toe Lakeland DC is equipped ,vith the necessary systems to

            accurately document and produce dmg pedigree documentation for its customers.

                   Mr. Mahoney will testify as to the personnel responsible for compliance

            with federal and state regulations regarding controlled substances. Mr. Mahoney

            wm describe the roles and responsibilities of employees who receive and handle
            controlled substances. He wm testify that the Lakeland facility employs about 160

            employees. Of these 20 employees are involved in the receipt, ham::iling, security

            and distribution of controlled substances. Background checks and employee drug

            testing are conducted on all employees with access to controHed substances.

            These employees are also provided training on policy and procedures for handling

            controHed substances, including state and DEA requirements. [Ex. 2] A written

            DEA Policies and Procedures Manual is made available to all employees to ensure

            compliance with these requirements,

                   The faciHty also employs a warehouse supervisor, who is :responsible for all

            activities in the controlled substance vault and cage. Mr. Mahoney and the

            warehouse supervisor are responsible for all activities conducted with controlled


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            substances. [Ex. 3] Mr. Mahoney       wm testify that monthly meetings are
            conducted with all controlled substances staff to review procedures and discuss

            ways to improve procedures to ensure safe handling of controlJed substances and

            compliance with state and federal requirements.

                   He   wm testify as to the physical security at the facility and the procedures
            followed to ensure security of controlled substances stored at the facility. On a

            monthly basis, the Lakeland. DC processes thousands of transactions involving

            controlled substances, including the receipt, storage and distribution to customers.

            For example, looking at t\vo month period from August 2006 to September 2006t

            the Lakeland DC averaged 85,] 55 invoiced lines of controlled substances and

            sales of over 264,000 pieces (i.e. bottles) of controlled substances per month, This

            compares to over 1. I million invoiced lines for all health care products.

                   Mr. Mahoney wrn testify that he believes that the Lakeland DC has

            maintained a strong record of compliance with DEA and state requirements. Mr.

            Mahoney     wm testify that the Lakeland DC has not been previously cited by DEA
            for any compliance violations. The last audit DEA conducted was October 24,

            2001. Agents Miguel Soler and Theresa Garnett audited five items and found zero

            discrepancies. [Ex, 4] No security, reporting or recordkeeping violations were

            noted. He will testify that this is significant given the volume of controlled

            substances handled by the facility.




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                    Mr, Mahoney    wm testify that the Lakeland DC has voluntarily cooperated
            with DEA in prior investigations and has provided DEA with reports and

            information upon request numerous times since he took over the facility in 200 l.

            Mr. Mahoney     wm provide examples of McKesson's cooperation with DEA during
            this time which includes providing ad hoc reports to DEA upon request.

                    b.     Verification of Customers

                    Mr. Mahoney will testify as to the procedures used by the Lakeland DC to

            establish new customer accounts and to verify that its customers are appropriately

            licensed. He will testify that customers are required to go through a thorough

            financial check before any new account is opened. [Ex. 5] The Lakeland DC

            employs five (5) sales representatives who handle independent accounts and seven

            (7) sales representatives who handle hospital and other types of health care

            entities. The sales representatives are trained to require that new customers submit

            the appropriate state and federal licenses before any shipments are made to new

            accounts, Mr. Mahoney      wm testify that this information is verified at the
            Lakel.and DC and customers cannot receive controlled substances until the DC has

            verified that a current state and federal license are on file. A tickler file is

            maintained to track expiration dates.

                   c.     Recordkeeping and Reporting Systems

                   Mr. Mahoney will testify that the Lakeland DC employs two (2) individuals

            to handle electronic recordkeeping and reporting requirements. These individuals,

            Cassandra Wentworth and Adam Voytek, are responsible for generating ARCOS


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            reports and maintaining other data required by DEA regulationso      }v!r,   Mahoney

            will testify that the Lakeland DC has recently improved these systems and

            increased focus on accuracy of the ARCOS and other DEA recordkeeping and

            reporting systemso He will discuss the reports generated on a daily, monthly and

            quarterly basis (e.g., the '"DU 4S' report) that enable the Lakeland faciHty to

            monitor sales of controlled substances. [Ex. 6] He wm discuss the improved

            procedures for review of controlled substance exception reports.

                   Mr. Mahoney wm discuss the policies and procedures used by the Lakeland

            DC to file reports of higher than average volume for controHed substances. There

            reports are generally labeled as "suspicious order" reports. Mr. Mahoney wm

            testify as to his understanding of the basis for these reports. He wm also testify as

            to the distinction between reports involving higher than average volumes and

            reports or investigations where the Lakeland DC has specific concerns about a

            customer or order involving controlled substances. He wm discuss the criteria for

            the reports established based on information provided by DEA on historical

            averages of purchases by customers. Mr. Mahoney will testify about prior reports

            submitted to DEA about customers that have purchased in excess of historical

            averages. Mro Mahoney wm testify as to DEA's response to these reports.

                  Mr. Mahoney wm testif:y about the Lakeland DC's relationship ,vith DEA

            and voluntary cooperation with DEA in prior investigations. He wiU testify as to

            his prior response to subpoenas issued by DEA. He will testify that the Lakeland




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            DC has provided reports to DEA on an ad hoc basis without requiring a subpoena

            or notice of inspection.

                    He will discuss procedures that Lakeland DC uses to follow~u_p with

            customers on potential suspicious orders. For example, the Lakeland DC received

            a notice from lvfoKesson's Director of Regulatory Affairs that DEA had identified

            Direct Pharmacy as an Internet pharmacy. The pharmacy was required to

            complete an Internet questionnaire. [Ex. 7] The Lakeland DC immediately

            terminated sale of any controlled substances to this facility until it completed its

            investigation. He   wm testify that Direct Phannacy called the Lakeland DC and
            requested a meeting to show that the pharmacy was conducting a legitimate

            business. The Lakeland DC also received a telephone caH from the Orlando DEA

            Field Office asking why the Lakeland DC had stopped semng to Direct Pharmacy.

            The Lakeland DC explained to the DEA Orland office that this action was based

            on information received from DEA headquarters. Employees from the Lakeland

            DC (Brian Westmoreland and Heather Harris) visited Direct Phannacy in June

            2006. Based on this visits and the notice received from DEA, McKesson decided

            not to reopen the account for controlled substances,

                  d.      Distribution Procedures in Case of Emergencies

                  M.r. Mahoney wilI testify that because ofits location the Lakeland DC is

            often required to take extraordinary measures to ensure that customers receive an

            uninterrupted supply of medicines, including controlled substances. This includes

            authorizing customers to purchase larger amounts of drugs than normal in


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           anticipation of storms as happened when Hurricane Katrina devastated Florida and

           the gulf states on August 25, 2005 and Hurricane Rita caused extensive damage in

           Florida on September 20, 2005. The most relevant example was on October 19,

           2005, when the Lakeland DC received reports from the National Hurricane Center

           that Hurricane Wilma was due to hit over the weekend and could be a category 5

           strength storm. The Lakeland DC called customers, urging them to order heavily

           in preparation for the event that it might not be able to reach them on Monday and

           for sometime thereafter.

                  e.     Hydrncodone Sales

                  Mr, Mahoney will discuss the sales ofhydrocodone products to customers.

           He wm testify that the DC has over 100 customers that purchase hydrocodone

           products most of which are pharmacies. [Ex. 8] Ivk Mahoney will testify that

           sales ofhydrncodone-containing drugs (including Norco and Vicodin) represent

           less than a half percent (.5%) total sales of prescription drugs for the facility. He

           will testify as to the amounts purchased by many of these customers and the

           frequency of such purchases. [Ex. 9]

                  Mr. Mahoney wm testii)• as to the due diligence completed for each of the

           seven pharmacies identified in DEA's order to show cause: Accmned, Ave.e, Bi-

           Wise, Medipharm, Trelles, United prescription Services and Universal RX. He

           will testify that the Lakeland DC documented that each of the pharmacies

           maintained at aH reievant times the appropriate state, federal and DEA

           registrations as retail pharmacies, He will testify as to the responses received from




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            each pharmacy from the Internet questionnaires sent to these pharmacies on

            dispensing of controlled substances.

                   Mr. Mahoney will testify the Lake.land DC opened the Accumed account on

            May 25, 2005. He will testify as to the steps used to verify this account [Ex. 10]

            He will discuss the controlled substances purchased by this facility. [Ex. 11-13]

            He will also testify as to the information received from this account in response to

            the Internet questionnaire. [Ex. 14]

                   Mr. Mahoney wm testify the Lakeland DC opened the Avee

            Pharmaceutical account on February 2, 2004. He      wm testify as to the steps used
            to verify this account. [Ex. 15] He    wm discuss the controlled substances
            purchased by this facility. [Ex. 16~ 18] He will also testify as to the informati cm

            received from this account in response to the Internet questionnaireo [Exo l 9]

                   Mr. Mahoney will testify the Lakeland DC opened the Bi-Wise Pharmacy

            account on in January 2003. He will testify as to the steps used to verify this

            account [Ex. 20] He will discuss the controlled substances purchased by this

            facility. [Ex, 21 ~23] He will also testify as to the information received from this

            account in response to the Internet questionnaire, f.Exo 24]

                   Mr, Mahoney will testify the Lakeland DC opened the MediPharm account

            in October 2005. He   wm testify as to the steps used to verify this account   [Ex,

            25] He wm discuss the controlled substances purchased by this facility. [Ex. 26-

            28] He will also testify as to the information received from this account in

            response to the Internet questionnaire, [Ex,29]


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                   fvir. Mahoney   wm testify the Lakeland DC opened the Trelles Pharmacy
            account in February 2006, He wm testify as to the steps used to verify this

            account [Ex. 30] He wm discuss the controlled substances purchased by this

            fucility. [Ex. 31-33] He wm also testify as to the information received from this

            account in response to the Internet questionnaire. [Ex.34}

                   Mr. Mahoney wm testify the Lakeland DC opened the United Prescription

            Services account in July 2004. He will testify as to the steps used to verify this

            account. [Ex. 35] He will discuss the controlled substances purchased by this

            faciHty. [Ex. 36-38j He will also testify as to the information received from this

            account in response to the Internet questionnaire. [Ex.39]

                    Mr. Mahoney wm testify the Lakeland DC opened the Universal Rx

            account in October 2005. He wm testify as to the steps used to verify this account

            [Ex. 40] He wm discuss the controlled substances purchased by th.is facility. [Ex.

            41-43] He will also testify as to the information received from this account in

            response to the Internet questionnaire. [Ex. 44]

                   Mr. Mahoney wm testify that on October 3, 2005, the Lakeland facility

            received a telephone call from DEA Diversion Investigator (DI) Debra Butcher of

            DEA Tampa Field Office. Ms. Butcher informed :rvtr. Mahoney that a potential

            customer, Lexus Pharmacy. is a "'suspicious" pharmacy and that the Lakeland DC

            needs to foUow procedures for ensuring that it is not distributing products in

            violation ofthe law and regulations. Ms. Butcher requested that the Lakeland DC

            notify Ms. Butcher as to the action that the Lakeland DC intends to take. Ms.


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            Butcher stated that she expected that these telephone caUs would become a regular

            part oft.he interaction benveen DEA and the Lakeland DC. Mr. Mahoney wm

            testify that McKesson declined to open Lexus Pharmacy as a customer based cm

            this conversation. He will also testify that Ms. Butcher later notified the Lakeland

            DC that Lexus had agreed to stop the "offensive behavior;' and that DEA had no

            objections to Lakeland DC doing business with them. McKesson declined to open

            the account

                   Mr. Mahoney will also testify that on November 21, 2005, DI Butcher

            contacted the Lakeland DC and requested an Internet checklist for A vee

            Pharmacy. He wm testify that she contacted the Lakeland DC again on November

            22, 2005 to request a progress report At that time Ms. Butcher stated that she had

            inspected the Avee facility and found its business to be "questionable." Mr.

            Mahoney wm testify that he notified McKesson management about this issue

            immediately.

                   Ivir. Mahoney will testify that on November 22, 2005, as a result of a

            decision made by Donald Walker, Senior Vice President of Distribution

            Operations, the Lakeland DC dramatically reduced sales to six pharmacies. Mr.

            Mahoney wm testify that he was aware that DEA had provided the names of the

            six pharmacies to McKesson as upharmacies of concern" through outside counseL

            Initially these pharmacies were reduced to only 300 dosage units ofhydrocodone

            per day. Mr. Mahoney wm further testify as to the steps taken to monitor future

            sales to these phmnacies on a daily basis, He will testify as to internal procedures


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            employed by the Lakeland DC to monitor drug strength and quantity, Mr.

            Mahoney will testify that the Lakeland DC had not received any prior information

            that any of these pharmacies were involved in unlawful dispensing of controlled

            substances.

                      Mr. Mahoney wHl testify that on November 28, 2005, he contacted DI

            Butcher by telephone to collaborate with DEA on its need for information on

            excessive purchases (that is, the "DU-45" report) and determine what information

            DEA needed about certain customers. Mr. Mahoney will testify that Ms, Butcher

            was unclear as to the exact amount of controlled substance orders that would

            indicate an issue regarding dispensing of contro11ed substances. However, she

            stated that DEA was not generally interested in reports about hospitals, large mail

            order. or chains-only independents, and perhaps some closed-door pharmacies.

            She stated that in regard to possible unlawful dispensing: "we know it when we

            see it"

                   I\1r. Mahoney will testify that on November 29, 2005 he began to receive

            complaints from all of the pharmacies whose orders had been significantly

            reduced. He will testify that he called DI Butcher to discuss the confusion and

            complaints coming from customers over the limited quantities, however, DI

            Butcher did not return his telephone call. [Ex. 45]

                   Mr, Mahoney wiH also testify that on November 29, 2005, the Lakeland

            DC received a report from Pete Pardo, a senior sales representative about some of

           the pharmacies in question. Pete Pardo had conducted a due diligence audit at five


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            of the six pharmacies where the Lakeland DC had reduced sales ofhydrocodone.

            Mr. Pardo had used the Internet questionnaire developed by McKesson as weJl as

            additional questions provided by McKesson about its business. Based on these

            responses, 11r. Walker agreed to increase the daily sales to these customers to

            2,000 dosage units. This amount was still significantly lower than the prior

            purchases by these pharmacies,

                    Ivtr. Mahoney   wm also testify that on November 29, 2005 at about 3:15pm,
            he called DI Butcher and informed her that the Lakeland DC was limiting

            quantities to the six pharmacies but raising the limit to 2000 units per day. [Ex. 46]

            Mr. Mahoney will testify that Ms, Butcher stated that Michael Mapes      \Vas   the best

            source of information on "levels and limits." Mr. Mahoney wm also testify that

            she told him that how much the Lakeland DC was semng "is our business."

                   Mr. Mahoney will testify that after November 28~ 2005 he continued to

            receive telephone calls from the six affected pharmacies and many claimed that

            they had been inspected by DEA and been cleared. Mr. Mahoney will testify that

            he did not take their word for it but instead on December 8, 2005 contacted DI

            Butcher to confirm their statements. [Ex. 47] DI Butcher told Mr. Mahoney that

            DEA had inspected some of these pharmacies but DEA did not give them an all

            clear. I'vk Mahoney wm testify that the Lakeland DC kept these sales restrictions

            in place.

                   Mr. Mahoney wm testify that in early December 2005, the Lakeland DC

            provided additional guidance to its sales representatives including a list of


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            customers with high purchases. [Ex. 48] He will testify that the sales staff were

            instructed to review all of these accounts. He will also testify that on December

            21, 2005, additional notices were sent to sales staff regarding high volume

            accounts, [Ex. 49] A revised questionnaire to be used with new accounts was

            provided to sales staff

                   Mr. Mahoney will testify about information he received that the accounts

            that McKesson had reduced were receiving products from other distributors. For

            example, on December 22i 2005, he was contacted by representatives of Accumed

            Pharmacy. These representatives provided a copy of an invoice showing that

            Accumed had received 30,000 dosage units in one order from Direct Dispensing

            ofMiamL Accumed asked why McKesson could not supply the same amount as

            other distributors. The Lakeland DC still declined to increase sales to Accumed.

                  rvlr. Mahoney wm testify that Lakeland has implemented new procedures
            for monitoring pharmacy accounts and is taking all steps necessary to ensure that

            its pharmacy accounts are engaged in legitimate dispensing.


            2.    ~g-opose~ Testimony of Colin Dmey

                  Mr. Dilley wm testify as to his background and experience as the

            Warehouse Supervisor at the Lakeland DC. Mr, Dmey will testify as to the

            policies and procedures implemented by McKesson to maintain security at the

            Lakeland DC regarding controlled substances. [Ex. 50] He    wm also testify as to



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            the procedures for protecting against diversion at the facility including review of

            current and new customer accounts.

            3.     Proposed Testimony of Cassandra Wentworth

                   Ms. Wenhvorth will testify as to her background and experience as the

            Computer Room Supervisor at the Lakeland DC. She       wm testify as to the
            recordkeeping and reporting systems that McKesson has implemented to track

            controlled substances. Ms. Wentworth will testify as to the "suspicious order"

            reports filed with DEA on a routine basis. [Ex. 51] She will testify that the

            Lakeland DC routinely submitted suspicious order reports to DEA at least once

            per month. She will testify that the Lakeland DC submitted a suspicious order

            report to DEA on October 19, 2005 identifying Avee Pharmacy as having

            purchased an extraordinary amount of controlled substances and again on

            November 10, 2005 for Accumed and Avee Pharmacy. [Ex. 52 and 53J

                  Ms. Wentworth will testify as to the improvements and new procedures

            used to generate these reports as well as improvements to the ARCOS reporting

            system and daily excessive order reports.


            4.    Proposed Testimony of Debra Butcher

                  Diversion Investigator (DI) Butcher is expected to testify as to the

            conversations that she had with the Lakeland DC on questions about pharmacies in

            the Tampa area that may be dispensing controHed substances via the Internet. She

            is expected to testify about the discussion she had with the Lakeland DC about



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            Avee and that she had not had a discussion with the Lakeland DC about United

            Prescription Services prior to November 28, 2006. She is also expected to testify

            about the investigations that she conducted at several Internet pharmacies in the

            Tampa area and the results of her investigation. DI Butcher is also expected to

            testify about her conversations with the staff at DEA Washington Headquarters,

            induding Michael Mapes and Kyle '\¼'right, about the Lakeland DC and Tampa

            area pharmacies.


            5.     P.rop,osed testimony of Kyle Wright

                   Diversion Investigator Kyle Wright is expected to testify as to the meeting

            he had with Avee Pharmacy about its pharmacy business. Mr. Wright is also

            expected to testify as to the information provide by Avee about the nature of the

            hydrocodone prescriptions received and the scope of its pharmacy practice. Mr.

            Wright is also expected to testify about meetings or conversations he has had with

            other pha:rmades in the Tampa area.

            6.     Proposed Testimopy of Gary Hilliard

                   Mr. Himard will testify as to his background and experience in law

            enforcement and federal and state compliance issues in working with McKesson

            Corporation. Mr. Hilliard received a BS in biology from the University of Texas

            and is a certified hazardous materials manager. For the last nine years Mr. Hilliard

            has been the Director of Regulatory Affairs for McKesson Corporation. He is

            responsible for regulatory compliance for 35 DEA registered DCs. He provides



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            support to the DCs on aH federal regulatory requirements and state requirements

            including boards of pharmacy and departments of health. Prior to working at

            McKesson, 1V!r. HiHiard had similar responsibilities for Fox11eyer Drug Company.

                   I'vfr. Himard will describe his roJes and responsibilities at McKesson as the

            Director of Regulatory Affairs.

                   a.     McKesson DEA Compliance Program

                   Mr. Hilliard will testify that McKesson is fully committed to working with

            DEA to maintain compliance at all ofits DEA registered facilities. McKesson

            operates 35 DEA registered DCs nationwide that handle controlled substances.

            McKesson has a long track record of leading the industry in compliance on DEA

            regulations. Mr. Hilliard wm testify that DEA compliance is part of the

            performance standards for McKesson's associates, well documented in

            McKesson's standard operating procedures (SOPs), These are internally audited

            annually" McKesson recognizes its responsibility to ensure that controlJed

            substances are secure in the supply chain. McKesson has collaborated with DEA

            both at the headquarter and field levels on such projects as the suspicious orders

            task force, the development and implementation of controlled substance ordering

           system (CSOS), and devising a reporting system for fentanyI and PaHadone.

                  Mr. Hiliiard will also testify that McKesson has been aware of the improper

           practices oflnternet pharmacies and prior to September 2005, has worked with

           DEA to resolve issues regarding potential excessive purchases by its pharmacy

           customers, particularly in California and Colorado. Mr. Hilliard will testify that


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            identifying and investigating Internet pharmacies poses unique problems for

            McKesson and all distributors, especially in cases where these pharmacies are

            registered. with the state and DEA. He will testify that these pharmacies are often

            able to provide information on procedures used to verif'.y practitioner's licenses.

            Mr. Hilliard.   wm testify that McKesson serves tens of thousands of customers
            nationwide and sales of controlled substances and other dmgs to these customers

            varies greatly based on the size of the pharmacy and other characteristics of the

            pharmacy's specific practice.


                   b.        Suspicious Orders


                   fvfr. Hilliard   "''m testify as to McKesson's participation in the DEA
            Suspicious Orders Task Force (SOTF). He vvm testify that the SOTF was created

            in cooperation with DEA in the mid to late 1990's. [Ex. 54] McKesson

            participated in that task force to develop system pararneters for screening

            suspicious orders. The Task Force established a calculation that involves a twelve

            ( 12) month rolling average of sales based on an item number. Mr. Hmiard         wm
            testify that the industry and DEA agreed on a variation factor to allow for seasonal

            fluctuations. The threshold criteria established for suspicious orders involved a

            factor of three (3) times the average for CH drugs and a factor of eight (8) times

            average for HI~ V drugs and List I products.

                  Mr. Hilliard will testify that McKesson implemented a suspicious order

            reporting system across all of its DCs. The report automatically generates every


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            night. [Ex. 55] The industry agreed to send immediately to DEA a report of any

            pharmacy that exceeded these values by fax. Mr. Himard will testify that large

            volumes of pharmacies \Vere exceeding these values resulting in McKesson and

            other distributors faxing long reports to DEA on a nightly basis. DEA's fox

            machines were being inundated and DEA offices across the country notified the

            DCs to stop immediately. Mr. HiHiard will testify that DEA requested that

            the offices stated to send the report only if something is suspicious.

                   McKesson thereafter devised a system to require a person at each DC to

            review the reports to determine if the quantities are suspicious. If so, they are to

            fax the appropriate pages to DEA. The complete month end report is printed and

            mailed to DEA following each month.

                   Mr. Hilliard v,,m also testify that a Customer Recap Report is also

            generated at month end and submitted to DEA. [Ex. 55] This report summarizes

            the monthly purchases by DEA ingredient base code. This provides a bigger

            picture by capturing the ingredient purchased regardless of the McKesson item

            number.

                   c.     Compliance Programs for Internet Pharmacies

                  Mr. HiHiard wm testify as to McKesson's ongoing efforts to investigate

           Internet pharmacies. Mr. Hilliard wm testify that on October 31, 2005, he sent

           written Internet pharmacy guidelines to field personnel at all the DCs.

                  Mr. Hilliard will testify as to other examples of McKesson's efforts in this

           area. For example, in January 2005, the McKesson distribution center in Southern


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            California reported potential suspicious orders from a long time pharmacy

            customer to DEA. McKesson ivas concerned because the customer, Fatlbrook

            Pharmacy had made several large purchases. DEA later informed McKesson that

            they had inspected Fallbrook and had no findings. Nevertheless, McKesson made

            a decision on January 18, 2005 to stop sales of control1ed substances to FaHbrook.

                       d.     Meeting with DEA on Internet Pharmacies

                       Mr. Hi!Hard wm testify that on June 14, 2005, he was approached by Kyle

            Wright at the HDMA Conference in Florida to determine if McKesson and

            industry partners would be willing to participate in a meeting to work in

            conjunction with DEA to fight against illegal Internet activity. He     wm testify that
            he agreed to work with DEA but recommended that the best forum may be

            HDMA •s Regulatory Affairs Committee,

                       Mr. HiIIiard will also testify that on July 27, 2005, he was contacted by

            telephone by Michael Mapes and asked whether McKesson would agree to attend

            a meeting on Internet pharmacies. Mr. Hilliard agreed to assist DEA in these

            efforts.

                   :tvir. Hilliard   wm testify that on September ] , 2005, he, along with Ron
            Bone, and outside counsel, John Gilbert, attended a meeting with DEA in

            Washington DC. The meeting was attended by Mike Mapes, Kyle Wright and Jim

            Crawford. He wrn testify that a binder was provided to McKesson which included

            a PowerPoint presentation, several court cases, DEA Internet policy, and a

           questionnaire. DEA outlined the issue oflnternet pharmacy abuse and provided


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            its views of appropriate Internet pharmacy businesses, and the distributor* s

            responsibility to monitor and report suspicious orders. [Ex. 57] Mr. Hmiard will

            testify that he was surprised by the level at which DEA believed that distributors

            would have to be accountable to determine tl1e nature of prescriptions dispensed

            by pharmacies. He will testify that in his opinion this standard was inconsistent

            with how the wholesale distribution industry had previously reviewed pharmacy

            accounts. In particular, he wm testify that he is unaware of cases where wholesale

            distributors wm routinely conduct audits of pharmacy accounts.

                   He wm testify that DEA stated that Internet pharmacies in Colorado, Texas

            and Florida were of particular concern. 1\.1.r. Hilliard wm also testify that DEA

            provided two handouts showing the excessive sales ofhydrocodone by CityView

            Pharmacy in Colorado and Brighton Pharmacy in Colorado. [Ex. 58] The tvvo

            pharmacies were part of a .RxpJus buying group in Colorado. Mr. Hilliard will

            testify that McKesson outlined its suspicious ordering process am:i reports. DEA

            questioned whether these current reports were sufficient to capture the required

            information. DEA stated that they expected the Internet DEA questionnaire to be

            used as a guide by McKesson and other distributors.

                  e.     Actions taken by I\1cKesson in response to the DEA meeting and
                         notices

                  Mr. Hilliard will testii)' as to the voluntary steps taken by McKesson in

            response to information received from DEA about potential issues with Internet

            pharmacies. Mr. Hi!Hard will testify that given DEA's focus on Colorado



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             pharmacies at the September meeting, McKesson immediately began an

             investigation into the pharmacies identified by DEA. Also, on September 7,

             2005, the DEA Denver Field Office request sales data for Clear Springs Foothills

             Pharmacy,

                   lVk Hilliard   wm testify that on September 8, 2005, Mr. Hilliard discussed
             the Internet pharmacy problem ,vith Denver DCM Jack Kramer, This discussion

             included a discussion about City View and Brighton Pharmacy. A follow-up

             phone call was held with McKesson employees on September 9, 2005. On

             September 11, 2005, Mr. Hilliard sent a copy of the questions provided by DEA

             to the Denver DC to be used with new accounttL On September 22, 2005,

             McKesson received news reports on DEA's suspension ofLindy's and Cit:yView

            Pharmacy's registration in Denver, Colorado. AH controlled substance sales to

             these two accounts were immediately terminated.

                  Mr. Himard will also testify that on September 27, 2005, McKesson

            received an e-mail from Kyle Wright and Mike Mapes on the suspension ofilie

            DEA registration for Crown Point Pharmacy antl Sky Ridge Pharmacy. Both

            were located in Denver, Colorado. Mr. Hilliard immediately notified Jake

            Kramer, of the Denver DC. AU controls were halted to this account.

                  Mr. HiHiard     wm testify that McKesson did not immediately focus on
            Florida pharmacies after the September 1, 2005 meeting because it appeared from

            the data provided to McKesson that Colorado was the immediate problem.

            However, McKesson did initiate a program to develop a computer system to nm


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            reports ofhydrocodone sales in other parts of the country, including Florida, to

            determine if there were any problems in any other states. [Ex. 59]

                   Mr. Hilliard wm testify that McKesson restricted sales to six pharmacies in

            Florida on November 28, 2006. He was aware that McKesson notified Michael

            .lvfapes of DEA through outside counsel that McKesson had restricted orders to six

            pharmacies: Accumed, Avee, Bi-Wise, Mediphann-Rx. United, and Universal

            Rx. Mr. Hmiard will testify that within a few days he received an e-mail from

            DEA that had been sent to aH major distributors noting that a Florida distributor

            had restricted sales to Accumed, Avee, Bi-wise, Medipharm-Rx. United, and

            Universal Rx,

                   Mr. Hilliard wiH also testify that he was made aware that McKesson

            received letters from outside counsel for some of the six pharrnades threatening

            legal action if McKesson did fill orders for controlled substances.

                   Mr. HiHiard wm testify that McKesson continues to cooperate with DEA

            on compliance issues and has acted aggressively when it has received information

            from DEA about Internet pharmacies, Mr, Hilliard will testify that such

            information is transmitted to all DCs. The DCs are requested to review their

            customer's lists and truce appropriate action if a suspect company is identified. For

            example:

                       •   On August 22, 2005, McKesson received an e-mail stating a

                           distributor has stopped selling to some pharmacies in TX and FL No

                           specific pharmacies were named. This alert was sent out to all DCs.


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                     •    On August 26, 2005, McKesson received an e-mail about the

                         suspension of two Florida DEA registrations: Arnericare Health

                         Solutions and Trinity Health Care. McKesson detennined it did not

                         serve these pharmacies.

                    •    On December 12, 2005, the Conroe, TX DC notes high orders for

                         several accounts including Aspen Pharmacy. Mr. Hilliard spoke

                         with the DCM, Jon Cox, regarding the necessary due diligence and

                         DEA's expectations. Sales managers are to utilize questionnaire

                         with selected accounts,

                    •    On February 16, 2006, Lakeland performed Internet survey on a

                         pharmacy called: "Save on Rx." As a result of the audit the

                         Lakeland DC stopped filling controlled substance orders.

                    •    On March 7. 2006, the Lakeland DC terminated delivery of controls

                         to Pharmacy One Pro Specialty and Direct Pharmacy, after receiving

                         notification from DEA.

                    •    On March 8, 2006, the Landover DC reported Newcare Pharmacy to

                         DEA for suspicious orders. DEA stated they are working on this

                         pharmacy.

                    •    On April 12, 2006, Mr. Mapes sent an e~maiI to McKesson about

                         CRJ Pharmacy, Florida. CRJ had applied to do business with

                         McKesson but the account was rejected.




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                        • In March 2006, the McKesson Omaha DC, using the Internet

                           questionnaire, temporarily stopped semng to a local pharmacy,

                          Walker Pharmacy.

                   Mr. Hilliard wm also testify as to McKesson's investigation into allegations

            by DEA of erroneous DEA registration numbers contained in ARCOS reports

            submitted to DEA.


                   7.     Proposed Testimony of Ron. Bone

                  Ron Bone    wm testify as to his background and experience and his position
            as a vice president at McKesson Corporation. Mr. Bone \ViH testify as to his

            responsibilities at McKesson Corporation and the functions of his office.

                  Mr. Bone will testify as to the actions taken by JlvfoKesson following the

            meeting \Vith DEA on September 1~ 2006. In addition to Mr. Hilliard's testimony,

            Mr. Bone will state that he also noted at that meeting that DEA mentioned a

            Florida. pharmacy, United Prescription Services, as a pharmacy that DEA had

            some concerns about However, DEA did not provide any printouts for this

            pharmacy and he  wm testif.y that he did not consider this pharmacy a priority.
                  tvir. Bone wm testify about McKesson's investigation into the two

            Colorado pharmacies identified by DEA as receiving large quantities of

            hydrocodone. He   ,vm testify as to discussions with DEA 's Denver Field omce
            and the DCM at McKesson's Denver DC




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                   Tv1r. Bone   wm testify tlmt beginning October 3, 2005, he instructed Sharon
            Mackarness to begin working on creating sales reports based on DEA criteria. He

            wm testify that McKesson ran reports for several regions around the country
            including Florida, Texas and Colorado. [Ex. 60 and 61] He ,vm also testify that

            these report regions were later expanded to include the Northeast region. In some

            cases, data from the reports were used to perform additional due diHgence

            investigations, For example, the first extraction of sales data indicated that several

            customers in the Memphis, Tennessee area showed purchases that were higher

            than the average volume. Based on a follow-up review it was determined that

            these pharmacies were not involved in the Internet pharmacy business.

                   Mr. Bone will testify that as a result of the information provided by DEA

            on November 22, 2005, McKesson reviewed the reports that had been generated in

            September and October 2005 on all of the Lakeland DC accounts. He tvm testify

            that it was determined that the report failed to pick up aH ofthe generics of

            hydrocodone and thus understated the number of purchases being made by these

            accounts,


                  8.     Testimony of Jake Kramer

                  Mr. Kramer will testify as to his background and experience as the DCM at

            McKesson's Denver DC. He wm testify about his discussions with the Denver

            DEA office in September and October of 2005 about Brighton Pharmacy and

            City View Pharmacy. He will also testify as to the actions taken by the Denver DC



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            as a result of these discussions. He will testify that on October 7, 2005, the

            Denver DC reported a suspicious order from Foothills Pharmacy to the Denver

            DEA Fiekl Office. [Ex. 62] DEA requested in writing the report of suspicious

            order, form of monitoring, and copies of daily purchases. He will testify that the

            Denver DC stopped sales of controlled substances to this customer until the issue

            was resolved.

                   l'vir. Kramer will also testify that Brighton Pharmacy became an issue again

            for the Denver DC in the spring of2006 because of the fact that Brighton

            Pharmacy and another pharmacy, Western Pharmacy, were ovvned by the same

            individual. He wm testify that Denver DC discontinued doing business with

            Western States after receiving information from DEA that they were dispensing

            prescriptions via the Internet He will testify that on February 13, 2006, the

            Colorado Board of Pharmacy requested information about distributions to Western

            Pharmacy. [Ex. 63] On March 2, 2006, the Denver DEA interviewed employees

            of the McKesson Denver DC. He will testify that he informed DEA that

            McKesson had stopped selling controls to Brighton and Western States,

                  Mr. Kramer will testify that he learned on April 5, 2006, that Western

            States' DEA registration was reissued. He wm testify that on April 10, 2006,

            Brighton Pharmacy attempted to order controls for Western State Pham1acy. The

            Denver DC's audit system flagged this order and it was cancelled. He wm testify

            that this information was provided to DEA.




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                   Mr. Kramer will also testif:r that he was informed on April 18, 2006 that

            Brighton Pharmacy and Western Pharmacy threatened to open an account with

            another major wholesaler, costing McKesson a 20 year account for controlled

            substances, McKesson continued to work with the Denver DEA office and did not

            re~open the account because DEA could not provide any information. that the

            issues had been clarified. He will testify as to his knowledge of the current status

            of the DEA registrations for Brighton and Western Pharmacy.

                   9.     Proposed Testimony otDomtld Walker


                   Mr. Walker   wm testify as to his education and background.     Mr. Walker

            will testify that he is the Senior Vice President for Distribution Operations. Mr.

            Walker has 26 years of experience the wholesale distribution industry and nine

            years of experience in law enforcement. Mr, Walker has a BS in Zoology from

            the University of California and master's degree in Public Administration from

            Golden Gate University. Mr. Walker will testify as to his responsibilities at

            McKesson Corporation.

                   Mr, \Valker wm testify that McKesson has led the industry in the delivery

            of medicines and healthcare products to phamrncies, hospitals and other healthcare

            entities for over 173 years. A Fortune 16 corporation, McKesson delivers vital

            pharmaceuticals, medical supplies and health information technology solutions

            that touch the lives of more than l 00 mil!ion patients in every healthcare setting.

            McKesson purchases pharmaceutical products from more than 450 manufacturers



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            and supplies over 75)000 customer sites across America, Each week, McKesson

            delivers over $1 billion worth of pharmaceuticals, or one-third of all medicines

            used in North America, to healthcare providers in every stateo Consequently,

            McKesson understands the critical importance of medication safety and the need

            to protect the integrity of the pharmaceutical distribution network. As the largest

            pharmaceutical distributor in North America, McKesson has an unwavering

            commitment to the safe, efficient and costweffective distribution of pharmaceutical

            products

                   Mr. Walker will testify that he was initially notified about DEA concern

            about Internet pharmacies after the meeting with DEA on September l, 2006. He

            wm testify that McKesson management took DEA's concern very seriouslyo
            Additionally, discussions on the appropriate next steps were reviewed and

            included running regional sales reports based on the criteria provided by DEA. At

            the September meeting, DEA identified several Colorado pharmacies by name.

            Upon notification that DEA had suspended the registrations of these pharmacies,

            McKesson immediately terminated the authority for these Colorado phrumack:s to

            order controlled substances from McKesson.

                   McKesson has also distributed educational information on Internet

            pharmacies to Operations and Sales personnel. The materials included DEA's

            expectations, a checklist questionnaire, and data received during the September l st

            meeting at DEA Headquarters. Using the DEA questionnaire, sales personnel for




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            all of the McKesson distribution centers reviewed their customers to determine if

            those customers were operating over the Internet.


                   Mr. Walker will testii:)1 that he was notified on November 21, 2006 by

            outside counsel that DEA was extremely concerned about excessive distribution of

            hydrocodone products to six specific pharmacies in the Tampa, Florida area. He

            will testify that based cm the information provided by DEA he made an immediate

            decision to significantly reduce sales to these customers. Although McKesson did

            not have any information at the time that these pharmacies were not engaged in the

            legitimate distribution of drugs, he decided that McKesson should immediately

            investigate the matter to determine whether there were any problems with these

            customers.

                   He will testify that McKesson immediately imposed a limitation on an of

            these pharmacies and cut sales of hydrocodone to these pharmacies to only ten

            ( l 0) percent of the prior orders. Mr. Walker wm discuss this process and the

            additional adjustments made to these accounts. Mr. Walker wm testify that

            McKesson received several complaints by counsel for these customers as a result

            of this action. McKesson also began an investigation of all of these pharmacies

            which included requesting additional information from the pharmacies about their

            customers and steps taken to verify that prescriptions filled are legitimate.

                   Mr. Walker wm also testify that he sought a meeting with DEA as soon as

            possible to discuss the problem. Mr. Walker wm testify that he attended a meeting



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            with DEA on January 6, 2006 to discuss DEA's concerns. He will testify that

            DEA expressed concerns about the amount ofhydrocodone sold in a relatively

            short period to several pharmacies in Florida. Mr. \\J'alker wm testify that he

            assured DEA that McKesson would take appropriate steps to reduce distribution to

            Internet pharmacies. Mr. Walker agreed to provide DEA with a ful] report of all

            distributions of hydrocodone to the six pharmacies for the October - December

            time period.

                   Immediately after McKesson's January 2006 meeting with DEA,

            McKesson discontinued sales of an controUed substances to these six pharmacies.

            Mr. Walker wm also testify that McKesson took additional steps to improve its

            compliance program. For example, on Jam.m.ry l 0, 2006, the McKesson JT

            department created a "vicodin" report to assist the DC's in monitoring excessive

            orders, Also in February 2006, a new suspicious monitoring report was created,

            [Ex. 64]


                   Mr. Walker wm testify about the steps that McKesson has taken to reduce

            the potential for excessive purchases of controlled substances at all of its facilities,

            including the Lakeland DC


                   Mr. Walker wm testify tfolt the company has distributed educational

            information on Internet pharmacies to aH of its Operations and Sales persomeL

            The materials include a briefing on the problem of!nternet pharmacies based on




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            the material distributed by DEA headquarters and a customer checklist and

            questionnaire to be used with existing and new accounts.


                   Mr. Walker wm also testify that using the Internet questionnaire previously

            issued by DEA, sales personnel for all of the McKesson distribution centers have

            been required to review their customers to determine if those customers were

            operating over the Internet. AH such accounts will be immediately investigated

            and subject to suspension and/or termination should prescriptions not be

            distributed for a legitimate medical purpose.


                   Mr. Walker wm also testify that McKesson's Regulatory Affairs group wiH

            review new pharmacy accounts to ensure that the amount and type of controlled

            substances purchased are consistent with legitimate pharmacy practice. AH DCMs

            wm be required to request review by McKesson's Regulatory Affairs section on

            new accounts that place orders for controlled substances.


                   Mr. Walker wm testify that McKesson is reviewing a policy to establish a

            monthly threshold for dosage forms ofhydrocodone for aH pharmacy customers at

            each of its facilities. Customers requesting to purchase more than this amount will

            be required to provide additional infonnation on its dispensing practices to justify

            amounts above this threshold. Such information will be reviewed by McKesson

            Regulatory Affairs section before a customer wrn be authorized to purchase more

            than the threshold per month" McKesson wm also establish thresholds for other



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            controlled substances purchases. He     wrn also testify that each McKesson DC will
            submit a Hst each quarter to the local DEA office to include any customer who

            places an order for hydrocodone that exceeds the threshold dosage units per

            montll.


                      Mr. Walker will testify that McKesson is prepared to provide financial and

            other resources to assist DEA in developing an industry-wide database to educate

            manufacturers and distributors about issues involving Internet and mail order

            sales. The objective would be to pool the resources of government and industry to

            facilitate the collection and dissemination of information about potential violations

            and improper practices by individuals and entities involved in dispensing

            controlled substances.


                    Mr. Walker will testify that McKesson's long track record with DEA

            indicates that its continued registration in Lakeland and at all its DCs is in the

            public interest. Revocation of the Lakeland facility will serve no just purpose and

            could significantly harm the delivery of important medicines to a large population.

            IV.     RESPONDENT'S PROPOSED DOCUMENTARY EXHIBITS

                    The Respondent proposes to introduce the following documents.

            Respondent may request to supplement these documents at a later date.

               1.       Photographs of Lakehmd DC,
               2.       Copy of excerpts from Lakeland DC policies and procedures regarding
                        the handling of controlled substances
               3.       Photographs of Controlled Substances Security Cage
               4.       McKesson Report of Contact with the DEA, October 2001


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              5.     Copy of relevant customer forms
              6.     Copy of Sample DU-45 Report
              7.     Copy of completed Internet Pharmacy questionnaire from Direct
                      Pharmacy
              8.     Spreadsheet depicting Lakeland DC customers purchasing hydrocodone
                      for 2005 and 2006
              9.     Spreadsheet on 2005 and 2006 pharmacy sales ofhydrocodone
              10.    Copy of Florida state pharmacy license for Accumed
              I 1.   Copy of response to Internet questionnaire from Accumed
              12.    Copy of DEA registration for Accumed
              l3.    Copy of spreadsheet depicting 2005 sales of controHed substances to
                      Accumed
              14.    Copy of Lakeland DC customer file for Accumed
              15.    Copy of Florida state pharmacy license for Avee Pharmacy
              16.    Copy of DEA Registration for Avee Pharmacy
              17.    Copy of Lakeland customer file for Avee Pharmacy
              HL     Copy ofintemet questionnaire from Avee
              19.    Copy of Avee spreadsheet depicting 2005 sales of controlled
                     substances
              20.    Copy of Florida state license for Bi-Wisc Pharmacy
              21.    Copy of DEA registration for Bi-Wise Pharmacy
              22.    Copy of Lakeland DC customer me for Bi-Wise Pharmacy
              23.    Copy of response of Internet questionnaire by Bi-\llise
              24.    Copy of spreadsheet depicting 2005 sales of controlled substances to Bi-
                     Wise
              25.    Copy of Florida Pharmacy License for Medipharm
              26.    Copy of DEA registration for Medipharm
              27.    Copy of Lakeland DC customer file for Medipharm
              2!L    Copy of response to Internet questionnaire by Medipharm
              29.    Copy of spreadsheet depicting 2005 sales of controlled substances to
                     Medipharm
             30,     Copy of Florida state pharmacy license for Trellis Pharmacy
             31.     Copy of DEA registration for TreHis Pharmacy
             32,     Copy of Lakeland DC customer fife for Treliis Pharmacy
             33.     Copy of response to Internet pharmacy questionnaire by Trellis
                     Pharmacy
             34.     Copy of spreadsheet depicting 2005 sales of controlled substances to
                     Trellis Pharmacy
             35.     Copy of Florida state pharmacy license for United Prescription Services
             36.     Copy of DEA registration for United Prescription Services
             37.     Copy of Lakeland DC customer file for United Prescription Services
             38.     Copy of response to Internet questionnaire from United Prescription
                     Services


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                  39.      Copy of spreadsheet depicting 2005 sales of controlled substam::es to
                            United Prescription Services
                  40.      Copy of Florida state pharmacy license for Universal RX
                  41.      Copy of DEA registration for Universal RX
                  42.      Copy of Lakeland DC customer file for Universal RX
                  43.      Copy of response to Internet questionnaire by Universal RX
                  44.      Copy of spreadsheet depicting 2005 sales of controlled substances to
                           Universal RX
                  45.      Copy of DEA consultant audit for UniversaJ RX
                  46.      Report of Contact with DEA, November 29, 2005
                  47.      Report of Contact with DEA, December 8, 2005
                  48.      Notice to Sales representatives~ December 2005
                  49.      Copy of Internet questionnaire used by Lakeland DC
                  50.      Security pictures of DEA cage.
                  51.      Copies of suspicious order reports fi]ed with DEA. multiple dates.
                  52.      Copy of suspicious order reports for Avee Pharmacy and Accumed
                  53.      Copy of suspicious order reports for A vee and Accumed
                  54.      SOTF Report
                  55.      DU-45 Report
                  56.      Customer Recap Report
                  57.      DEA Manual on Internet pharmacies
                  58.      DEA printouts from September l, 2205 meeting with McKesson
                  59.      McKesson reports ofhydrocodone sales in sales regions for 2005.
                  60.      McKesson reports of controlled substance sales by region for 2005
                  61.      McKesson reports of hydrocodone by region 2005.
                  62.      Suspicious order report from Denver DC to Denver DEA office
                  63.      Colorado Board of Pharmacy request to r..1cKesson
                  64.      Suspicious Order Report


            V.          PROPOSED VENUE




            VI.         TIME FOR HEARING

                        Respondent expects its case to take approximately three days exclusive of

            cross examination.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                                                MCKM D L00496385
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 81 of 220 PageID #: 72640




                                                 HYMAN,, PHELPS & McNAMARA,, P.C.
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           FROM:                                John Gilbert                                    DATE:        November 3, 2006


           TO:                                  Honorable Mary Ellen Bittner                    FAX NO.:     (202) 307-8198
                                                Wayne Patrick                                                (202) 307~4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                     MCKM DL00496386
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 82 of 220 PageID #: 72641




                                UNlTU) STATES DEPARTMENT OF JUSTICE
                                     Drug Enforcement Administrntion


             In the Matter of

                     McKesson Corporation                          Docket No. 06-66
                     d/b/a McKesson Drug Company



                                                PREHEARING R.llUNG

                    On November 27, 2006, the undersigned conducted a prehearing conference by
             telephone with counsel for both parties. This Prehearing Ruling is made pursuant to
             21 C.F,R. § 1316 ..55 (2006).
            I. ISSUE
                     \Vhether a preponderance of the evidence establishes that Respondent's Drug
             Enforcernent Administration registration as a distributor at its Lakeland, Florida location
             should be revoked because its continued registration would be inconsistent with the
             public interest as that term is used in 21 U,S.C §§ 824(a) and 823(b) and (e).
           IL STJPULA TIONS
                     1. Hydrocodone is a Schedule m narcotic controlled substance pursuant to
                        21 CF.R. § l30lU3(e).
           IIL WITNESSES
                    Counsel for both parties intend to call the witnesses identified in their respective
             prehearing statements to testify as indicated therein. No later than 4 p.m. eastern standard
             time on March 19, 2007, both parties are to file supplemental 1:rehearing statements,
             which shall indicate any additional witnesses who wiII testify and detail their testimony.
                    Counsel should note that I generally restrict cross-examination of witnesses to
             matters covered on direct examination; however, if a party submits an affidavit or letter
             into evidence from a witness who also testifies in person, I will permit cross®examination
             as to matters referenced in the document even if the witness does not refer to them in
             direct testimony. Counsel are reminded to have all witnesses available to testify so as not
            to delay the proceedings. Counsel are also reminded that testimony not summarized in
            prehearing statements or supplements thereto may be excluded at the hearing.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                          MCKM DL00496387
                                                                                                            P-00016_00082
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 83 of 220 PageID #: 72642




          IV. DOCUMENTS
                    Counsel for both parties intend to offer into evidence the documents identified in
             their respective prehearing statements. No later than 4:00 p.m. eastern standard time on
             March 19, 2007, counsel nre to provide lo each other copies of all documents listed in
             their respective prehearing statements and supplemental prehearing statements,
                    Both counsel are reminded that documents not listed in prehearing statements or
             supplements thereto or not timely supplied lo the opposing party may be excluded at the
             hearing. At the hearing, counsel are to supply lo the undersigned an extra copy of each
             document to be offered in evidence and/or shown w a witness. Counsel are to ensure that
             all documents consisting of five or more pages have all pages consecutively numbered.
           V. HEARfNG
                    Pursuant to 21 CF.R. § 1316.44 (2006), and 21 C.F.R, § 1316.53 (2006),
             regulatory provisions requiring publication of the time and place of the hearing in the
             Federal Register are v.mived. The hearing will commence in either Tampa, Florida, or
             Sarasota, Florida, at. 9:30 r1.m, on July 10, 2007. The parties will be advised of the exact
             courtroom location as soon as arrangements have been completed. It is anticipated that
             the hearing \vii! proceed through July 12, 2007 and will resume on July 24, 2007 and
             continue through July 26, 2007. Counsel are to meet the courtroom clerk in the courtroom
             at 9:00 a,m, on tbe morning of July 10, 2007, to have exhibits marked.
          Vl OTHER MATTERS
                    Counsel shouJ<l note 1hat this office will not accept filings by facsimile of more
             than twenty pages.



                                                                     l1., .,~ ~ ji}tt,-t/4(
             Dated: November 27, 2006


                                                                   ~Bittner
                                                                   Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL00496388
                                                                                                            P-00016_00083
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 84 of 220 PageID #: 72643




                                           CERTlFICAn: Of SERVICE

                     This is to certify that the undersigned on November 27, 2006, caused a copy of
             the foregoing to be delivered via interoffice mail to counsel for the Government,
             Wayne l'vt Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
             Washington, D.C 20537, and a copy to be mailed, postage paid, to counsel for
             Respondent, John A Gilbert, k, Esq., Byman, Phelps & McNamara PC, 700 Thirteenth
             Street, N.W., Suite 1200, Washington, D.C. 20005,


                                                               J~ul!,~
                                                                Law Clerk to Mary Ellen Bittner
                                                                Administrative Law Judge




                                                       3




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM DL00496389
                                                                                                      P-00016_00084
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 85 of 220 PageID #: 72644

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                                                                U.S• .Department of Justice

                                                                Drug Enforcement Adminlstratfon •
                                                                Office of Admlni1n:rative Law Judges
                                                                Washington, D.C. 2053'7
                                                                Tel. (202) 307-8188     Fa.x 307~8198




                                   FAX TRANSMISSION

                          January 19, 2007

          To:             John A. Gilbert, Jr.• Esq.



          Re:             In the Matter ofMcKesson Corporation dlb/a McKessr:.m Drug Campany

                          Jamie Stulin
                          Attorney Advisor


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM D L00496390
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 86 of 220 PageID #: 72645




                            UNITED STATES DEPARTMENT OF .TTJSTICE
                                 Drug Enforcement Administration


         In Toe Matter of                         )
                                                  )
           McKesson Co:rporatitm:                 )                      Docket No. 06~66
            dlb/a McKesson Drug Company           )



                             MOTION FOR EXTENSION OF TIME
                     TO FILE SUPPLEMENTAL PREHEARING STATEMENTS
                            AND EXCHANGE DOCUMENTARY EVIDENCE

                McKesson Corporation (Respondent)~ through the undersigned counsel, files this

         motion for an extension of time for the parties to file supplemental prehearing statements

         and exchange documentary evidence. Given that the hearing in this matter is not

         scheduled to begin until July 10, 2007, neither party   wm be prejudiced by extending the
         time to file this information, Respondent requests that the ALJ provide the parties with

         an extension of time until April 15, 2007 to file a supplemental preheating statement and

         to exchange documents.

                                                          Respectfully submitted,



                                                          John A. Gilbert, Jr.
                                                          Hyman, Phelps & TvfoNarnara PC
                                                          700 Thirteenth Street, N.W.
                                                          Washington, D,C, 20005
                                                          (202) 737-5600
                                                          (202) 737-9329 (Fax)

                                                          Counsel for McKesson Corporation
         Dated: March 16, 2007




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM D L00496391
                                                                                                      P-00016_00086
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 87 of 220 PageID #: 72646




                                        CERTIFICATE OF SERVICE

                   Thls is to certify that the undersigned 1 on March 16, 2007, caused a copy of the
            foregoing to be delivered by facsimile and by hand to The Honorable Mary El1en Bittner
            U.S. Department of Justice, Drug Enforcement Administration, 600 Anny Navy Drive,
            Arlington, Virginia, 22202, and copies to be seni by facsimile and first class mail to:


                                         Wayne Patrick
                                         Diversion m1d Regulatory Litigation Section
                                         Office of Chief Counsel
                                         Drug Enforcement Administration
                                         600 Army~Navy Drive
                                         Arlington, Virginia 22202




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                      MCKM DL00496392
                                                                                                       P-00016_00087
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 88 of 220 PageID #: 72647




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         FROM:                                 John Gilbert                                          DATE:            March 16, 2007


         TO:                                   Honorable Mary Ellen Bittner                          FAX NO.:         (202) 307-8198
                                               Wayne Patrick                                                          (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 89 of 220 PageID #: 72648




                                UNITED STATES DEPARTMENT OF JUSTICE
                                     Drug Enforcement Administration



             In the Matter of

                    McKesson Corporation                         Docket No. 06~66
                    d/b/a McKesson Drug Company



                                         RULING ON REQUESTED EXTENSJON

                    On March 16, 2007, counsel for Respondent filed a request for an extension of
             time for the parties to file supplemental prehearing statements and exchange documentary
             evidence in the above-captioned matter. Counsel for Respondent advised in a phone
             conversation v.rith this office on March 16: 2007, that counsel for the Government does
             not oppose the extension.
                    Inasmuch as it appears that no prejudice will result, Respondent's request is
             granted. Accordingly, both parties may file their supplemental prehearing statements and
             exchange documentary evidence no later than 4:00 p.m. eastern daylight time on
             April 16, 2007.

             Dated: March 16, 2007


                                                                    ~ ::f'u ~
                                                                 Bytedirection of
                                                                 Mary Ellen Bittner
                                                                 Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM D L00496394
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 90 of 220 PageID #: 72649




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                     This is to certify that the undersigned) on March 16, 2007, caused a copy of the
            foregoing to be faxed and delivered via interoffice mail to counsel for the Govemmenti
            Wayne M. Patrick, Esq,, Office of Chief Counsel, Drug Enforcement Administration,
            Washington, D.C. 20537, and a copy to be faxed and mailed, postage paid, to ooun:se1 for
            Respondent, John A. Gilbert, Jr., Esq., Hyman, Phelps & McNamara, P.C. 700
            'Ib.irteenth Street, N. W.• Suite 1200, Washington, D.C. 20005.

                                                                  ~~ JAJ4
                                                             Jamie.Stulin
                                                             Attorney Advisor to Mary EIJen Bittner
                                                             Administrative Law Judge




                                                                                              MCKM D L00496395
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                        P-00016_00090
       Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 91 of 220 PageID #: 72650
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                                                                   Drug Enforcement Administration
                                                                   Office of Administrative Law Judges
                                                                   Washingtont D.C. 20537
                                                                   Tei. (20l) 307-81S8     Fax 307~8198




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           Date:          March l 61 2007

           Tm             John A. Gilbert. Jr., Esq.
                          Wayne M. Patrick. Esq.

                          202~737-9329
                          7-4946

                         In the Matter of McKesson Corporation, dlb/a McKesson Drug Company
                            Docket No, M~66

                         Jamie Stulin
                         Attorney Advisor to Mary Ellen Bittner
                         Chief Administrative Law Judge


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           Please see attached "Ruling cm Requested Extension."

           Attachment




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496396
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       Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 92 of 220 PageID #: 72651
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                                                             U.S. Department of Justice

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                                 FAX TRANSl\fISSION

          Date:         June 7, 2007

          To:           John A. Gilbert, Esq.
                        Wayne Patrick, Esq.

          Fu:           202~737-9329
                        7-4946

          Re:           In the Matter nfMcKesson Corporation, dlbla McKesson Drug Company
                           Docket No. 06-66

                        Patricia e
                        Secretmy            len Bittner
                        Chief Adm          eLawJudge


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          Please see attached uMemorw:1dum to Coun.sel,"

         Attachment




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM DL00496397
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 93 of 220 PageID #: 72652




                                    UNITED STATES DEPARTMENT OF JUSTICE
                                         Drug Enforcement Administration



             In the Matter of

                     McKesson Corporation                         Docket No. 06-66
                     d/b/a McKesson Drug Company



                                           MEMORANDUM To COUNSEL

                     In my Prehearing Ruling issued on November 27, 2006 in the above-captioned
             matter, I directed counsel for both parties to file supplemental prehearing statements no
             later than March 19, 2007. I subsequently extended that filing deadline to April 16, 2007,
             following a motion from Respondent As of June 7, 2007, neither party has filed a
             supplemental prchearing statement.
                     Counsel may have until 4 p.m. eastern daylight time on June 14, 2007 to advise
             me why I should not terminate this proceeding so that the Deputy Administrator may
             issue a final order.

             Dated: June 7, 2007


                                                                  Maryen Bittner
                                                                  Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496398
                                                                                                          P-00016_00093
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 94 of 220 PageID #: 72653




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                    This is to certify that the undersigned on June 7, 2007, caused a copy of the
             foregoing to be faxed and delivered via interoffice mail to counsel for the Government,
             Wayne M. Patrick, Esq., Office of Chief Cow:tsel, Drug Enforcement Administration,
             Washington, D,C, 20537, and a copy to be faxed and mailed, postage paid, to counsel for
             Respondent, John A Gilbert, Jr., Esq., Hyman, Phelps & McNamara. P.C.,
             700 Thirteenth Street, N.W., Suite 1200, Washington, D.C. 20005.              ,,.r"')

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                                                                Patricia A Medico l,,
                                                                Secretary to Mary Ellen Bittner
                                                                Administrative Law Judge




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM D L00496399
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 95 of 220 PageID #: 72654

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          To:             John A Gilbert, Jr., Esq.
                          Wayne M. Patrick, Esq.

                          202~73 7-9329
                          7~4946

                          In the Matter qfMcKesson Co:rpr:m2tion, d/bla McKesson Drug Company
                             Docket No, 06-66

         Sender:          Jamie Stulin
                          Attcnney Advisor to Mazy Ellen Bittner
                          Chief Administrative Law Judge


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                                                                                                      MCKM D L00496400
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                                  P-00016_00095
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 96 of 220 PageID #: 72655




                                UNITED STATES DEPARTMENT OF .JUSTICE
                                     Drug Enforcement Administration



             In the Matter of

                    McKesson Corporation                           Docket No, 06-66
                    d/b/a McKesson Drug Company



                                            MEMORANDUM To COUNSEL

                    Pursuant to a telephonic conference ,vith both parties, I hereby rescind the
             Memorandum to Counsel I issued on June 7, 2007, in which I instructed the parties to
             advise me why I should not terminate this proceeding"
                    Counsel for the Government shall file an amendment to his prehearing statement
             no later than 4 p.m. eastern daylight time on June 11, 2007, in which he identifies his
             expert witness, if any, and details the witness' testimony.
                    The hearing in this matter is scheduled for July 10-12, 2007, in Tampa, Florida,
             and wm be continued on Juiy 24-26, 2007, in Arlington, Virginia.

             Dated: June 7, 2007




                                                                   Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKMDL00496401
                                                                                                         P-00016_00096
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 97 of 220 PageID #: 72656




                                           CERTIFICATE OF SERVICE

                    This is to certify that the undersigned on June 7, 2007, caused a copy of the
             foregoing to be faxed and delivered via interoffice mail to counsel for the Government,
             Wayne l\it Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
             Washington, D.C 20537, and a copy to be faxed and mailed, postage paid, to counsel for
             Respondent, John A. Gilbert, k, Esq., Hyman, Phelps & McNamara, POC.,
             700 Thirteenth Street, N.W,, Suite 1200, Washington, D,C. 20005,


                                                             "~Jl~
                                                             JarnTe=.:stuifu
                                                             Attorney Advisor to Mary E!Ien Bittner
                                                             Administrative Law Judge




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM DL00496402
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 98 of 220 PageID #: 72657


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        7.23    513 Jun-06 14:22                    03/02               004                                                             EC 512       OK
        724     514 Jun-06 15:33                    Ol/20               006 9193134751                                                  EX 503       OK
        725     515 Jun-06 16:26                    Ol/23               004 3016815968                                                  EC   502     OK
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        727     5H Jun-06 17:05                     00/40               004 BIJS!i784214                                                EC   603     OK
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        731     521 Jun-07 09: 19                   OiJ/55              003 7032374813                                                  EC 502       OK
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        736     526 Jun-07 15:20                    !10/56              0111                                                            EC 512       OK
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        m       531 Jun-07 rn:1s                    01/00               001          757 3029435                                        EC 500       OK
        740     532 Jun-08 l1 :19                   00/44               002 2147069051                                                  EC 612       OK
        741     534 Jun-oa 15:52                    IJl/12              003 7033219031                                                  Ee :mo       OK
        742     536 Jun-09 21:36                    01/03               001                                                             EC 612       NG     DO
        743     537 Jun-10 09:32                    01/02               Dill                                                            EC 612       NG     DO
        744     536 Jun-Ii Ol:02                    00/51               001 7037906030                                                  G3   501     OK
        745     539 Jun-l l 09:36                   !lD/29              001 3015837757                                                  EC   502     OK
        746     541 Jun-11 11 :16                   02/02               006 919l134751                                                  EX   503     OK
        747     5i2    Jun-ll 11 :30                00/29               001 l&OO) 208-0584                                              EC   602     OK
        m       543    Jun-11   13:09               01/52               003                                                             EC   512     OK
        749     !i44   Jun-11   13:30               01/10               002 202-002-n n                                                 EC 502       OK
        750     545    Jun-11 l3 :43                00/32               002 20lHJ62-7171                                                EC 602       OK
        m       546    Jun-l l 14:35                00/56               003 2406310135                                                  EX   502     OK
        752     547    Jun-H 15:52                  00/58               003 202B291H03                                                  EC   51l2    OK
        753     548 Ju11-ll     16:40               00/27               002 94!! 553 7433                                               EC   603     OK
        754      549 Jun-12 07:55                         03/31             005                                                         EC   302     01{
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        757     552 Jun-12 11!:39                   DD/40               001 fax                                                         EC 502       OK




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                            MCKM D L00496403
                                                                                                                                                                 P-00016_00098
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 99 of 220 PageID #: 72658




                              UNITED STATES DEPARTMENT OF JUSTICE

                               DRUG ENFORCEMENT ADMINISTRATION


            IN THE MATTER OF      )
                                  )
            MCKESSON CORPORATION )
                    dba           )
            MCKESSON DRUG COMPANY )




                    GOVERNMENTSUPPLEMENTALPREHEARINGSTATEMENT

                  Purswmt to the June 7, 2007, Order oftbe Admhrlstrative Law Judge, the

            United States Department of Justicej Drug Enforcement Administration, by and

            through its undersigned attorney, hereby submits this supplement to its prehearing

            statement.


            PROPOSED WITNE§SES

           Diversion Investigator Scott Davis        [ Will testify as previously noticed}

           Diversion Investigator Shirley Scott      [Will testify as previously noticed/

           Lisa SuUivan                              [ Will testif.y as previously m1tkedj

           Diversion Investigator Michael Mapes      [WIii testify as previously noticed}

                                                     /As described below}
                                                    {As described below




                                                                                             MCKM D L00496404
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                    P-00016 _ 00099
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 100 of 220 PageID #: 72659
                                                                                                  P.02/07




            PROPOSED TESTIMONY

            Staff Coordinator Lisa Sullivan's Proposed Testimony

                   Staff Coordinator Sullivan wm testify as previously noticed,

                    She will further testify that a review of ARCOS data for the first four

            mouths of2007 indicated that in January 2007 McKesson-Lakeland had provided

            over 68,000 dosage units of hydrocodone to the internet pharmacy operation YPM

            Total Care Phmnacy. YPM's DEA registration was suspended in early 2007


            Pharmaev Expert Ca;rmen Catizone Proposed Testimony

                   The Govemrn.ent wm not present the in-person testimony of a pharmacist in

            the area of dispensing practice, but will present the cumculum vitae and transcript

            of the testimony of Dr. Ca.tizone ln the Matter of United Prescription Services,

            Inc. (United). This testimony focuses generally on the concept of prescribing and

            dispensing practices> including the provision of controlled to remote patients, by

            doctors not otherwise practicing in that State..

                   The testimony will further indicate that Dr. Cafumne has previously

            testified in another DEA internet matter. where be described the duties of

            pharmacist in dispensing controlled substances, He wm describe factually

            relevant scenarios involving the dispensing practices of the Internet phmmacies

            and wm testify as to whether and how such practices are suspicious and indicative

            of potential diversion of controlled .substancms.




                                                      2




                                                                                              MCKM D L00496405
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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                     His testimony will describe the standard ofpmctice and usual course of

             business observed by pharmacists and pharmacies when purchasing md

             dispensing controlled substances. He will testify regarding the concept of

             corresponding responsibility attaching tQ phru:macists when dispensing physicians'

             prescriptions.

                     He wm testify regarding physicians' prescription patterns and Umted's

             corresponding dispensing patterns with regard to controlled substances and opine

             on Respondent's purchasing patterns of all dangerous drugs as den:mnstrated by a

             review ofits distributor records and opine how this compares to known industry

             walk-in retail plumnacies and known industry mail order pharmacies. The expert

             wm conclude that the internet phrumacy operation as operated by United does not

             fit the model of a retail pham1acy and apparently is engaged in dispensing

             narcotics predominantly to individuals, in amounts not consistent with known

             demand to retail or mai) order pbmmacies ,md by we Qf prescription

             authorizations not sufficiently documented to ensure that the phammcy meets its

             corresponding responsibility to ensure the submmce.s are for legitimate therapeutic

            purposes and in the course of professional medical practice.


             Mediqi Expert G§o:rge Van Komen [transcript of prior t@stb:mur:d

                     The Government wm not present the in-per.son testimony of a medical

            expert in the area of prescribing practice, but wm present the curriculum vitae and

            transcript of the testimony of Dr. Van Komen.Jn the Matter o/Trinity Healthcare,


                                                     3




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 102 of 220 PageID #: 72661




            Inc, This testimony focuses generally on the concept of prescribing practicest

            inch.u:img the provision of controlled to remote patients, by doctors not othe!Vlise

            practicing in that State.


            DOCUMENT.ARY EVIDENCE                     [AMENDED]

             l.    Facsimile copy of DEA Certificate of Registration (McKesson~Lakeland)

            2.     Copy of DEA notice in 66 Fed. Reg. 21181, dated April 27. 2001

            3.     Charts- f..h~ Rankb:11::s for H_ydrocogooe, October 2005-Jamnuy 2006
                   (9 pages)

            4,     Cluu:'t:Sw Accumed ARCOS gw:cms from McKesSO]b October 2005-
                   Jana:my 2006 (9 pages)

            5.     Chama Avc:e ~COS purchases from MQKesson. October 2005-Janam:y
                   2006 (9 pages)

            6.     Charts.. Biw Wise ,ARCOS purch,ses from McKesson, October 200.S~
                   Janauzy 2006 (9 pages)

            7.     Charts~ TreHes ARCOS ruirohases from McKesson. October 2005-Jarumry
                   2006 (9 pages)

            8.     Charts-:- United,ARCOS puoohases fromMcKess~ October2005..Jammry
                   2006 (9 pages)

            9.     Cb.art&- Universal.ARCOS purchases frQm McKesson. October 2005~
                   Jammry 2006 {9 pages)

            lo.    Charts- Mediphm:m ARCOS purchases from McKesscm, October 2005-
                   Janaury 2006 (9 pages)

            11.   Chart.. Accumed Comparison o/hydrocodcme purchases by pharmacy
                  October 2005 to JanWJry 2006. ( l page)

            12.   Chart- Avee Comparison ofhydrocodr:me pun::hases by pharmacy October
                  2005 to January 2006. ( I page)




                                                                                          MCKM D L00496407
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                   P-00016_00102
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 103 of 220 PageID #: 72662




             13.   Chart- Bi-Wise Comparison ofhydrocodone purchases by pharmacy
                   October 200S to January 2006. ( 1 page)

             14.   Chart-Trelles Comparison ofhydrocodcne purchases by pharmacy
                   October 2005 to January 2006. ( 1 page)

             15.   Chart- United Comparison ofhydrocado1u1,purchases by pharmacy
                   October 2005 to January 2006. ( 1 page) ,

             16.   Chart- Universal Comparillon ofhydn:,codone purchases by pharmacy
                   October 2005 to January 2006. ( 1 page)

             17.   Chart~ Mediphm:n Comparison ofhydroccuieme purchases by pharmacy
                   October 2()05 to January 2006. ( I page)

             18.   Charts- State ofFlorida- Suppliers ofHydrocodone to Seven Florida
                   Pharmacies October 31, 2005- January 31, 2006. (8 pages)

             19.   Accumed ARCQS purchase§. October 2005-Janamy 2006 (3 pages)

            20.    Sprea.dsheet..McKessonArcosDistribution October 1-31, 2005.
                   (208 pages)

            21.    Spreadsbeet~McKe.uon Arcos Distribution 2006.

            22.    Compilation- McKesson Distribution ofHydrocodone ... to Florida
                   Pharmacies October 1-31, 2005 (16 pages)

            23.    Compilation- McKesson Distribution of Hydrocodooe by DEA Number
                   Sort October 1~31, 2005 (19 pages)

            24.    Chm- McKesson Hydrooodane Sales October 1-31~ 2005. (2 pages)

            25.    Spreadsheet-McKesson Suspicious Purchase Report, 0ctober~November
                   2005. (27 pages)

            26.    DEA Compilation Sheet- Erroneous DEA number Identification in reports
                   submitted by McKesson ~2006.

            27.    McKesson-Lakeland Master and Registration History (7 pages)

            28.    DEA Memorr.mdum dated October 20, 2005 by Michael Mapes to J.
                   Raum.-zisi regarding McKesson meetin~ (16 pages)




                                                                                       MCKM D L00496408
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 104 of 220 PageID #: 72663
                                                                                            P.05/07




             29.   DEA Memorandum da~d January 23, 2006 by Michael Mapes to J.
                   Ram.1umi regarding McKesson meetmg. (3 pages)

            JO~    ARCOS srues data for hyrocodone by McKessoe,.LakeJand Je:muny to
                   April 2007. {68 pages)

            31.    DEA Charts: 2006 hydrocodone purchMes by 61,584 pharmacies. (S
                   pages)

            32.    Testimony o/Catmen Clltizone, April 10, 2007, In the Mmter of United
                   Prescription Senrlca. (Pages 304 -3 78)




            35.    Tesilmony of George Van Komen, Jtme 1, 2006, In the Mfltter of Trinity
                   Healthcare Systenu. (Pages 550..61 ~

            36.    Declaratirm of George Vim Komen, Febr11ary 22, 2006 (1 i pages

            3 7.   William R~ Lockridge., M.!J.. 71 Fed. Reg. 17,191 (2006)




                                                    Respectfully submitted,




                                                    Attorney, Office of Chief Counsel



            Dated: June 121 2007




                                                                                        MCKM D L00496409
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 105 of 220 PageID #: 72664
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                                         CERTD'ICATE OF SERVICE

                          On June 12, 2007, ! sent via fa.csimile and mailed a copy of the

                    foregoin~ postage prepaid, to Counsel   for Respomient, John A. Gilbert, Jr.,
                    Esq.i Hyman Phelps & McNamara, P,C,, 700 13 th Street N.W., Washington,
                    D.C.20005




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                MCKMDL00496410
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 106 of 220 PageID #: 72665


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        708      497 Jun-05 11:09             00/39       001 Carpet/Air-Duet                                EC 502      OK
        709      498 Jun-05 J2:21             OZ/32       004                                                EC 512:     OK
        710      499 Jun-05 14:05             00/49      002 301443289&                                      EC 502      OK
        TIT      500 Jun-05 14:55             00/30       002 202-862-7171                                   EC li02     OK
        712      501 Jun-05 15:Z!i            00/48       001    Via Fax                                     EC 300      OK
        713      502 Jun-05 !5:06             00/44       001    5742166                                     EC 302      OK
        714      503 Jun-05 iB:38             04/05       004    Via Fax                                     Gl 310      01{
        715      504 Jun-05        08,50      00/35       001    FAX                                         EC 502      OK
        716      505 Jun-06        09:11      00/26       002                                                EC 6113     OK
        717      506 Jun-05        10:54      01/03       005 9145243594                                     EC 612      OK
        718      507 Jun-06        I 1:111    !10/46      Olll FAX                                           EC 5112     OK
        719      509 Jun-06        11:55      01/37       004 202 371 0649                                   EC 502      OK
        720      510 Jun-06 13:tS             OU/39       001 386 775 0673                                   EC 502      OK
        721      !ill    Jun-Oli   13:44      15/22:      Oil4                                               EC 512      OK
        722      !'il2   Jun-06    14:05      15/55       004                                                EC 5!2      OK
        723      513     Jun-06    I4:22      03/02       004                                                EC 512      OK
        724      514     Jun-06    15:33      01/20       006 9193134751                                     EX 503      OK
        725      515     Jun-06    16:26      01/23       004 3016815968                                     EC 502      01(
        726      516     Jun-06    16:47      00/29       ll!Jl (800) 208-11584                              EC 602      OK
        n:r      511     Jmrl!6    H:05       00/40       ll04 llll657B42M                                   EC 603      OK
        728      !ill!   Jun-OS    17:35      00/34       003 4804832504                                     EC ll!l2    01(
        729      519     Jun-06    19:10      01/07       001 2404031417                                     EC 612      Nii   OD
        730      520     Jun-07    07:19      02/30       004                                                EC 302      OK
        m        521     Jun-07    119:19     00/55      !lll3 7032374813                                    EC 502      OK
        732      522     Jun-lJ7   D!J:38     00/27      003 2023018191!                                     EC 603      OK
        m        523     Jun-07    Ia: 35     02/06      0113                                                EC 512      01(
        734      52.5    Jun-07    15: 13     00/33      003 202307!1198                                     EC 603      OK
        735      526     Jun~07    15: 14     00/56      OOI                                                 EC 512      OK
        736      528 Jun-or 15:20             oo/56       00!                                                EC 512      OK
        737      529     Jun-07    15:26      02/16       005                                                EC 502      OK
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        m        531     Jun-07    19:18      DJ/00       !IOI   757 3029435                                 EC 500      OK
        740      532     Jun-08    11:18      00/44       002    2147069061                                  EC 612      OK
        141      534     Jurr08 15:52         Ol/12       003    7033219031                                  EC 300      OK
        742      536     Jun-09 21 :36        01/03       OOl                                                EC 612      NG    DO
        743      537     Jun-HI 09:32         01/02       001                                                EC 612      NG    DO
        744      538     Jun-H 01 :02         !10/51      l)O!   71137906030                                 G3 5!!1     01(
        745      539 Jun-II 09:36             011/29      001 3015837757                                     EC 502      01{
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        747      542     Ju1H l    ll :30     1111/29     llllt lllDD) 208-0584                              EC 602      OK
        748      543     Jun-! 1   13 :09     01/52       003                                                EC 512      OK
        749      544     Jun-H     13:30      111/10      002 202~sll2-rm                                    EC 502      OK
        750      545     Jun-11    13:43      OD/32       002 2C2-S!i2-Tl71                                  EC 602      OK
        75!      546     Jun-11    14:35      00/56       003 2406310135                                     EX 502      01(
        752      547     Jun-tl    15:52      00/56       003 20:18280!03                                    EC 502      OK
        753      548     Jun-I I   16:40      00/27       002 !Ml! 553 7433                                  EC 603      OK
        754      549     J111rl2   OT:55      03/3l       005                                                EC 302      01(
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                                                    P-00016_00106
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 107 of 220 PageID #: 72666




                          UNITED STATES UEPARTMENT OF JUSTICE
                           DRUG ENFORCEMENT ADMINISTRATION~lili!                El
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             In the Matter of                     )
                                                  )
                   McKesson Corporation           )          Docket No, 06-66
                    d/b/a McKesson Drug Company   )
                                                   )




                          SUPPLEMENTAL PREHEARING STATE1\1ENT
                               OF MCKESSON CORPORATION




                                                       John A. Gilbert, Jr.
                                                       Hyman, Phelps & McNamara PC
                                                       700 Thirteenth Street, N,W.
                                                       Suite 1200
                                                       \Vashington, D.C. 20005
                                                       (202) 737-5600
                                                       (202) 737-9329 (Fax)




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                        MCKMDL00496412
                                                                                      P-00016_00107
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 108 of 220 PageID #: 72667




                           SUPPLEMENT AL PREHEARING STATEMENT
                                OF MCKESSON CORPORATION


                    McKesson Corporation ("McKesson") by and through the undersigned

             counsel, respectfully submits this supplement to its prehearing statement

             PROPOSED TESTIMONY

                    1.     Additional Proposed Testimony of William Mahoney

                    Mr, Mahoney will testify as previously noticed.

                    Mr. Mahoney will farther testifjr as to McKesson's Lakeland DC continued

             efforts to monitor distributions of controlled substances to pharmacy customers.

             Mr. Mahoney ,vm testify as to the Lakeland DC's implementation of the Lifestyle

             Drug Monitoring Program. He      wm also testii}' as to recent contacts ,vith DEA
             Group Supervisor Ken Boggess in regard to reporting nf excessive purchases by

             customers based 011 McKesson;s daily dosage report. Mr, Mahoney will also

             testify about McKesson's sales of controlled substances to ¥'PM Total Care

             Pharmacy.

                   2.     Add!!!9_:nal Pro_pµsed Testimony of Donald Walker


                   Mr. Walker will testify as previously noticed.


                   Mr. Walker will further testify as to 1'vfoKesson 1 s efforts to monitor

            distributions of controlled substances to pharmacies across all of the McKesson

            DCs. He 1vi1l also testify about McKesson's implementation ofthe Lifestyle Drug

            Monitoring Program. He wm discuss the process for identifying purchases that


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                      MCKMDL00496413
                                                                                                    P-00016_00108
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 109 of 220 PageID #: 72668




             exceed the 8,000 dosage threshold fur certain lifestyle drugs. He will discuss

             McKesson's procedures for conducting additional due diligence on customers v,,1ho

             exceed the threshold.

             RESPONDENT'S PROPOSED SUPPLEMENTAL DOCUMENTARY
             EXHIBITS

                   64.    McKesson Report of purchases of hydrncoclone Augusts 2005 (Run
             date October 10, 2005.)

                   65.    Government Contact between Bin Mahoney and D. Butcher re
             Lexus Drugs.

                     66.   Government Contact with Miguel Soloraz, DEA dated January 19,
             2005,

                  67.    Letter from Brian Westmoreland to Janice Barnes, DEA re LPE
             Pharmacy, dated September 18, 2006,

                     68.   Letter from Bill Mahoney to Ken Boggess, DEA dated March 16,
             2007.

                     69.   Letter from Bill Mahoney to Ken Boggess, DEA dated March 19,
             2007.

                     70.   Letter from Bill Mahoney to Ken Boggess, DEA dated March 21,
             2007,

                     71.   Letter from BilI Mahoney to Ken Boggess, DEA dated March 23,
             2007.

                     72,   Letter from Bill Mahoney to Ken Boggess, DEA dated April 3,
             2007.

                     73.   Letter from Bm Mahoney to Ken Boggess, DEA dated April 26,
             2007.

                     74.   Lifestyle Drug Monitoring Program, McKesson Operations Manual.

                     75.   Excerpt from Daily Dosage Report for Lakeland DC.



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                  MCKMDL00496414
                                                                                                 P-00016_00109
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 110 of 220 PageID #: 72669




                   76,   Lifestyle Drug PowerPoint Presentation,

                   77.   McKesson letter to Pharmacy Chain Accounts,

                   78,   Lifestyle Drug Declaration Form.

                   79.   Lifestyle Drug Pharmacy Questionnaire,

                   80.   YPM Pharmacy response to Internet Questionnaire,


                                                  ~ctful!y submitted,




                                                                                C
                                                   700 Thirteent 1 treet, , ,
                                                   Washington, D.C. 20005
                                                   (202) 737-5600
                                                   (202) 737-9329 (Fax)

                                                   Counsel for McKesson Corporation


             Date: June 13, 2007




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                            MCKMDL00496415
                                                                                          P-00016_00110
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 111 of 220 PageID #: 72670




                                           HYMAN., PHELPS S MCNAMARA,.                    P.C.
                                                      700 THIRTE£NTl-l STREET., N.W

                                                                SUITE 1200
        JOHN A. Cill:lERL Jil'                                                                    Dimct Dlo! 12021 737-4293
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                                                               www.hpmcom




                                                             June 13, 2007


          BY FACSIMILE/CONFIRMATION COPY BY HAND DELIVERY

         Helen Farmer
         Hearing Clerk
         Office of Administrative Law Judges
         Drug Enforcement Administration
         600 Army-Navy Drive
         Arlington, VA 2220.2

         Re:           In th.e matter of McKesson Corporation. d/b/a McKesson Drug Company,
                       Docket No. 06~66.

         Dear Ms. Farmer:

                Pursuant to 21 C.F.R. § 1316.52{d), McKesson Corporation ("McKesson"),
         Respondent in the above-captioned action, respectfully requests the issuance of a subpoena
         to compel the attendance of the individual identified below at the administrative hearing in
         the above-captioned matter scheduled to begin on July IO, 2007 in Tampa, Florida.

                                   Debra Butcher
                                   Diversion Investigator
                                   Drug Enforcement Administration
                                   Tampa District Office
                                   4950 W. Kennedy Blvd., Suite 400
                                   Tampa, Florida 33609
                                   (813)287~4765
                                   (813) 287-4766

                 Ms. Butcher is an employee of the Drug Enforcement Administration and has been
         identified as a Respondent witness in its prehearing statement



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                      MCKMDL00496416
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 112 of 220 PageID #: 72671



          Helen Farmer                                      HYMAN. PHELPS i McNAMARA,. P.C.
          June Bi 2007
          Page 2


                Please let me know if you have any questions"




                                                                      Jr.
                                                                    rt~
                                                                     Kesson Corporation

          cc: Wayne Patrick, Esq"
              Office of Diversion & Regulatory Litigation Section
              Ofiice of Chief Counsel
              Drug Enforcement Administration




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                           MCKMDL00496417
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 113 of 220 PageID #: 72672



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               FROM:                                 John Gilbert                                   DATE:        June 13, 2007

               TO:                                   Helen Farmer                                   FAX NO.:     (202) 307-8198
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 114 of 220 PageID #: 72673




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                             MCKMDL00496419
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 115 of 220 PageID #: 72674




                                          HYMAN;. PHELPS S MCNAMARA,.                  P. C.
                                                   700 THIRfE:ENTH STREET, N W.
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         JOHN A. GIWEIH, JR.                     WAiii,-!lNf.ilTON. 0, C, 2000~·5929
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                                                         June 13; 2007

          Wayne Patrick
          Diversion and Regulatory Litigation Section
          Office of Chief Counsel
          Drng Enforcement Administration
          600 Anny-Navy Drive
          Arlington, Virginia 22202

          RE:          1n the matter of McKesson Cotporation, Docket No, 06-66

          Mr. Patrick:

                 Please find enclosed copies of the documents identified in Respondent's prehearing
          statement and its supplemental prchearing statement filed with the Administrative Law
          Judge today.

                  Respondent wm provide copies of several documents not included in the attachment
          as soon as they are available. In addition, Respondent may not offer aH of the documents
          identified in its prehearing statement and supplemental prehearing statement I will provide
          a Hst of those documents prior to the hearing.

                       Please do not hesitate to contact me should you have any additional questions.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                   MCKM DL00496420
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 116 of 220 PageID #: 72675




                                                 HYMAN, PHELPS 8 MCNAMARA,                 P, C.
                                                           700 THIRTEENTH STR!::ET. NW
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          JOHN A, G!lBERt JR,                                                                        Dlrecl Dlol (202! 737-4293
                                                          WASHINGTON, 0, C:, 2000!:HS929




                                                                   www.hpm.eom




                                                                 June 13, 2007


            BY FACSIMILE/CONFIRMATION COPY BY HAND DELIVERY

           Helen Farmer
           Hearing Clerk
           Office of Administrative Law Judges
           Drug Enforcement Administration
           600 Army-Navy Drive
           Arlington, VA 22202

           Re:            In the matter of McKesson Corporation, d/b/a McKesson Drug Company,
                          Docket No. 06-66.

           Dear Ms. Farmer:

                  Pursuant to 21 C.FJ{. § 1316,52(d), McKesson Corporation ("McKesson''),
           Respondent in the above-captioned action, respectfully requests the issuance of a subpoena
           to compel the attendance of the individual identified below at the administrative hearing in
           the above-captioned matter scheduled to begin on July 10, 2007 in Tampa, Florida,

                                        Debra Butcher
                                        Diversion Investigator
                                        Drug Enforcement Administration
                                        Tampa District Office
                                        4950 W. Kennedy Blvd.t Suite 400
                                        Tampa, Florida 33609
                                        (813 )287-4 765
                                        (813) 287-4766

                  Ms. Butcher is an employee of the Drug Enforcement Administration and has been
          identified as a Respondent witness in its prehearing statement




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                         MCKMDL00496421
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 117 of 220 PageID #: 72676



          Helen Farmer                                       HYMAN., PHELPS g MCNAMAR.A,.   P.C
          June 13, 2007
          Page2


                  Please let me know if you have any questions.


                                                              ere!   ~
                                                            m A.     rt, Jr.
                                                          Counsel     Kesson Corporation

          cc: Wayne Patrick, Esq.
              Office of Diversion & Regulatory Litigation Section
              Office of Chief Counsel
              Drug Enforcement Administration




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                            MCKM DL00496422
                                                                                           P-00016_00117
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 118 of 220 PageID #: 72677




                             UNITED STATES DEPARTMENT OF JUSTrc:K~=.,11                        (~:?.   (~    0/
                                  Drug Enforcement Admi.nistrntion wmt~Vff                      •.     I~
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          [n The Matter of                           )                              ~"~
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             McKesson Corporation                    )                      Docket No. 06-66
             d./b/a lVkKesson Drug Company           )



                                       MOTION TO FILE
                             SUPPLEMENTAL PREHEARING STATEMENT

                 McKesson Corporation (Respondent), through the undersigned counsel, files this

          motion to supplement its prehearing statement in the above captioned matter.

                 On June 7, 2007 the Administrative Law Judge ordered the Government to amend

          its prehearing statement to identify its expert witness, if any, and details of the witness's

          testimony. On June 12, 2007, Government co1.msel provided Respondent with a

          supplemental prehearing statement

                 The Government's supplemental prehearing statement identifies Carmen Catizone

          as an expert witness that will testify· based on a transcript from a prior matter. The

          Government has also listed a new witness, George Van Komen, M.D., who          wm also
          testify by transcript from a prior matter. The government has also provided additional

          testimony for a previously noticed witnessi Lisa Sullivan. FinaHy, the Government has

          proposed eleven additional documents to be introduced at the hearing.

                 Therefore, Respondent now moves the ALJ to supplement its prehearing statement

          as described in the attached supplemental prehearing statement The Government

          provided the transcript oflvlr. Catizone's testimony, however, it has not as yet provided a



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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                      MCKM DL00496423
                                                                                                          P-00016_00118
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 119 of 220 PageID #: 72678




          copy of the transcript of Dr, Van Komen. Respondent may request to further supplement

          its prehearing statement once it receives a copy of the transcript and can determine the

          scope of Dr, Van Komen's transcript testimonyo

                                                           Respectfully submitted,




                                                           John Ao <lli!be   Jr.
                                                           Hyman, ~ & McNamara PC
                                                           700 Thirteenth Street, N.\V.
                                                           \Vashington, D.C 20005
                                                           (202) 737-5600
                                                           (202) 737-9329 (Fax)

                                                           Counsel for McKesson Corporation

          Dated: June 13, 2007




                                                      .2




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM DL00496424
                                                                                                     P-00016_00119
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 120 of 220 PageID #: 72679




                                        CERTIFICATE OF SERVICE

                     This is to certify that the undersigned, on June 13, 2007, caused a copy of the
             foregoing to be delivered by hand to The Honorable Mary Ellen Biuner U.S. Department
             of Justice, Drug Enforcement Administration, 600 Anny Navy Drive, Arlington,
             Virginia, 22202, and copies to be delivered by hand to:


                                          Wayne Patrick
                                          Diversion and Regulatory Litigation Section
                                          Office of Chief Counsel
                                          Drug Enforcement Administration
                                          600 Am1y-Navy Drive
                                          Arlington, Virginia 22202




                                                    ~b                      \SV'C \)___   \,.<O
                                                        Kathleen McKinley                         '-




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKM DL00496425
                                                                                                       P-00016_00120
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 121 of 220 PageID #: 72680




                               UNITED STATES DEPARTMENT OF JUSTICE

                                  DRUG ENFORCEMENT AD!V!INISTR.ATION




            lN THE MAITER OF



            McKESSON CORPORATION
             DIB!A MCKESSON DRUG COMPANY




                         CONSENT MOT.ION TO RESCHEDULE HEARING DA'fES




                                                                            D. LINDEN BAR.BER
                                                                     AsSOCIATE CHIEF CotJNSEL
                                                                     OFFICE OF CmEF COUNSEL
                                                               2401 JEFFERSON DAVIS HIGH\1'.'AV
                                                                        ALEXANDRIA, VA 22301
                                                                         vou:::t: (202) -307-8010
                                                                            FAX: (202) 307-4946




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                            MCKM DL00496426
                                                                                              P-00016_00121
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 122 of 220 PageID #: 72681




                 The United States Department of Justice, Drug Enforcement Administration

          (Government), by and through its undersigned attorney, hereby submits this Ccmsent Motion to

          Reschedule Hearing Dates.

                 In support of the Consent Motion, the Government offers the foliowing:

                 l.      Government Crn.msel and Respondent's Counsel have engaged in settlement

          discussions regarding this matter, The Parties mutually desire to continue settlement discussions,

                 2.      On June 21, 2007, Government Counsel contacted Respondent's Counsel, M:r.

          Douglas Farquhar, who consented to the request for c:onfomance. After this discussion with ~1r.

          Farquhar, Government Counsel contacted the Administrative Law Judge who indicated tl::mJ:} if

          this matter were continued, the Administrative Law Judge could docket thms matter fo.r hearing

          on October 30, 2007, with a second week of hearing beginning November 27,. 2007.

                 3.      On June 25, 2007, Govemment Counsel contacted Respondent's Counsel who

          consented to the Government's request to seek a continm:mce of the hearing in this matter untfl

          October 30, 2007.

                 In considerntion of the foregoing, the Government requests, with the consent of

          Respondent, that the hearing in this matter currently scheduled to begin July 10, 2007, in Trunpa,

          Florida, be rescheduled in accordance with the Administrative Law Judge's docket The Parties

          .request that the hearing be scheduled to commence on October 30, 2007, if the Administrative

          Law Judge's calendar pemrits. If a second week of hearing js needed, the Parties request mat the

          second week of hearing be set for November 27, 2007. This request is not sought for purposes of

          undue delay.

                 WHEREFORE, the Government requests that the Administrative Law Judge cancel the

          hearing in this matter scheduled to commence July 1O; 2007, and reschedule the hearing for




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKM DL00496427
                                                                                                            P-00016_00122
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 123 of 220 PageID #: 72682




          October 30; 2007, or as soon thereafter as ,possible. Government courrnel further asks the

          Administrative Law Judge to schedule a conference caH with counseI to discuss schedu]rng.

                                                       RespectfuHy submitted,



                                                       D. Linden Barner
                                                       Associate Chief Counsel
                                                       Drug Enforcement Admi.rdstration

          Date: June 25, 2007




                                             CER.TlF!CATE OF SERVICE

                 I hereby certify that on the date signed below, I caused the original and two copies of the
          foregoing CONSEN'.I' MOTION TO RESCHEDULE HEARING DATES IN THE MATIER OF
          MCKESSON CORPORATJON D/B/A McKESSON lhmG COMPANY, to be hand delivered to the
          DEA Office of the Administrative Law Judges; and I caused a copy of the foregoing to be
          mailed, via firsH:lass postage prepaid mail, to Respondent's counsel at the following address:

                                        Doug Farquhar, Esq. & John A Gilbert, k, Esq.
                                        Law Offices of Hyman, Phelps & McNamara, P.C.
                                        700 Thirteenth Street, N. W.
                                        Suite 1200
                                        Washington, DC 20005-5929


          AND TO BE FAXED to Respondent's counsel, Doug Farquhar, Esq, & John A, Gilbert, k,
          Esq., at the following number: (202) 737~9329.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKM DL00496428
                                                                                                           P-00016_00123
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 124 of 220 PageID #: 72683




                               UNITED STATES DEPARTl\IENT OF JUSTICE
                                DRUG ENFORCEMENT ADMINISTRATION


             IN THE MATTER OF       )
                                    }
             l\ICKESSON CORPORATION )                       Docket No. 06-23
                       dba          )
             MCKESSON DRUG COMPANY )



                                 NOTICE OF APPEARANCE

                   The undersigned David Linden Barber hereby notices his appearance in this

             matter as co-counsel for the Government AU filings and notices should continue

             to be sent to the attention of the lead Government Counsel, Mr. Wayne Patrick.



                                                     Respectfully submitted,

                                                     /   ~        L
                                                     D. Linden Barber
                                                                      ~
                                                     Associate Chief Counsel
                                                     Office of Chief Counsel
                                                     Co-Counsel for the Government

             Dated: June 25, 2007

                                     CERTIFICATE OF SERVICE

                          On June 25, 2007, [ mailed a copy of the foregoing, postage prepaid,

                   to Counsel for Respondent, John A. Gilbert, Jr. 1 Esq.~ Hyman Phelps &

                   McNamara, P.C., 700 13 1h Street N.W., Washington, D.C. 20005



                                                     D. Linden Barber




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                               MCKM DL00496429
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 125 of 220 PageID #: 72684

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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                        MCKM D L00496430
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 126 of 220 PageID #: 72685

        06/26/2007   15:05          202307B1~f,I                 LJ                                      PAGE   02/03




                                     UNITED STATES DEPARTMENT OF JUSTICE
                                          Drug Enforcement Administration



              In the Matter of

                       McKesson Corporation
                       dlbla McKesson Drng Company


                                            MEMORANDUM To COUNSEL AND Om:m.R
                       On June 25, 2007 1 counsel for the Gove:rnment filed a motion to reschedule the
              hearing in the abovewi:;:aptioned matter. Counsel for t1Je Government noted that he md
              counsel for Respondent are engaged in settlement discussfo:ns, and he therefore requests
              that the bearing be rescheduled fur the weeks of October 30 and November 27~ 2007,
              Counsel for the Government advised that counsel for Respomfent consents to the :moticm,
                       Inasmuch as settlement discussions are underway, 1 grant the Government's
              motioI!i. Accordingly, it is ORDERED that the hearing currently scheduled for
              July l 0~ 12, 2007, and July 24-26, 2007, is cancelled and rescheduled for October 30-
              November 1, 2007. and November 21-29, 2007, in Tam.pa, Florida or Arlington, Virginia,
              My Jaw clerk will schedule a conference call to discuss scheduling matters.
              Dated:   JUl:lei   26, 2007




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496431
                                                                                                         P-00016_00126
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 127 of 220 PageID #: 72686

       06/26/2007   15:05                                      LJ                                         PAGE   03/03




                                             CERTIFIC:A.'rE OF SDV1CE
                     Th.is fa to certify that the undersigned on June 26, 2007, caused a copy of the
              foregoing to be faxed and delivered ¥is int.ernfffoc mail 'to counsel for the Government,
              Wayne M. Patrick. Esq., Office of Chief Counsel, Drug Enforcement Administration,
              Washington, D.C. 20537, and a copy to be fmced and mailed. postage paid, to cotmsel for
              Respondent. John A. Oilbm,, Jr., Esq., Hyman. Phelps & McNama.rat P.C.,
                                                                             .
              700 Thirteenth Street, N.W., Suite 1200, Washington, .C, 20005 .


                                                                    Secretary to Mary Ellen Bittner
                                                                    Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496432
                                                                                                          P-00016_00127
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 128 of 220 PageID #: 72687

      06/26/2007    15:05       20230781~8                    LJ                                           PAGE   01/03




                                                                   Drug Enfc,roowent Administration
                                                                   Office of Admmistrru:ive Law Jm:ige.1
                                                                   Washington, D.C. 20537
                                                                   Tel. (202) 307~8188     Fax :m7~3198




                                     FAX TRANSMISSION

          Date:             June 26. 2007

          To:               John, A. Gilbert, Jr., Esq.
                            Wayne Patrick. Esq.

                            202-737-9329
                            7--4946

          Re:           in the Matter ofMcKesson Corporation, d/1;/a McKesson Drug Company
                              Docket No, 06
                                              9

                                                  6~ . .
                            Patricia M ~
                            Secretary
                                                    ~
                                         azy El Bittner
                            Chief Admf istrative Law Judg-e


                   YOU SHOULD RECEIVE 3 PAGE(S), INCLUDING THIS COVER SHEET. IF
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          Please see attached 0 Memorandum to Counsel and Order."

          Attachment




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM D L00496433
                                                                                                             P-00016_00128
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 129 of 220 PageID #: 72688




                                 UNITED STATES DEPARTMENT OF JUSTICE
                                      Drug Enforcement Administration




              In the Matter of

              McKesson Corporation
                 d/b/a McKesson Drug Company                                    Docket No, 06-66




                                          MEMORANDUM TO COUNSEL

                    Pursuant to the discussion in a telephonic conference on September 6, 2007, the
            initial phase of the above-captioned hearing is scheduled from October 30-November l,
            2007 in Arlington, Virginia. As also discussed, counsel are to exchange documents they
            intend to introduce into evidence no later than 4:00 p.m eastern daylight time on October
             12, 2007. Jf counsel intend to submit supplemental prehearing statements, they must do
            so no later than 4:00 p,m eastern daylight time on October 12, 2007.



                                                                                     ~
            Dated: September 10, 2007
                                                           F/Al'f/,{,,/14,   fl"&n
                                                         Mary E n Bittner
                                                         Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM D L00496434
                                                                                                          P-00016_00129
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 130 of 220 PageID #: 72689




                                             CEr-nu,JCATE OF SERVICE

                      This is to certify that the undersigned on September IO, 2007, caused a copy of
              the foregoing to be delivered via interoffice mail lo counsel for the Government, Wayne
              M. Patrick, Esq., omce of Chief Counsel, Drug Enforcement Administration,
              Washington, D.C. 20537, and a copy to be mailed, postage paid to counsel for
              Respondent, John A Gilbert, Esq., Hyman, Phelps & McNamara, P.C., 700 Thirteenth
              Street, N.W., Suite 1200, Washington, D.C. 20005.




                                                          Thomas 'Skip' Mark
                                                          Attorney Advisor to Mary Ellen Bittner
                                                          Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                      MCKM DL00496435
                                                                                                        P-00016_00130
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 131 of 220 PageID #: 72690




                             UNITED STATES DEPARTMENT OF JUSTICE
                                  Drug Enforcement Administration




          In The Matter of                         )
                                                   )
            McKesson Co:rporafom                   )                      Docket No. 06~66
            d/b/a McKesson Drug Company            )




                          JOINT lVf OTION FOR EXTENSION OF TIME
                     TO FILE SUPPLE1\1ENTAL PREHEAIDNG STATEMENTS
                         AND EXCHANGE DOCUMENTARY EVIDENCE

                McKesson Corporation (Respondent), through the undersigned counsel, files this

         joint motion for an extension of time for the parties to file supplemental prehearing

          statements and exchange documentary evidence. On September 10, 2007, the ALJ issued

          a Memorandum to Counsel stating that the parties should exchange documents and         me
          supplemental prehearing statements by October l 2! 2007,

                'The parties are continuing to discuss a resolution to this matter. Therefore! the

         parties request a one week extension until October 19, 2007 to exchange documentary

         evidence and file supplemental prehearing statements. Respondent has discussed this

         motion with government counsel and. they have agreed to the motion,




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM D L00496436
                                                                                                      P-00016_00131
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 132 of 220 PageID #: 72691




                                             -----Respectfully submitted;




                                                  John A, G. be.rt Jr.
                                                  Hyman, P e] & McNamara PC
                                                  700 Thirteenth Street, N,W,
                                                  Washington, D.C. 20005
                                                  (202) 737-5600
                                                  {202) 737-9329 (Fax)

                                                  Counsel for McKesson Corporation


          Dated: October 12, 2007




                                             2




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                        MCKMDL00496437
                                                                                      P-00016_00132
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 133 of 220 PageID #: 72692




                                       CERTIFICATE OF SERVICE

                  This is to certify that the undersigned, on October 12, 2007, caused a copy oft11e
           foregoing to be delivered by facsimile wifu a confirmation copy by mail to The
           Honorable Mary Ellen Bittner U.S. Department of Justice, Drug Enforcement
           Administration, 600 Anny Navy Drive, Arlington, Virginia, 22202, and copies to be
           delivered by facsimile to:


                                         Wayne Patrick
                                         Diversion and Regulatory Litigation Section
                                         Office of Chief Counsel
                                         Drug Enforcement Administration
                                         600 Army-Navy Drive
                                         Arlington, Virginia 22202




                                                         Kathleen McKinley




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM D L00496438
                                                                                                       P-00016_00133
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 134 of 220 PageID #: 72693



                                                                                                             lAW OFFICES


                                                                                 HYMAN,, PHELPS~ McNAMARA,, P,C.
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                        ........................................................................
                                                                                                                                          Fax No.: (202) 737-9329



           FROM:                                                           John Gilbert                                           DATE:        October 12, 2007


           1'0:                                                           Honorable Mary Ellen Bittner                            FAX NO.:     (202) 307-8198
                                                                          Wayne Patrick                                                        (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                    MCKM D L00496439
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 135 of 220 PageID #: 72694




                                                       HYMAN~ PHELPS & MCNAMARA., P. C,
                                                                              700 TMIRTEENTH STR[:[:T. NW
                                                                                           SUIT£: l.tOO

                                                                           WASHINGTON, D.         e,    2000~·!1>929


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           FROM:                                   John Gilbert                                                  DATE:         October 12, 2007

           TO:                                     Linden Barber                                                 FAX NO.:      (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                        MCKM D L00496440
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 136 of 220 PageID #: 72695




                                           UNITED STATES DEPARTMENT OF ,JUSTICE
                                                Drug Enforcement Administration



          In the Matter of

                      McKesson Corporation
                      d/b/a McKesson Drug Company                   Docket No. 06-66




                                                RULING ON REQUESTED EXTENSION

                      On October 12, 2007, 1 counsel for Respondent filed a joint motion requesting an
          extension for filing supplemental prehearing statements and exchanging documentary evidence
          in the above-captioned matter. Counsel requests a one week: extension from the October 12
          deadline so that the parties can continue to discuss a resolution. Counsel for Respondent advised
          that counsel for the Government does not oppose the ex.tension.
                      Inasmuch as it appears that no prejudice will result, Respondent's request is granted,
          Accordingly, the deadline for exchanging documentary evidence and filing supplemental
          prehearing statements is extended to October 19,
          Dated: October 12, 2007




                                                                   Administrative Law Judge




          1
              All dales herein are 2007.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                              MCKMDL00496441
                                                                                                               P-00016_00136
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 137 of 220 PageID #: 72696




                                             CERTIFICATE OF SERVICE

              This is to certify that the undersigned on October 12, 2007, caused a copy of the foregoing to
          be faxed and delivered via interoffice mail to counsel for the Government, Wayne Patrick, Esq.,
          Office of Chief Counsel, Drug Enforcement Administration, Washington, D.C. 20537 1 and a
          copy to be faxed and mailed, postage paid, to counsel for Respondent; John A. Gilbert, Jr,, Esq.,
          Hyman, Phelps & McNamara, P.C,, 700 Thirteenth Street, N. W,, Suite 1200, Washington, D.C.
          20005.



                                                              Thomas 'Skip' Mark
                                                              Attorney Advisor to Mary Ellen Bittner
                                                              Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496442
                                                                                                          P-00016_00137
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 138 of 220 PageID #: 72697

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                IN THE MATIER OF                      )
                                                      )
                MCKESSON CORPORATION                  )
                        dlb/a       }
                MCKESSONDRUGCOMPANY }




                            GOVERNMENT SUPPLEMENTAL PR.EBE.ARING STATEMENT

                          The United States Department of Justice, Drug Enforcement

                Administration, by and through its undersigned attorney,_ hereby submits this

                supplement to its prehemng statement. All witnesses, proposed testimony, and

                docum.enmry evidence previously noticed :remain unclnm.ged. The following new

                matters are presented.


                PROPOSED WITNESSES
                Joseph T. Ran.namsi                       {As described below]
                Deputy Assistant Administrator
                Dru,g Enforcement: Admimst.ra.tlo:n

                B:1ubara Boockholdt                       [As described below]
                Smff Coordmator
                Drug Enforcement AdmixdstrntitHJ


                William Mahoney                           [As described below]
                Di.stril:rn.tton Ce:1:lter Manager
                McKesrmn Corporation




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKMDL00496443
                                                                                                           P-00016_00138
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 139 of 220 PageID #: 72698

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              Donald Walker                            [A.,; described below}
              Senior Vice President
              McKesson Corporation

              PROPOSED TESTIMONY

              Joseph T. Ramiuzisi

                     Mr. Rim.:mazdsi m11 testify regarding ms p:rofes1ionru backgromo.d and
              experience, and the following: l.) that he m.et with McKesson officials m
              Jim:u.aey 2006 regarding McKesson's enr:aordi:muily large distributions of
              hydrocodone, and select other controlled su.bstances to pha:rmacies under
              drcnmstances that indicated that the pharmacies were diverting e«:mtroUed
              substances; l) that he asked the McKesson representatives if they could give
              him any :res.son why DEA should not revoke MdCesscm's registraticm, od the
              McKesson officials did not explain why their large disnilnitions to
              pharmacles nuder suspicious circumstances; 3) that after the Ja:muuy 2006
              meeting, McKesson contb:u1ed to distribute controlled substances u.nde:r
              drcwnsta:m::es that were imHeative of diversion; 4) the natimutl problem
              :regarding the diversion of hydrocodone and benzodiazepmes; 5) the efforts
              that DEA has taken m edm:a.te distrlbuto:rs about the warning stgm of
              diversion, and the efforts ttmt DEA took ro educate McKesson.



                     Ms. Boockholdt wm testify regarding her professional background and
              experience, and the followiu.g: 1) that McKesson's distributions of
              hydrocodone to certain Florida pharmacies were significantly greater thm
              any distn1n.1.tions that she has ever seen for legitimate purposes; 2) that DEA
              has ts.ken admimstr.ati:ve action agamst or received surrenders of
              registratlr.ms from some of McKesson's largest purehasers of hydrocodone; 3)
              that information was a.vailal::ile on the Internet th.rough simple use of a :search
              engine that could have alerted McKesson that certain phs.rmm:y customers
              were purchasing hydrocodoae fo fill p:rescrlptlomi: issued by out-of-state
              physicians who never com'Bud an examim1.tion of the inm:rir:h.utl pnrchamg
              ccm.trolled snbstance15.



                    Mr. Mahoney wm testify about McKesson's sales of hydrocodone and
              other drugs, controlled and non~contro]led, to the pharm.acles identified in
              the Order to Show Cause, and its drog mstrU.>utions to YPM and Mai
              Pb:arm:acy. Mr. Mahoney will testify about how the orders from those

                                                       2




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                 MCKMDL00496444
                                                                                                    P-00016_00139
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 140 of 220 PageID #: 72699
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              pharmacies compare to the orders placed with McKesson by other retail
              pharmacies. He wm testify about that the orders o( hydrocmfone by those
              pharmacies were of an unusmd size, an m1uu.m, freqaency, or deviated from
              the normal pattern of orders by retail pharmacies, or a combination of more
              than one of those factors. He will testify about the steps that McKesson
              widertcmk to ensure that those orders were legitimate before filling those
              orders. He wm. also testify about the attempts that DEA took to educate
              McKesson about the signs of diversion by pharmacies. He will testify about
              the timing and nature of the training and guidance that he received from
              McKesson's corporate headquarters regarding the rogue Internet
              pharmacies, signs of diversion, :u1d McKesson's obligations as a DEA
              registrant. He will testify about the McKesson employees or agents who
              mted the pharmacies, what reports if any they made to him or other
              McKesson manager, aml what actions McKesson took in response to those
              reports. He will :also testify about the general operation of the Lakeland
              Distribution Center and other matters noticed mRespondent's prehodng
              statement. He win testify that after McKesson received the Order to Show
              Ca:me that it distributed a large a.mount of hydrocodcme ro YPM nnder
              suspicious circumstances. Be will testify that he became a.ware of DEA 's
              suspension of a major distritnator in central Florida. mApril 2007.
              Notwithstanding his knowledge ofthls, McKesson su.pplied an 1m:1.uiually large
              amount of hydrocodone to Mu pharmacy in June and July of 1001, and later
              determined that Ml!Kesso:m should no longer sell to Mm Pharmacy.

              Donald Walker

                           Mr. Walker will testify about Mclusson's sales of hydrm:.mfone
              and other drugs, controlled and non-co:o;trolled, to the pharmacies identilled
              in tbe Order to Show Cause, and its dng distributions to YPM and Mai
              Pharmacy. He will testify about the steps that McKesson nmlerlook to ensure
              that its maugers and employees were promptly trained on the diveraion
              concerns that DEA brought to McKesson's attention in September 2005. He
              will testify about the :role of McKesson's corporate headquarters mmaking
              deruiom1 aln.Jut the sales of controUed s1.1.b1tmces to pharmacies, and about an
              corporate policies related to diversion of cc:m.trol1ed sllbstances, a.nd Internet
              diversion sthemes mparticular. He wm also testify about the matters noticed
              mRespm:uiellt's prehemog statement

              DOCUMENTARY EVIDENCE                    [AMENDED]
              1-38. As previously noticed




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                 MCKM D L00496445
                                                                                                   P-00016_00140
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 141 of 220 PageID #: 72700
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              39. Chart showing hydrocodone distn1mtions by Respondent to Mai Pb.arma.cy m
                  2006 and 2007.

              40. Chart showing hydrocodone distributions by Respondent to YPM in 2006 and
                  2007.

             41. Final Order, United Prescription Services, Inc.

              42. Final Order, Southwood Pha.rn1aceu.ticals, Inc.

              43. Immediate Suspension Order, Avee Pharmacy

             44. Immediate Suspension Order, YPM

             45. Order to Show Cause, Trelles Phar:macy

             46. Order to Show Cause, Bi~Wise Pharnmcy

             47. Immediate Suspension, Medipfumn..Rx

             48. Order to Show Cause, Accumed

             49. Letter from Joseph Rmmaziisi to McKesson dated September 26, 2006


                                            OTHER MATTERS

                     The Government agrees to an extension of time for Respondent to file its
             Supplemental Pre.hearing Statement. The Government has no objection to
             Respondent filing its Supplemental Prehearing Statement any time prior beginning
             of the hearing.

                                                       R.espectfu[ly submitted,




                                                       D. Linden Barber
                                                       Associate Chief Coumiel
                                                       Drug Enforcement Administration


             Dated: September 19t 2007

                                                      4



CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                 MCKM D L00496446
                                                                                                 P-00016_00141
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 142 of 220 PageID #: 72701

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              CERTIFICATE OF SERVICE

                            On October 19, 2007, I sent via facsimile a copy of the foregoing 1 to

                      Counsel for Respondent, John A. Gilbert, Jr., Esq. 1 Hyman Phelps &

                     McNamara, P.C., 70013th StreetN.W., Washington, D.C, :woos.


                                                     /.~
                                                       D. Linden Barber
                                                       Associate Chief Counsel
                                                       Drug Enforcement Administra:tion




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKMDL00496447
                                                                                                       P-00016_00142
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 143 of 220 PageID #: 72702




                                                        U.S. Department of Justice
                                                            Drug Enforcement Administration
                                                                 Office of Chief Counsel


             www.dea.gov                                       Washington, D.C. 20537

                                                               October 22, 2007

             Honorable Mary Ellen Bittner
             DEA
             Office of Administrative Law Judges
             Washington, D.C. 20537

             Re: In the Matter of McKesson Corporation, DEA Docket No. 06-23

             To the Honorable Judge Bittner:

                    The Government requests that subpoenas be issued to compel the appearance and
             testimony ofthe following witnesses at Arlington, Virginia (estimated for October 30,
             2007) and be tendered to the Government for appropriate service.

                Donald G, Walker
                Senior Vice President
                McKesson PhamtaceuticaI
                One Post Street
                San Francisco, California 94104

                William Mahoney
                Distribution Cneter Manager
                McKesson Drug Company
                1515 West Bella Vista Street
                Lakeland, Florida 33805




                                                      .Resp.e~                       A
                                                      ~~:h~tx:_~ ~><J
                                                       Wayne f trick
                                                       Counsel for the Government


                cc: John A. Gilbert, Jr., Esq.
                    F: (202) 73 7-9329




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                   MCKM D L00496448
                                                                                                     P-00016_00143
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 144 of 220 PageID #: 72703

                                                                              ,:·······••,



                                                                   United StatcsOcpa:rtmcnt of Justice

                                                                    Drug Enforcement Administration
                                                                    Office of Adminis1ra1ivc Law Judges
                                                                    Washington, D.C 20.537
                                                                    {202) 307-8 !88


                                                                                             October 22. 2007

             Wayne Patrick, Esq.
             Office of Chief Counsel
             Drug Enforcement Administration
             Washington, D.C. 20537

                   Re: In !he ivfatter of lvfcKesson Corporation d/b/a McKesson Drug Company
                                                  Docket No. 06-66

             Dear Mr, Patrick:

                  On October 22, 2007, you filed a request for subpoenas in the above-referenced
             matter, Subpoenas for the foHowing individuals are enclosed,

                                 Donald G, Walker
                                 Senior Vice President
                                 McKesson Pharmaceutical
                                 One Post Street
                                 San Francisco, California 94104

                                 William Mahoney
                                 Distribution Center Manager
                                 McKesson Drug Company
                                 1515 West Bella Vista Street
                                 Lakeland, Florida 33805

             If you have any questions or need addltional information, please contact my Jaw clerk,
             Thomas 'Skip' Mark, at (202) 307-8188,




                                                              een~~~
                                                                Sincerely,



                                                                Administrative Law Judge



            Enclosures (2)

            cc: John A. Gilbert, Jr., Esq, (w/o enclosures)




                                                                                                       MCKM DL00496449
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                                P-00016_00144
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 145 of 220 PageID #: 72704




                                                                   Drug Enforcement Administration
                                                                   Office of Administrative Law Judges
                                                                   Washington, D.C. 2053 7
                                                                   (202) 307-8188


                                                                   October 23, 2007

             John A Gilbert, Jr., Esq.
             Hyman, Phelps & McNamara, P.C.
             700 Thirteenth Street, N. W,i Suite 1200
             Washington, D.C. 20005


                   Re: In the Matter ofMcKesson Corporation d/b/a McKesson Drug Company
                                                  Docket No. 06~66

             Dear Counsel:

                    As you know, the hearing in this proceeding will be held at the Drug Enforcement
             Administration's (DEA) headquarters. The Office of Security Programs requires a list of
             aU individuals attending the hearing other than DEA employees.

                     Please notify this office of all persons attending the hearing by 4:00 p,m. eastern
             daylight time on Wednesday, October 24, 2007. Please direct your response to the
             Hearing Clerk, Ms. Helen Farmer, and provide the individuals' full name and date of
             birth. Your prompt attention to this matter is greatly appreciated.

                    If you have any additional questions or concerns, please contact me at (202) 307-
             8188. Thank you for your cooperation.


                                                           Respectfully.

                                                           fa-£~
                                                           Thomas Skip Mark:
                                                           Attorney Advisor to Mary Ellen Bittner
                                                           Administrative Law Judge


            cc:     Wayne M. Patrick, Esq., Office of Chief Counsel
                    Helen Farmer, Office of Administrative Law Judges




                                                                                                   MCKM D L00496450
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                           P-00016_00145
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 146 of 220 PageID #: 72705




                                                                   Drug Enforccmcllt Administration
                                                                   Office of Administrative Law Judges
                                                                   Washington, D.C. 20537
                                                                   (102) 307-8188


                                                                  October 23, 2007


             Wayne M. Patrick, Esq.
             Office of Chief Counsel
             Drug Enforcement Administration
             Washington, D.C. 20537

             John A Gilbert, k, Esq.
             Hyman, Phelps & McNamara, P .C.
             700 Thirteenth Street, N, W,, Suite 1200
             Washington, D.C 20005


                   Re: In the Matter of McKesson Corporation d/b/a McKesson Drug Company
                                                 Docket No. 06~66

             Dear Counsel:

                     At Judge Bittner's direction, I am writing to advise you that the hearing scheduled
             to begin at 9:30 a.m. on October 30, 2007, wm    be held in the hearing room at the Drug
             Enforcement Administration's headquarters, 600 Army Navy Drive, Arlington, Virginia.
             The hearing is scheduled to last three days.

                    You are reminded to meet the law clerk at 9:00 a.m. on the first day of the hearing
            to have exhibits marked. Please bring an extra set of exhibits for the judge, and make
            certain that witnesses are available to testify without delay.

                   If you have any additional questions or concerns, please contact me at
            (202) 307~8188.

                                                          Respectfully,
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                                                          Tho mas Skip Mark
                                                          Law Clerk to Mary Ellen Bittner
                                                          Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKMDL00496451
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 147 of 220 PageID #: 72706

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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                MCKM D L00496452
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 148 of 220 PageID #: 72707

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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                      Drug Enforcement Administration



            In the Matter of

                   Md(es.son Corporation                         Docket No. 06-66
                   d/b/a Md(esimn Drug Company




            TO:    WWiam Mahoney
                   Distribution Center Manager
                   McKesson Drug Company
                   1515 West Bella Vista Street
                   Lakeland, Florida 33805



                   Reqm:st therefore having been duly made by Wayne Patrick. Esq., attorney for the
            Government, you are hereby comm.anded to appear in the .hearing room at the Drug
           Enforcemfmt Administration headquarters, 600 Army Navy Dri:ve, Arlington, Vuginia 222.02
           on Tuesday, October 30, 2007, at 9:30 a.m. to give testimony in this matter and not to depart
           withc:mt leave.
                   This mibpoena is issued under the authority of the Controlled Substa:nces Act,
           21 U,S.C, §§ 815 and 876 (1996) end 21 C.FJt. § 1316.5:Z(d) (2007).

           Issued: October 22, 2007



                                         &~~
                                         Ma:ryEe:n Bittner
                                         Administrative Law Judge


           NOTICE TO WITNESS:

                  You nia.y be entitled to witness fees for your attcm:fance, subsistence, and mileage
           under this subpoena and, if so, such fees are to be paid by the party at whose request this
           subpoena is issued. All arrangements ibr payment are to be made with that party.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM D L00496453
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 149 of 220 PageID #: 72708

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                                UNITED STATES DEPARTMENT OF JUSTICE
                                     Drug Enforccrmmt Administration



            ht the Matter of

                  McKesson Corpomtion
                  d/b/s McKesson Drug Company


                                                     SUSFOENA


           TO:     DomJrl 0. Walker
                   Senior Vice President
                   McKesson Pharmaceutical
                   One Post Street
                   San Francisco, California 94104


                   Request therefore having been duly made by Wayne Patrick, Esq., attorney for the
           Government, you are hereby commanded to appear in the hearing room at the Drug
           Enforcement Administration headquarters. 600 Army Navy Drive, ArUngton., Virginia 22202
           on Tuesday, October 30, 2007t at 9:30 am. to give testimony in this matter and not to depart
           without leave.
                  This subpoena is issued under the authority of the Controlled Substances Act,
           21 U,S.C. §§ 875 and 876 (1996) and 21 C.f.R. § 1316.S2(d) (2007},
           Issued: October 22, 2007




                                        Administrative Law Judge




                  You may be entitled to witness fees for your attendance, subsistence. and mileage
          under this subpoena and, if so, such fees are to be paid by the party at whose request this
          subpoena is issued, AH ammgements for payment a.re to be made with that party.




                                                                                                  MCKM D L00496454
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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       Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 150 of 220 PageID #: 72709

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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 151 of 220 PageID #: 72710

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                                                               U.S. Department of .Justice
                                                                  Drug Enforcement
             Administrath:m.
                                                                    Office of Chief Counsel


             www.£lea.gov                                           Washington, D.C. 20537

                                                                    .October 24, 2007

             William Mahoney
             Distribu.tion Center Man.ager
             McKesson Drug Company
             lSiS Wast Bella Vista Street
             Lakeland, Florida 33 805


             Dear Mr. Mahoney::

                    You have been served with a subpoena to appear to testify in the Government's
             case-Ju-chief in the matter of McKesson Drug Company on October 30, 2007 in
             Arlington, Virginia..

                     Jf you travel md appear in this proceeding. you may be entitled to Government
             paid travel, lodging, and certain expenses. However) in order to accomplish thisi the DEA
             must issue you travel omers and must book your flight md lodging for you. In addition,
             any re-imbursement of expenses must be accomplished by direct deposit to a designated
             account of yours. Jn order to m::range this travel; please contact Ms. Deborah Jordan, DEA
             Office of Chief Counsel at (202) 307-3663.

                     You may elect to m.mge far travel on your own, subject to reim.1:m.rsemcnt.
             However, claims for travel and lodging will be limited to reim1::mrsement for coach travel
             and local area lodging rates at whatever ceiling bas been established by Federal ti:avel
             regulations or oontra.cts.

                    If you have any questions regarding the subpoena it$elf, you may have your
             counsel contact me at (202} 307~8131.


                                                  Sine


                                                  Wa.         ·ck
                                                  Attorney
                                                  Dmg Enforcement Administration




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496456
                                                                                                           P-00016_00151
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 152 of 220 PageID #: 72711

      10/24/2007   14:08                                      OFC OF CC (CCD-CCR)                        PAGE   03/09




                                                               U.S. Department of Justice
                                                                  Drug Enforcement
             Administration
                                                                   Office of Chief Counsel


             'WWW.   dea.gov                                      Washington. D.C. 20537

                                                                   October 24, 2007

             Donald G. Walker
             Senior Vice President
             McKesson Pharmaceutical
             One Post Street
             San Francisco, California 94104
             (415 983~ 7062/9060)

             Dear N!r. Walker:

                     You have been served with a subpoena to appear to testify in the Gove.mmenf s
             ca.sc~in*chlcf in the matter of McKesson Dm,g Co:mpauy on October 30, 2007 in
             Arllngto~ Virginia..

                     If you travel s.nd appear .in this proceeding, you may be entitled to Government
             paid travel, lodging, and certain expenses, However, in order to w::wmplish this, the DEA
             mwrt issue you travel orders and must book your flight and lodging for you.. In addition,
             any m--imbursement of expenses must be accomplished by direct deposit to a designated
             acm:nmt of yours. In order to arrange this travel, please contact Ms. Deborah Jordan, DEA
             Office of Chief Counsel at (202) 307-3663.

                    You may elect to mange for travel on your O'Wn, subject to reimbursement.
             However, claims for travel and lodging will be limited to reimbursement for coach travel
             and local area lodging rates at whatever ceiling has been established by Federal travel
             regulations or contracts.

                    If you have any questions regaming the subpoena itself; you may have your
             counsel contact me at (202) 307w8131.


                                                 Sincerely,

                                                /¾.-~~
                                                 Wa~ck
                                                 Attonley
                                                 Dmg Bnforc::ement Administration




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                        MCKM D L00496457
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 153 of 220 PageID #: 72712

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     A person who rs required to file an lnformetkm return wlth                           terms of a t.ix treatv to reduta or eliminate U.S. tax on
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     U.S, person. U!!e Form W-9 only if you are a l.l,S. person                             If you are e U.S. taaldent: alien who is relying on an
     {lncludtng a r0&idant alien), to provide your correct TIN to the                     ei<oept!cin ccntalned In the saving c!auaa of a tax treaty m
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     or                                                                                   treaty um:lar whtch you claimed E!)l;emption from tax H a
      3. Claim Bxemp1Ion from i::11.:ickup 'oll!'thhc!dlng if you are a                   m:inresident eUen.
     U.S. exempt peyee,
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     tD Nqussr your TIN, you must u:si: tht1 requester's lr;rm if it ls                     3. The artll;:la number {or location) in the                 uix   treaty that
     substamiafJy :c!mllar ro mis Form w~Y,                                               cont•lrui1 thi!i $l!Vin9 clause and Its axe111f,lticn1,

     Foreign persrm. If y0u are a foreign person, use the
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                                  (see Pub. 515, Withholding of Tax on
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                                                                                           !:ii. Suffa::lent facts to juttify the l!ilXemptll:m from tax under
     l\h;inreah:lant Aiiani:; and Foreign E.ntl,iei.).                                    the terms of the treaw srt!cle.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                         MCKM D L00496458
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 154 of 220 PageID #: 72713

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      bample:      Article 20 of the IJ.S. •China Income tax treaty            Speclflc lns1:ruotions
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      excepth:m !under paragraph 2 of 'the f!rit protociol) and 15              If the acocurn:: la In Joint names, 11st flmt, and then elrc:le,
      relying on this exception to claim an examptioo from ta)t on            the nama of 'ffllfl person or entity wtiose mimber you entered
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      Form W-9 s statement that Includes the in!ormath:in
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     II lnstructlom1 en page 4 on details!, or                                  Generelly, Individuals (lncludlne sole 1:m>P.rietora) are not
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       3, The IRS tells the req1.uuner that vou fumillthoo              1m    m,m back. Wi'thholdlng      for certain payments, such as
     lm:::orrect TtN, or                                                      lnttrest am:l dividends.
       4, The lRS tells you that vou am subject to baclmi,                   N1m1: If ~11 ero exempt from backup wlt!lhotdJng, you shoufd
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     withholding. lf you make a false statement with no                      insffl.lmsntalltlll!ll'II.                        , •
     rea1n::inable l::1111sl: that re.iults In no backup withholding, you
     are aubJect to 11 @!SOO penalrv.                                         Other payees that          may      bit    exempt      from   backup
                                                                             withholding 1nc[ude:
     Crlmhtll!il  pen11lty  for faialfying infDffl'lllflfiDl'I. wmwny         a. A corporation;
     fill5lfy!ng certmcati0n11 or afflrmatiom; may &1.1!:ljeot you to
     crlm!nat penalties !nolud!ng fines end/or Imprisonment.                   7. A foreign s::emral bank of Issue;
     Mbus!ll of TINs.     If the requl!lnter discloses or uses TIii.is In      S. A dealer in securities or oommodltl'1-! regulred to registsr
     violation of   Federal law, the requester may be subject to olvll
     and crimlna! penalties.                                                 In thllll United Stetas, the Di1mlot of Columbia,
                                                                             poueaalon of the United Stirtes;
                                                                                                                                            ao,




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                  MCKM D L00496459
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 155 of 220 PageID #: 72714

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       l'orm W•II !1'1111. 1-200:IJ                                                                                                                         1"111ge 3
       9, A f1.1tt.!res commission merchant registered with the                                  Part I. THpayor Identification
      Commodity Futuras TMding Ccmmiesion;
                                                                                                 Nuw1ber (TIN)
         1Cl.A real esum, investment trust;
                                                                                                 Enter your TIN in the appropriate box. If v_!?U are a realdent
        11,An entity reiif!stered at all times· during the Utl< year                            aifllffl and you de nm have 11nd l!fe not eligible to 9st an
      under the Investment Company Aet of 194-0;                                                SSN 1 your TJN Is your IRS lndlvldu11! taxpev«r identlfo:::s11:lori
                                                                                                numoer UTlN). Enter h In tha sccla! Hcurl~ numbar box, If
        12.A common trust 1'untf operated by e bank under                                       you do not have en ITIN, see How to gut~ TIN bol0w.
      sectlon ISB4{al;
                                                                                                  ff ycu are .ll soh1 proy:ir)etar ai,d you have en EIN, you may
         1:3.A financial h'l&tltut!on;                                                          e.nrer elthar your SSN or EIN. However, the IRS prefers that
                                                                                                you U$1!!: your SSN,
        14.A middleman lr.110wn In the investment ai;;mmunh:y es a
      nomlnH or austm:llsn; or                                                                    If you are a ;Ingle-owner U.(l that Is dlsregarded as an
                                                                                                entltv sap1:1rata from Ile owner !aee Limited liebllity
        15.A trust exempt from                     tax    under section           664 or        company ILi.Ci or, page), enter your SSN fer EIN, lf you
      described in aeotlon 4947,                                                                hav, 0m1J, If the LL.C is e corporation, pan:nershlp, en::., ranter
                                                                                                1he entity's EIN.
       The chert below shows types of payments that may ba
      axempt from backup withholding. The chart applies to the                                  Note: See the r::h11rt on psgs 4 for funher clsrifir::arirm of
      exempt rnclp!ent~ listed ahova, 'I throush 15.                                            name and TIN cambinarltms.
                                                                                                How to get a TIN. If you do not have e TIN, apply fl:lr one
                                                  TI-IEN the payment ill 1111empt               lmmedhnelv. To apply for an S.SN', git Form $$·5
                                                  for •••                                       Appl!c:atlon for a Social Security Card, from your loctl Social
                                                                                                Securh:y Admlnlstratii:m offh:::n or 9e1: this form on•!ina lit
      Interest and dividend payments              Ail !lliempl rsnlplants 11xcept               www .saa.gov/onllnia/H!:Ultml. You mlii!v- also got thi11 form
                                                  for 9                                         b_y cD!llna 1-B00-77:!-1 :213, IJH F0l'ffl w~?. Application for
      Broker tran511ctlorni                       Exempt reciplsnm 1 through 13,                IRS Individual Taxpayer ldemlflcation Number, to apply for an
                                                  Also, 11 person rn11lst1m1d under             lilN, or Form SS4, Appllca'tlon for ernployar !dontmcatkm
                                                                                                Number, to apply far an .SIN. You c111ri get Forms W-7 and
                                                  the lnvesi,mam Adviaem Act of                 SS-4 from the          !RS by callln9         1·SOO-TA)M10RM
                                                  1940 Who regularly acts H                a    (1-B00-829-3676) ar from the fflS Web Site at www.ira.gi:w.
                                                  broker
      !!!emir exchange tran!lact!oris             Eitempt recipients 1 through 5                  If you are askod to complete Form W-9 but do not have a
     ani:l £111trcnaoe dividends
                                                                                                TIN, wr!m "Applied Far• In the space for the TIN, sign and
                                                                                                date the form, and give it ta thD requester, For Interest and
     P13yments over BfiOO raqufred                Genar111Uv, e¥'rnpt recipients                divid•nd paymenta, end certain payment& made with' rHpact
     to be reported end direct                    1 through i'                                  to readily tradmble lnt'!trumMts, generally you will hl!lva 60
     sales over $5,000 1                                                                        daya to set a TIN and give 1t to the requester before you are
                                                                                                suoJect to backup wlth!'loldlng 011 payments, The BO-dsy rule
      1 S111t  Rlrm 1DSS·MISC:. Ml!lalllliill'IIQl.1$ lrmome, !lf'ldl 115 lnSfflltliDl'l!l,     doH not apply to ether eypes of payments. You wm be
      2 Howewr, ~ followlfl!I payments l"fll!de '1t! 11                                         e.ubjeot to backup wtthhoh:llng on ell such paymern:s untli y01.1
                                                                       mtlon [lnelud!ng. gmsa   provide your TIN to tha requester.
     ptcc1111111d11, paid m an mom11y under 111111otlan sea.           even If we auorm1y rs
     s co1J1or111tlonl and t111:1ortobl111 en Farm 109                 am nm Hampi: from        Ncn:e: Wn'tlng "App/led For" means mar you lunte 1,1/ready
     baclrnp w~hold!ng; meu:lli:111 and health Cl!!"!! paynu,nu., atttim11y11,' fess;           11ppl/1;d for a TIN or rhar you lnrenri fO apply 'for Me saan,
     and payment, for s11111l1:1H by a FedBml e11eeu11\ie agency.
                                                                                                Caution: A disregarded drimestic ttntlt'/l that has s foreign
                                                                                                aw11er must use the appropriate Fmm W•B.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                MCKM D L00496460
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      Part II. Certlflcetion                                                         Whet Name and Number To Give the
                                                                                     Reque~n;er
                ta the wlthlu,!dlng agent that you are a U.S.
     To ee-tablfsh
     perMn, or resident sllen, .a!gn Form W-9, You may be
     requeated to sign by the withholding agent even If items 1, 3,
     and 5 below ini::lleirte otherwise.                                             'L lndlvfdlJfll                 .                   The lm:llvldUlll
       For e joint acco1,1n,;, only the person whose TIN Is shown in                 2. Two or mol'9 lndlvldu111le iji:i!nt               The ectual owner gf tile acccum
     Part I should sign (wheo required). Exempt reciplenta, see                                 account!                                 or, lf combined fw,ds, th@ flntt
     E:iuimpt from l:n.u:ikup wlthholdlng on Page 2.                                                                                     !ndi11ldu111 on the !!tcount1

     Slgnahlm mqa.drements.         Complete       the       carofication      as    3, Custodian atcaunt oi II minor                     The minor a
     lndlc.ited, In 1 through 5 below.                                                          1Unlfol'"1 Gift ta Minors Act!
                                                                                     4. a, Tlw usu&! revocsl:!le                         The gram0r•m,,1siee 1
       1. lnter&st, dividend. and bart:or o.1tchangl) acei:mnts                                   11a11lng111 trust lgranror Is
     opened l::utfum 1984 2md broker accounts cof!sidered                                         also t1Ulltl!8)
     active during 1983. You must give your correct: TIN, bur you
     dt! not have tc sign the cert!flcetion.                                                    b.So-caitad truat account                Th11 11atua! ownllilr 1
                                                                                                  that Is noc a legal or valid
       2.    Interest, divllilend, broker, and b1:11rter exchaoga                                 truS1 u!'ldsr stste low
               cpentd after 1983 and brokur accounts
     aci::01mt111                                                                    5. Sole pmprletamhlp or
     considered inactive during 1923, You must s!gri the                                        single-owner LLC
     cll!rtlfli::uation or backup withholding wlll apply.         11
                                                                are    '\IOU
     subject 10 bac:k1,1p wlthhcldlng and vou are merely provldrrig                                                                      Glva    Mllll'III   and SN of:
     your eotre-ot TIN to the mqoester, yau mus:t crm;; out item 2                   6. Sola pr0priatoN1hlP or
     ,n the oertif!cetlon heforll' signing the form.                                    ~ngle,owner LLC
       3.    R11u:1il   esta1e   transactions.   You        mm:t 11lgn the           7. A val!d truat, 1111tlilta, or                    Luga! ootity 4
     cmtlf!0atli:m. You may cross out ltem 2           ot   the csrtlf!catlon.          pe11slonmm
        4. Othtn paymenu. Vau must give your correct TIN, l:IIJ1                     s. Corpora1e or U.C elaetlng                        The ccrporatlan
     you do not have to slgn the certlfh:::u1:l1:m unless you have                      carporati, 1tarus on Form
     been notified that you h1rve 1:m,vioLis!y glven en iru:::orrect T!N,                   11832
     "Other payments~ Include pavmerm, l'fll!ldlll fn the courne of                 SI, Assotl!ltllll'!, club, rnllg!m.111               The crgnnizatlon
     ths requester's trade or l:!usinHs for rents, royeltil!l!$, goods                  ch1ritable, educiltianal, er
     (other then bills of men::hanals11:}, merlic1:1! end tu:ialth care                 othar ta)t'•l!IXBmp! organl:mtiari
     services (lm:lucling paymems to corporations}, paymanta to a
     nonemployee fur servh:ea, psym111nm to flertaln fls:hing boat                  10. Pa:tnershli:i or multf.rt1emller
     crew members 111ml fishermen, and groas i:mn::eads paid to                         LLC
     ll.ttomeys l!ncludlng payments to i:orporadons!.
                                                                                    11,A bmkllr or mgleterad
       5.    Mon1111ige Interest       paid   by you, ll'J(:ql.lisitlon or                  riominco
     abandonment of .1Jeeurad property, canoel!ation of d•l>t,                      12. Account with the Dep11nm11nt The pul:lllt entltY
     9.ualifled tuh:h::m program paymfllnts (um:lur aeetlcn 5291,                           cf At!!'h::ulture- In the raamo of
     IFIA or Arot,cr MSA contril:mtions or distril:n.itions, 111nd                          a pl.tb!lc sntity !such 11111 e
     pentilon distribution. Yau must give your correct TIN, but                             srute or lccel 90wmm11nt.
     you do nm: hlillV& to sign the certification.                                          11chool dlstrlut, 0r pri111011l that
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                                                                                     4 Liat fir~, imd cifi:lill 1111 l'IOll'iC of tho lui;i1I lrull, IJlltlllll!, Df p@mli:111 !fl.Jill, !Do
                                                                                    not 11.im!sh the TIN ut thii/•~alllil represcntanlltil or w1~• unlama the legal
                                                                                    tndty lts11tlf is not liul;in11111 in the 111tico11nt tl!ls,)
                                                                                    Noto: If na name f~ m'«:led whr:n ll'lc:tl"i!!' than one rtume Is
                                                                                    Jf.fred, rhe numbor Wfll be con11idemrJ tu be that of rbB fimt
                                                                                    mime fisted.



     Secth:m 6109 cf the Internal Ftevem.ie Code rllilqu!res you to provide your c1m1110t TIN to persons wha- must file infurmatlon rerums
     with the IRS to report Interest, dividends, and certain other income pald to you, mortgage lntera11,; you paid, the acqulsh:ran or
     ebaru!onmant of secuflf,lllj property, cancellation ot det.rt, or ocn'tl'lbutioos you mede m an !AA or Arclu1r MSP.. The IRS uses the
     numbers fat ldentlflcst!on purpcisH and to help vEtr!fy 1he accuracy of your t11:i1 return. Thn IRS rney 111!11:1 provh:le this tnforrnatlon
     to the Department cf Jueth.l!(! tor civil and criminal lltlgeth:m, and to {:!ties, stetel!!, and the District of Columbia to carry cur ttu.111lr
     u111 laws, We may 11ls0 disclose this iof@ft'l'latlon to omer cm.Jntril'lla under II tax trl!Sty, or to Feder11! and mete agenoies to enforce
     Federal nomaJ< crimlnel lows and to combat terroriam                                           ,
       You muat provide your llN wh11thar or not you ,111re required ta f!le e tax ratum. Payers muet generally withhold 30% of tei;able
     !m:erest, dlvldoM, and oertsln otheir payments to a payee who doa; not give III TIN m a payiar. Certain penalties may 111lso apply,




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                             MCKMDL00496461
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                                                   IJ.S. DEPARTMENT Olf.JUS'l'ICE • tli'!UG ENl'O!'Ct!Mt!NT ADMINISTRATIIJN



                            ffS COMMERCIAL VENDOR fU:CORD REQUEST                                                                       FORM
                                       (CCR) Registration Exempt
                                                                             !Flead !nstroetlone bef1:m1 completing!
      a,         CHANGE [!                               cm.EA.TE NEW U An approved source docmnent must be attached
                                                         Requests submitted without 11Umh a document will not be proceHed.
                        f ~.~~;\~ /~(, :~lfff'lf ~ ;: ~f ·~::~~·?~~:f}1 ..


                                                                                                                               Tax E1nm1pt? I i YES Ll 1110
                                                                                                                           illl,
                                                                                                                           If YES, a tiopv of Exempt Certlfieete
                                                                                                                           must ba attached Ul'llass th!! vendor la a
                                                                                                                           Govammeffl. EmlW O YES       n    NO
      t. City




                                                                                                 a, Zip Catie                          p, Ptu:me II




                                                                                                 r.    Account It




      Deborah A, Jordan
      V,    111111

      Administrative Support Speclelis1
                                                                                                                    y.   Date

      Chier Counsel




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                       MCKM D L00496462
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                                      !INSTRUCTIONS FOR COMPLETING FORM                            I
     A DEA Vendor Record must exist in order to process all obligations and paymerm1 for l~dividual and
     Commernial/Governmentai vendors except those where pure.hflse and payment is executed via use of a purohase
     care!. A properly completed form, containing the required Information, submitted by a DEA employee will be the
     basis for creating a Federal Frmmclal System (FFS) vendor record. The request form Is subject to Internal and
     external review.

    Who is 1:utt1mpt from CCR registration?
    Ammrding to the DFARS 204.7302 1 NASA, DoJ, Doi and Treasury FAR Supplemem:s 1::m:ispaetive both current and
    poten:t:ial government vendors are required 'to be registered in CCR to rsoaive payment on a prior contract or prior to
    the sward of a oomract; basic agreement, baste ordering a9reement, or blanket purnhase agreemem exceeding
    $2,500. Exempt from CCR registration am vendors whose basic agreement is below $2,f::iOO m,d do not use the
    i,iectronio ft.mas transfer (Ef11 method tor payment and am not required to be reported; Also exempt are purchases
    that {1} Use a Government wise commercial plm:::t:uase card as both the purchasing and payment meeh.1:mism; (2i
    Cfassifiad contracts; (3) Comracn:s awarded by-fl) Deployed 1.n:mtraeting officers in th1' c01.mie of military
    operations, including but not !!mired to, contingency operations as defined in 10 U.S,C. 10Hali1 SI or humanitarian
    or peacekeeping operath:ms as defined In 10 U.S.C. 2303'7): or {ii) Contracting offleeni in the eomh.1ct of emergency
    operatlons, such as responses to natural or envimnmental disaster& or national or clvll emergencies, 14), Contracts to
    support unmn.rn! or oompemng needs: (!SJ Awards made to foreign vendors for work perform1:1d outside the United
    StMes, lf It fmpraotlcal to obtain CCR reglatrathm; {6} Miero-pun::hases that do not use the electnrn!o funrfo
    transfer (EFT} method for payment and are not required to be reported; and        en
                                                                                      cxpen: witness and lltlgatlve
    con$ultants who refuse to register as a cond!tfon for providing their servh:::es.

    11.1.    Check whether this i.s a change ar cnu:1tlon of a new vendor code. If it Is for s new vendor, an approved source
             documem: must be attached or the form wm not be processed. Proper su::iurce documenta .are listed !11 the FFS
             Finanolal Handbook, section 5.4 Obligation Ch::icuments.
    b. E!"lter the name of the e0mp1:my/agiancy under contract or performing business with OEA
    c. An I.R.S. form W-9, Request for Taxpayer Identification Number and Cert!fieatlon, completed by ma ventfor
       '!lust be attaehmd for aU !JS vendors urdess they a~e a government entity. w-s forms are not required for
             Foreign vendcus.
    d. Remit to address of the vendor If different from th@ mcldress on the W-9 form, otherwise put NIA.
    e. If the vendor is rnx exempt a copy of the e:xempt eertif!eate must be attached unless me vendor is      1:1   government
       entity. Also oheck if the v1:mdor is a government entity or mn:.
    f. The city of the vendor's remit to 111:lclress; otherwise put N/A.
    g. The state ot the vendor's rnmlt to address; otherwise put N/A,
    h. The zip coda of the 111:mdor's remit to address; oth1mMite put N/A,
    I. Name of the contact person at the vem:lor's place of l:n.rsiness for DEA to contact.
    J. Fm In the phone number of         me
                                        vern:ior's contact person.
    k. Enter the DEA Employee's name and phone tmmber responsihla for supervislng th!.s DEA vendor.
    I. Print 'the neme of the vendor's financial lnstltutlonlbank.
    m. Prim the clty of the vendor's bank.
    n. Print the state of the vendor's bsnlt.
    o. Print the zip cede of the vendor's bank's address.
    p. Print the phone number of the vendor's bank.
    q. Enter the nine dlg!t routing transit of the vendor's bank.
    r. Enter the aocount number In the vendor'i bank for which the vendor Wi!lhe.s Piiavmams deposited,
    s. Enter the type of eccourrt for the associated account number you listed ..
    t. Print the Ml name of the vel"!dor record requester.
    u. The vendor record requester must sign their name using hfs/her official signature.
    v. Print the title of the vendor record requester.
    w. Enter the phl:me number ct the vendor record requester.
    x. Enter the OEA ofifo.e organization code cf the vsncior record raquastar.
    v. Enter the date on which the vendor reet:m:l requester signed the form.


     FORM DEA-1378 lns1rucilana 100-04) PtrMoufJ edltkm:; cbsol!affl




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                 MCKM D L00496463
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                                                        U.S. Department of Justice
                                                            Drug Enforcement Admin.istratkm
                                                                 Office of Chief Counsel


              www.dea.gov                                      Washington, D.C. 20537

                                                               October 25i 2007

             Hm:mrable Mary BHen Bittner
             DEA
             Office of Administrative Law Judges
             Washington, D.C. 20537

             Re: In the Matter of McKesson Corporation, DEA Docket No. 06-66


             To the Honorable Judge Bittner:

                    The Govemn:umt requests that a subpoena be issued to compel the appeara:nce and
             testimony of the following witness at Arlington, Virginia (estimated .for October 30,
             2007) and be tendered to the Government for appropriate service,


                   Michael Mapes
                   9323 Hallsmn Court
                   Fairfax Station, Virginia 22039




                   cc: John A. Gilbert, Jr., ,Esq.
                       F: (202) 737~9329




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM D L00496464
                                                                                                       P-00016_00159
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                                                                 United Stnth~ .IJcpartment of ,Justice

                                                                   Drug Enforcement Administration
                                                                   Office of Administn1tiH: La» Judges
                                                                   Washington. D.C. 20537
                                                                   (202) 307-8 l 88


                                                                                      October 25, 2007
              Wayne Patrick, Esq.
              Office of Chief Counsel
              Drug Enforcement Administration
              Washington, D.C. 20537

                     Re: In lhe Matter of McKesson Corporation dlb/a AfcKesson Drug Company
                                                 Docket No, 06-66

              Dear Mr. Patrick:

                    On October 25, 2007, you filed a request for a subpoena in the above~referenccd
              mattere A subpoena for the following individual is enclosed.

                                  Michael Mapes
                                  9323 Ballston Court
                                  Fairfax, Virginia 22039

                    If you have any questions or need additional information, please contact my !mv
              clerk, Thomas 'Skip' Mark, at (202} 307-8188.

                                                              Sincerely,

                                                             7Ju~            ~17       $U~v
                                                             Mary E11Zittner
                                                             Administrative Law Judge




             cc: John A Gilbert, Jr., Esq. (w/o enclosure)




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00496465
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                                                                  Drug Enforcement Administratio:o




             www.dea,gov
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                                                                FAX TRA.NSMIT1' AL

             John A. Gilbert, Jr.
             Hyman, .Phelps, and McNamara PC
             700 Thh:teenth Street, N.W.
             Suite 1200
             Washingto~ D.C. 20005

            Dear Mr. Gilbert:

                 In furtherance of our settlement discussions, the Drug Enforcement Administration (DEA) has
            authorized me to extend the following offer to the McKesson Corporation (McKesson) to resolve
            cert.am pending and potential administrative and civil actions against McKesson. Although the
            specific language of any agreement must be put into a binding written agreement, the key terms of
            such a settlement from DE.A's perspective am as follows:

               1. McKesson must pa.y civil fines fur failing to report suspicious orders in acc:on:lance with
            21 C.RR. § 1301.74(b) as fallows:

                    A. In the Middle District of Florida, McKesson :m:ust pay $12.8 million;

                    B. In tbe District of Maryland, McKesson must pay $2.4 million; and

                    C. In the Southern District of Texas, McKesson mu.st pay $2.4 million.

            Final approval from the appropriate United Stares Attomeys• Offices must be obtwned prior to
            finalizing the proposed civiJ fine settlement. DEA fully supports settlement at the proposed levels
            and anticipates final approval from the United States Attorneys' Offices.

               2. In the .&stem District of CaU:fumia, McKesson must pay $280,000 for mling to report thefts
            and signfficantlosses in accordance vvith 21 C.F.R. § 130l.74(c).

                3, McKesson must enter a national Memorandum. of Agreement (MOA) covering a.11 registered
            distribution centers O''Nned or ope.rated by McKesson,. including those that may be acquired or
            registered in the future. The MOA's key terms are as follows:

                    A. McKesson must agree to a suspension of its Schedule m b.ydrocodonc codes in the
                       Lakeland i:md Conroe distribution centers for a. period of not less trum six months. These
                       drug codes will be restored upon McKesson's implementation of all other require.ments
                       set forth in the national MOA, and upon passing rm inspection by DEA. If McKesson




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM D L00496466
                                                                                                                P-00016_00161
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 162 of 220 PageID #: 72721

                                                                                                      PAGE    02/03




                    fails to implement all requirements of the MOA or fails to pass DEA's inspections, DEA
                    will notify McKesson in writing of the deficiencies and will extend the suspensions.

                B. Mc:K.esson must agree to implement a s}IBtem that reports to DEA via Electronic Data
                   Interol:m.nge the dismbuticms of all controlled substances and all ephedrine and
                   pseudoephedrine producis. Reports :m:ust be made to DEA within two business days of
                   the distribution,

                C. McKesson must ape to infonn DEA of all suspicious orders of controlled substances as
                   required by 21 C.F.R § l30l.74(b)f excapt that McKesson must make sucb reports to
                   DEA Headqum:tm in a. format that is mutually and reasonably agreed upon by the
                    Parties.

                D. McKesson mu.st acknowledge that my ~ s or implied approval by DEA of a.
                   ,m.1spic:ious order reporting system that permits McKesson to provide a monthly
                   ueicessive purchase report'' is rescinded, and that such a system does not comply with
                   21 C.F.R. § 1301.74(b).

                E. McKesson must agree that it   wm not fill a suspicious order unless and until a McKesson
                   employee deter.min.es that, notwithstanding the suspicious nature of the order, the order is
                   indeed for a legitimate pm-pose and not ]ikely to be diverted.

                F. McKesson must agree to submit to irulpections by DE.A for the pmpose of deter:mmmg
                   compliance with the MOA. Inspections wm occur not sooner than 90 days after the
                   execution of the MO.A rmd not later than 150 days after the execution oft.he MOA. DEA
                   will inspect the La.Ireland, Florida and Conroe, Tex.as facilities, and up to six additional
                   fiu:::ilities. McKesson must agree to one additional inspection of its I..akeland and Conroe
                   facilities after the bydrocodone drug codes are restored. These inspections shall occur
                   within 180 days after the hydrocodone codes are restored, This provision shall in no way
                   limit the authority of DEA to conduct mspecticm.s or engage in other authorized
                   regwatozy ia.w enforcement activities at or with respect to :any of McKesson's registered
                   locations,

                G. McKesson must agree to review its past dislnlmtions of hydrocodone and alprazolam and
                   conduct investigations of any mm:oot customers that have placed 1:mspicfous omers fot
                   hydrocodone :md alpruolam within the preceding 24 :months,

                H. DEA will agrae that: it will not punrnc my administrative action agaimt any McKesson
                   distribution cen~ for distdl:mtioos of hydrocodone or alprazolw;n that occ:~d prior to
                   the execution o:ftbe agreement.

                L DEA   wm agree that it will not refer to any United States Attomey•s Office a case in
                   pursuit of a. civil fine a.gmnst any McKesson distn.1:nrtion center based upon distril:mtions
                   of hydrocodone or alprazolam that occurred prior to the ex.ccution of the agreement other




                                                                                                 MCKM D L00496467
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                           P-00016_00162
    Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 163 of 220 PageID #: 72722

                                                               OFC OF CC (CCD·f''1R)                      PAGE     03/03
   1,6/25/2067   12: 20




                          tlum the &es set forth in paragraph 1 above. Note that the :fine in paragraph 2 is not
                          based on distributions of hydrocodone or alprazolam.

                . If:you believe that this letter does not comport with our discussion on October 25, 2007,
            please contact me. This offer sba1l rffllam effective until October .26, 2007 at 5:00 p.m, Eastern
            Daylight Time or unless withdrawn in writing by DEA.

                                                            Sincerely,

                                                           ~ ✓L~_
                                                            D. Linden Barber
                                                            Associate Chief Counsel
                                                            Diversion and Regulatory Litigation Section




                                                                                                       MCKM D L00496468
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                                   P-00016_00163
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 164 of 220 PageID #: 72723




                                                                          U.S. Department of Justice
                                                                           Drug Enforcement Administration
                                                                                                                     1
                                                                                 Office of Chief Counsel
                                                                                 8701 Morrisette Drive
                                                                                 Springfield, VA 22152

              www.dea.gov
                                                                                              November 1, 2007

              Honorable Mary Ellen Bittner
              Office of Administrative Law Judges
              Washington, DC 20537

              Re: In the Matter of McKesson Drug Company, DEA Docket No, 06~66


                      The parties request that the Office of Administrative Law Judges tender to the
              parties a copy of the official transcript taken in this matter on October 30~3 l, 2007 as
              soon as it is available. I have spoken with counsel for Respondent, and he joins in this
              request.




                                                            Respectfully,                       .
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                                                            i\,l{ ayne Patrick
                                                             Attorney
                                                             Drug Enforcement Administration




              Cc: John Gilbert, Jr., Esq.
                  Hyrnan, Phelps & McNamara
                     700 Thirteenth Street, NW
                     Washington DC 20005




              1
                  Pkuse note new address for regulnr mail and express delivery mail to DEt\ HQS offices,




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKM DL00496469
                                                                                                                               P-00016_00164
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 165 of 220 PageID #: 72724



                                                                  United States Department of Justice

                                                                    Drug Enforcement Adminislration
                                                                    Office of Administrative Law Judges
                                                                   Washington. D.C 20537
                                                                   (202} 307-8188


                                                                   November 7, 2007

             John A. Gilbert, Jr., Esq.
             Hyman, Phelps & McNamara. P.C.
             700 Thirteenth Street, N. W., Suite 1200
             Washington, D.C. 20005


                    Re: in the lvfauer of}vkKesson Corporation d/b/a McKesson Drug Company
                                                 Docket No. 06-66

             Dear Counsel:

                     As you know, the hearing in this proceeding Vlill be held at the Drug Enforcement
             Administration's (DEA) headquarters. The Office of Security Programs requires a list of
             all individuals attending the hearing other than DEA employees.

                     Please notify this office of all persons attending the hearing by 4:00 p.m. eastern
             standard time on Tuesday, November l3, 2007. Please direct your response to the
             Hearing Clerk, Ms. Helen Farmer, and provide the individuals' full name and date of
             birth. Your prompt attention to this matter is greatly appreciated,

                   If you have any additional questions or concerns, please contact me at (202) 307-
            8188. Thank you for your cooperation.


                                                           Respectfully,
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                                                           Law Clerk to M!lry Ellen Bittner
                                                           Administrative Law Judge


            cc:     Wayne M. Patrick, Esq,, Office of Chief Counsel
                    Helen Farmer, Office of Administrative Law Judges




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
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    Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 166 of 220 PageID #: 72725

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                                                                United     Stai:s Department of Justice
                                                                  Drug Enforcement Administration
                                                                  Office of Administrative Law Judges
                                                                  Washington, D.C, 2053 7
                                                                  (202) 307-8 ! 88


                                                               November 7, 2007


            Wayne M. Patrick, Esq.
            Office of Chief Counsel
            Drug Enforcement Administration
            Washington, D.C. 20537

            John A Gilbert, Jr., Esq.
            Hyman, Phelps & McNamara, P.C.
            700 Thirteenth Street, N.W., Suite 1200
            Washington, D.C. 20005


                  Re: in the Matter ofMcKesson Corporation dlb/a McKesson Drug Company
                                               Docket No. 06-66

            Dear Counsel:

                  At Judge Bittner's direction, I am \vriting to advise you that the hearing scheduled
           to begin at 9:30 a.m. on November 27, 2007, will be held in the hearing room at the Drug
           Enforcement Administration's headquarters, 600 Army Navy Drive, Arlington, Vkginia
           22202. This session of the hearing is: scheduled to last for three days.

                   You are reminded to meet the faw clerk at 9:00 a.m. on the first day of the hearing
           to have exhibits marked, Please bring an extra set of exhibits for the judge, and make
           certain that witnesses are available to testify without delay.

                  If you have any additional questions or concerns, please contact me at
           (202) 307~8188,

                                                        RespectfuHy,
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                                                        TI10mas "Skip' Mark
                                                        Law Clerk to Mary Ellen Bittner
                                                        Administrative Law Judge




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                             P-00016_00166
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 167 of 220 PageID #: 72726




                                             HYMAN PHELPS & MCNAMARA,, P.C,
                                                     700 THIRTEENTH STllf:CT. NW

                                                              SUITE 1200
                                                    WASHINGTON. D, C.   :eoocs,se,rn,
                                                            !.?Oll 737•5!$00




                                                      November 19, 2007

           BY FACSIMILE/CONFIRMATION COPY BY MAIL

          Linden Barber, Esq.
          Chief, Regulatory Section
          Office of Chief Counsel
          Drug Enforcement Administration
          600 Army/Navy Drive
          Arlington, Virginia 22202

          Dear Mr. Barber:
                   This will confirm our telephone conversation on Friday, November 16, 2007, on the
          proposed settlement of the pending Drug Enforcement Administration (DEA)
          administrative and civil actions against several McKesson Corporation (McKesson)
          facilities. McKesson has agreed to the govemrnent's demand to pay a civil penalty in the
          amount of $13 .25 ml!Iion and enter a settlement agreement with DEA. This offer is
          contingent on parties finalizing the settlement agreement.

                 The payment of the fine and settlement agreement will involve a global settlement
          covering all McKesson facilities, including but not limited to, the matters identified at
          McKesson's facilities in Lakeland, Florida; Landover, Maryland; Conroe, Texas; West
          Sacramento, California; and the potential allegation against one of our facilities you
          mentioned in our telephone conversation,




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                               MCKMDL00496472
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 168 of 220 PageID #: 72727



           Linden Barber, Esq.                                HYMAN_, ~ELPS      ~ McNAMARA,. P.C
           November 19, 2007
           Page 2


                  1 also understand that the parties wm move the Administrative Law Judge (ALJ) to
           stay the administrative hearing currently pending before DEA, DEA Docket No. 06~66,
           with the intent to terminate the proceedings upon entering a final settlement agreement.

                 Please let me know as soon as possible if you disagree with any part of this
           summary.




          cc:    Ina Trugman, McKesson Corporation




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                  MCKMDL00496473
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 169 of 220 PageID #: 72728



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          THOMAS SCARltTT                                            H!O!!l 737•5600
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          JITFPEY N GBS!lS                                               !'ACSIMILt                           ANNE MARI£ MURPHY
          !lfl!AN -'· DONATO                                         •~O!!I 7::17 • .,3~s.,                   PAUL L,. !'"El'lRAl'II
          FRANK ,.<, SASINOWSK!                                                                               LARRY it HOIJCI(
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          A, Wis'.$ SIEGNtR, JR.                                                                              Kt,J!<'T RI\ARS'T
          ALAN M Ki!'!SCHENSAIJM                                                                              CHRISTIN!s'. P. lilUMf>
          OOUGLAS !l. FARQUHAR                                                                                16fUAN J. Wl::$01.0SI\I
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          TeL No.: (202) 737-5600                                                                     Fax No.: (202) 737-9329



          FROM:                                 John Gilbert                                  DATE:        November 19, 2007

          TO:                                   Linden Barber                                 FAX NO.:     (202) 307-4946
          NO. OF PAGES (including this page) :




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                      MCKMDL00496474
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 170 of 220 PageID #: 72729




                                UNITED STATES DEPARTMENT OF JUSTICE
                                     Drug Enforcement Administration



             In the Matter of

                    McKesson Corporation                           Docket No. 08-14
                    d/b/a McKesson Drug Company



                                                       ORDER

                    On November 20, 2007, counsel for Respondent flied a request for hearing in the
             above-captioned matter and, in accordance with a November 19, 2007 telephonic
            conference with counsel for both parties, requested an indefinite stay of the proceedings
            pending a. settlement of this matter.
                    In light of the position of the parties to this matter, Respondent's request for a stay
            is granted, and it is hereby
                    ORDERED that the proceedings in this matter will.remain stayed until
            March l 0, 2008, Counsel for both parties shall participate in a status conference call at
            10:00 a,m, on December 17, 2007, apprising me ofthe progress of settlement
            negotiations,
            Dated: November 23, 2007



                                                                  Mary Hen Bittner
                                                                  Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKMDL00496475
                                                                                                              P-00016_00170
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 171 of 220 PageID #: 72730




                                            CERTIFICATE OF SERVICE

                     This is to certify that the undersigned, on November 23, 2007, caused a copy of
             the foregoing to be delivered via interoffice mall to counsel for the Government,
             Wayne M, Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
             Washington, D.C 20537, and a copy to be mailed, postage paid, to counsel for
             Respondent, John A Gilbert, Jr,, Esq., Hyman, Phelps & McNamara, P.C, 700
             Thirteenth Street, N.W., Suite !200, Washington, D.C, 20005,

                                                         ~~           z:~µ;£
                                                         Thomas 'Skip' Mark
                                                         Law Clerk to Mary Ellen Bittner
                                                         Administrative Law Judge




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                       P-00016_00171
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 172 of 220 PageID #: 72731




                                 UNITED STATES DEPARTMENT OF JUSTICE
                                      Drug Enforcement Administration



             In, the Matter of

                     McKesson Corporation
                     d/b/a McKesson Drug Company



                                                         ORDER

                     On November 19, 2007, I held a telephonic conference with counsel for both
             parties to the above-captioned matter. In that conference, counsel advised me that the
             parties were currently engaged in settlement negotiations, and requested a stay of the
             proceedings so that they can pursue a settlement
                     In light of the position of the parties the parties' request for a stay is granted, and
             it is hereby
                     ORDERED that the hearing scheduled for November 27-29, 2007, is canceUed,
            and it is further
                     ORDERED that the proceedings in this matter will remain stayed until
            Murch l 0, 2008. Counsel for both parties shall participate in a status conforence call at
             10:00 a,m, on December 17, 2007, apprising me of the progress of settlement
            negotiations,
            Dated; November 23, 2007




                                                                    Administrative Law Judge




                                                                                                      MCKMDL00496477
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                               P-00016_00172
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 173 of 220 PageID #: 72732

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                                                              U. S. Depart~~t of Justice
                                                              Drug Enforcement Administration




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           John A. GUbert, Jr,                                        FAX TRANSMITTAL                                l•l>flfflO<lt""
           Hyman, Phelps, and McNamara PC
           700 Thi.rteenth Street, N. W.
                                                                 To   vCI-MJ         61t.J5,£ P..7   f'mmL,A)l>£,,U             B~z:.
                                                                 Pl8pt.lAA1111q>                     l'lWl'tlt I
           Suite 1:200
           Washington, D.C. 20005

           Dear Mr. Gilbert:

                  I received your letter dated November 19~ 2007. I agree that the Drug Bnfcm::emcnt
           Administration (DEA) and McKesson Corporation (McKesso:a) should jointly seek a stay of the
           administrative proceedings involving McKesson 1s Lakcla.n4, Florida Distribution Center while we
           attempt to finalize the tentative agreement that we have reached.

                   I generally a:gree with the propositions set forth in your letter. However, I note that the new
           matter m.volving a fifth McKesson Distribution Center that I discussed with you on November 16,
           2007, is notnecessa.rllyinc:luded in the terms of the proposed settlement. I am working with the
           DEA Field Division that is investigating the m.atter to detemrine the nature and scope of DEA' s
           cancems. I have received infomi.ation that the p.reliminazy investigation revealed concerns about
           McKesson's distribution of a wide variety of controlled. substances including hydrocorlone,
           metha.dom:::, and oxycodone. The distn1niti.ona were made to an. entity that engaged in diversion
           unrelated to Internet diversion schemes or purported ''pain management'' clinics and phammcies. As
           l indicated in our telephone cm.1vmation, DEA cannot commit to resolving this case as pm of the
           global settlement without obtaining additional fr1formatio.n,

                    Also, your Jetter did not refer to the additional demand that DEA made in its counter-offer
           re-.quiring McKesson to forego distribution of alprazoJam from it Conroe, Texas and Lakeland,
           Florida Distnl:nmon Centm. If McKesson understands the tem:l.8 of DBA's offer ruld believes that a
           settlement can be reached, a stay of the proceedings is appropriate. I understand that the uncertainty
           regarding the fifth McKesson facility must be :resolved before the parties can finalize a settlement.




                                                        D. Linden Barber
                                                        Associate Chief Counsel
                                                        Diversion and Regulatory Litigation Section




                                                                                                                   MCKMDL00496478
CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER
                                                                                                                                P-00016_00173
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 174 of 220 PageID #: 72733




                               UNITED STATES DEPARTMENT OF JUSTICE
                                        Drug Enforcement Administration




                   McKesson Corporation                            Docket No. 06-66
                   d/b/a McKesson Drug Company



                                           MEMOAANDIJM TO COUNSEL

                   On December 17, 2007, ! held a telephonic conference with cmmsd for both
            parties to discuss the progress of settlement negotiations in the above-captioned matter.
            In that conference, counsel advised me that the parties were still engaged in settlement
            negotiations, but had reached fill agreement in principle. In light of the progress of
            negotiations, I scheduled a second telephonic status conference fur January l 4, 2008 at
            l 0:00 a.m. eastern standard time, unless the parties reach a settlement prior to this date.
            Dated: December 17, 2007




                                                                   Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL004964 79
                                                                                                           P-00016_00174
      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 175 of 220 PageID #: 72734




                                              CERTEFICATE OF SERVICE
                      Thls is to certify that 1he undersigned, on December ] 7, 2007, caused a copy of
              the foregoing to be delivered via interoffice mail to counsel for the Government,
              Wayne M, Patrick, Esq .• Office of Chief Counsel, Drug Enforcement Administration,
              Washington, D.C. 20537, and a copy to be mailed, postage paid, to counsel for
              Respondent, John A Gilbert, Jr., Esq., Hyman, Phelps & McNamara, P.C, 700
              Thirteenth Street, N. W., Suite 1200, Washington, D.C. 20005,

                                                             ~             <':~~~
                                                           Thomas "Skip' Mark
                                                           Law Clerk to Mary Ellen Bittner
                                                           Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                       MCKM DL00496480
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 176 of 220 PageID #: 72735




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           Tel. No.: (202) 737-5600                                                                            Fax No.: (202) 737-9329



           FROM:                                 John Gilbert                                          DATE:        March 7, 2-008

           TO:                                   Linden Barber                                         FAX NO.:     (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                            MCKM D L00496481
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 177 of 220 PageID #: 72736


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       TeL No.: (202) 737-5600                                                                        Fax No.: (202) 737-9329



       FROM:                           John Gilbert                                           DATE:        March 7, 2008


       TO:                             Honorable Mary Ellen Bittner                           FAX NO.:     (202) 307-8198
                                       Wayne Patrick                                                       (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                 MCKM D L00496482
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      Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 178 of 220 PageID #: 72737

                                                             U.S.DeparimentofJustlce
                                                              Drug Enforcement Adm.inistration




           ~.dea.gov                                          Washington, D.C. 20537




           Mr. John A. Gilbert, Jr.
           Hyman, Phelps &. McNamara, P.C.
           7100 Thirteenth Street N.W.
           Washington, D.C. 20005-5929

           Dear Mr. Gilbert:

                  I am writing to confirm our telephone conversation ofMa.y 1, 2008. In order to finalize the
           Settlement Agreement between the United States and McKesson Corporation ('~cKesson"), we
           agreed to make {and I made) the following changes to the SettJement Agreement ("Agreement',:

              1. On the first line of the first paragraph of the Agreement, I inserted "3011,,~ in to the blank to
              indicate that the Parties entered into the Agreement on April 30, 2008, when Mr. Donald Walker
              was the last representative of a Party to sign the Agreement

              2. In paragraph 17, I replaced ..April" with ''May' to reflect that administrative Memorandum of
              Agreement ('~OA") between the Drug Enforcement Administration (°DEA") and McKesson
              wm be finalized in May rather than April. We further agree that upon DEA's execution of the
              MOA. I will insert the date of the MOA into the blank in paragraph 17.

              3. fu paragraph 22 1 I struck one occurrence of the word •'this•' as the word erroneously appeared
              twice in sm:::cessio:n.

           In order to finalize the MOA, we agreed to make (and I made) the foilowing changes to the MOA:

              L On the second line ofthe first paragraph oft.he MOA, I replaced "'April° with "May" to
              reflect that MOA between DEA and McKesson wm be finalized in May rather than April.

              2. On the copy of page 10 that has been executed by McKesson's representatives, I replaced
              ''AprW' with ..May" in the datelines beneath the signature blocks for DEA's representatives.

                  By my signature on this letter, 1 warrant tbat I am authorized by the six United States
           Attomets Offices who executed the Agreement to make the changes that are: set forth above to the
           Agreement I further warrant that I am authorized by DEA to make the changes that are set forth
           above to the MOA. Tbe modified Agreement and MOA wm be the final and binding Agreement
           andMOA.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKM D L00496483
                                                                                                           P-00016_00178
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                   In order to affix the signature pages to Agreement and MOA as modified in accordance with
          this letter, I require your consent and representation that you are authorized by your client to make
          these technical modifications. Please counter-sign tins letter and return to me by email at your
          earliest convenience.

                                                               Sincerely.



                                                               D. Linden Barber
                                                               Associate Chief Counsel
                                                               Diversion & Regulatory Litigation Section


                    On behalf of McKesson, I consent to the technical changes described in the letter above that
          are being made to the Agreement and the MOA to which McKesson is a party. I am authorized by
          McKesson to consent to these changes. The modified Agreement and MOA wm be the final and
          birn::iing Agreement and MOA.                   ..
                                                             / ~",
                                                         ,:·    \.




                                                                              .. Jr.
                                                                                   McNamara, P.C.
                                                                                 esson Corporation

                                                               Dated: May   _J_, 2008




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                         MCKM D L00496484
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                     Ol{!JLRH) that the prrn.:.:cdings ln both of the abmr:-captirnwd matters will
          n.:main stayed inch:finilr:ly, If the parties !mvc not sealed lh1..:sc matters prior to
          April 7. 2008, my attorney advisor wi!l comm.:l counsel for the respective partit:s to
          st:heJuk ~, st;:Hus confon:nce.
          DatcJ: rvlan:h 7, 2008

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                         UNITED STATES DEPARTMENT OF JUSTICE
                              Drug Enforcement Administration




      In The Matter of                           )
                                                 }
        McKesson Corporation                     )                     Docket Nos. 06-66 and
      d/b/a McKesson Drug Company                 )                    08-14




                             CONSENT MOTION TO STAY
                     ADMINISTRATIVE HEARING AND PROCEEDINGS

             ?vkKesson Corporation (Respondent), by and through the undersigned counsel,.

      files this Consent Motion to indefinitely stay the administrative hearing in Docket No.

      06-66 and stay further proceedings in Docket No. 08-14.

             In support of the Consent Motion, McKesson asserts the following:

             l, The Government and Respondent have reached an agreement in principle to

      resolve both of the above captioned matters. The parties are continuing to negotiate the

      terms of the settlement in both matters.

             2. The Government and Respondent have discussed this matter and both parties

      mutually desire to request an indefinite stay of the matters to allow time to finalize the

      settlement agreement in these matters.

             3. The Government and Respondent request that the ALJ schedule a telephonic

      status conference within 30 days.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                 MCKM DL00496487
                                                                                                   P-00016_00182
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            Wherefore, the Government and Respondent request that the AdmiRistrative Law

      Judge cancel the hearing in Docket No. 06-66 scheduled to commence on March 10,

      2008, and stay further proceedings in Docket Nos. 06-66 and 08-14,




                                                 -- Respectfully submitted,




                                                    John A. ilbert r.
                                                    Hyman, P e ps & McNamara PC
                                                    700 Thirteenth Street, N. W.
                                                    Washington, D.C, 20005
                                                    (202) 737-5600
                                                    (202) 737-9329 (Fax)

                                                    Counsel for McKesson Corporation

      Dated: March 7, 2008




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                       MCKM DL00496488
                                                                                        P-00016_00183
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 184 of 220 PageID #: 72743



                                    CERTIFICATE OF SERVICE

                This is to certify that the undersigned, on March 7, 2008, caused a copy of the
        foregoing to be delivered by facsimile \¥1th a confirmation copy by hand delivery to The
        Honorable Mary Ellen Bittner U.S- Department of Justice, Drug Enforcement
        Administration, 600 Anny Navy Drive, Arlington, Virginia, 22202, and copies to be
        delivered by facsimile and regular mail to:


                                     Wayne Patrick
                                     Diversion and Regulatory Litigation Section
                                     Office of Chief Counsel
                                     Drug Enforcement Administration
                                     600 Army-Navy Drive
                                     Arlington, Virginia 22202

                                     D. Linden Barber
                                     Chief, Regulatory Section
                                     Office of Chief Counsel
                                     Drug Enforcement Administration
                                     600 Army/Navy Drive
                                     Arlington, Virginia 22202




                                                  ~~'""'c\LL
                                                    Kathleen McKinley                   "-




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                     MCKM DL00496489
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                         MCKM D L00496492
                                                                                                                                                                                                                                  P-00016_00187
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                              SETI1.,Ef'\IIBNT AND RELEASE AGREE!\>fENT
                                                   AND
                          A.DMlNISTRATfVE 1\,fEl\-iORANDUM OF AGREEI\'ffiNT

                TI1is Settlement and Release Agreement and Administrative Memorandum of Agreement
         ('"Agreement'') is entered into on this~ day of May 2008, by and between the United States
         Department of Justice, Drug Enforcement Administration (hereinafter ''DEA") and McKesson
         Corporation including facilities doing business as McKesson Pharmaceutical and McKesson
         Drug Company (hereinafter "McKesson") (each a "Party" and collectively the ".Parties..}.

                                                 APPLICABILITY

                  This Agreement shall be applicabfe to McKesson and all McKesson DEA registered
         facilities as identified in Appendix A.

                                                  BACKGROU!\1)

                WHEREAS, on August 4, 2006, DEA, by its Deputy ..\ssistant Administrator. Joseph T.
         Rannazzisi, issued an Order to Show Cause ("Order #I") to McKesson. with respect to !ts
         Lakeland distribution center located at 1515 West Bella Vista Street, Lakeland, Florida 33805
         (the "Lakeland Facility"); and

                 VlHEREAS, Order # I alleged, among other things; that McKesson failed to maintain
         effective controls at the Lakeland Facility against diversion of particular controlled substances
         into other than legitimate medical, scientific and industrial channels by sales to certain customers
         of McKesson; and

              \VHEREAS, after service of Order# I on McKesson; representatives of DEA and
         McKesson entered into discussions on how best to resolve the issues raised in the Order; and

                 \VHER.EAS, on November l, 2007, DEA, by its Deputy Assistant Administrator, Joseph
         T. Rnnnaz:zisi, issued a second Order to Show Cause to McKesson ("Order #2," and "Orders"
         when jointly referring to Order# i and Order #2). \Vith respect to its Landover distribution center
         located at 772 J Polk Street, Landover, Maryland, 20785 (the "Landover Facility"); and

                 WHEREAS, Order #2 alleged, among other things, that McKesson failed to maintain
         effective controls at the Landover Facility against diversion of particular controlled substances
         into other than legitimate medical, scientific and industrial channels by sales to certain customers
         of McKesson; and

                 WHEREAS, DEA alleges that McKesson failed to maintain effective controls at !ts
         Con.roe, Texas distribution center (the ··Conroe Fadlity") against diversion of particular
         controlled substances into other than legitimate medical, scientific and industrial channels by
         sales to certain customers of McKesson; and




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL00496493
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                 WHEREAS, DEA al!egcs that McKesson failed to maintain effective controls at its
         Denver, Colorado distribution center (the "Denver Facility") against diversion of particular
         controlled substances into other than legitimate medical, scientific and industrial channels by
         sales to certain customers of McKesson; and

                  WHEREAS, DEA alleges !.hat McKesson has foiled to report suspicious orders of
         c:ontro!led substances and to report thefts or significant losses of c:ontroUed :substances as more
         fully set forth in Appendix B. Paragraph 8 as required by 21 C.F.K 130L74(b); and

                WHEREAS. McKesson is registered ·with DEA at 39 facilities as distributors of Schedule
         H-V controlled substances under the provisions oft.he Comprehensive Drug Abuse Prevention
         Control Act of 1970, Title 21 U.S.C. § 80 l et sech ("CSA" or •4tne Act"); and

                 \VHEREAS, McKesson denies the allegations set forth in the Orders and as othenvise
         summarized above and al.so denies any allegations of improper conduct including but not limited
         to allegations that it foiled to maintain effective controls against diversion or foiled to file
         suspicious order reports~ and

                \VHEREAS, the Parties believe that the continued cooperation between the Parties to
         reduce the potential for diversion is in the public imerest, including but not limited to sharing of
         information related to the distribution of controlled substances; and

                 WHEREAS, the Parties believe that a settlement in this matter is in the public interest
         and desire to settle and resolve all outstanding claims and/or issues \vith respect to the Orders
         and allegations,

                NOW, THEREFORE, in consideration of the mutual covenants and agreements
         contained herein 1 and for other good and valuable consideration, and intending to be legally
         bound hereby, the Parties hereto agree as follows:

                                                      L General

                  L fntention of Parties to Effect Settlement In order to avoid the uncertainty and expense
         of litigation. the Parties agree to resolve this matter according to the Terms and Conditions
         below.

                  2. No Admission or Concession. This Agreement is neither an admission by McKesson
         of liability or of any allegations made by DEA in the Orders and investigations, nor a concession
         by DEA that its allegations in the Orders and investigations are not well~foundedo

                3, Covered Conduct For purposes of this Agreement, "Covered Conduct" shall mean the
         following:

                 {i}    the conduct alleged In the Orders;




                                                          2




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM DL00496494
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                 (ii}    the alleged failure of McKesson to maintain adequate controls against the
                         diversion of controlled substances, on or prior to December 31 t 2007, at all
                         distribt.nion facilities operated, O\\.lled, or controlled by it;

                 (iii)   the conduct described in Appendix 8 1 Paragraph 8 to this Agreement~ and

                 (iv)    the alleged failure of McKesson to detect and report suspicious orders of the
                          controlled substances as required by 21 C.F.R.. § 130L74(b) on or before
                         December 31, 2007,

                4. DE.A. Hcadguarters, For purposes of this Agreement. the DEA Representative shall be
         the Chief, Pharmaceutical Investigations Section, Operations Division, DEA Headquarters,

                5. McKesson Regresentative. For purposes of this Agreement, the McKesson
         Representative shall be the Senior Vice President, Distribution Operations or the Vice President,
         Regulatory Affairs,

                                              II. Terms and Conditions

                 1. ObUgations of JvfcKesson.

                      (a) McKesson agrees to maintain u compliance program designed to detect and
         prevent diversion of controlled substances as required under the CSA and applicable DEA
         regulations, This program shall include procedures to review orders for controlled substances.
         Orders that exceed established thresholds and criteria vi.ill be reviewed by a McKesson employee
         trained to detect suspicious orders for the purposes of determining whether (i) such orders should
         be not filled and reported to lhe DEA or (ii) based on a detailed reviev,\ the order is for a
         legitimate purpose and the controlled substances are not likely to be diverted into other than
         legitimate medical, scientific, or industrial channels. Orders identified as suspicious will be
         reported to the DEA as discussed in subsection H. l(c), This compliance program shall apply to
         all current and future McKesson distribution centers registered with the DEA in the United States
         and its territories and possessions. McKesson acknowledges and agrees that the obligations
         undertaken ln this subparagraph do not fulfil! the totality of its obligations to maintain effective
         controls against the diversion of controlled substances or to detect 1mtl report to DEA suspicious
         orders for controlled substances.

                (b) Within five (5) business days following the date of each controlled substance
         transactio~ McKesson shall provide DEA Headquarters with a report of all controlled substance
         transactions through Electronic Data Interchange in a format mutually and reasonably agreed
         upon by the Parties. This infomunion \Vlll be based on raw sales data and will not be reconciled
         in the manner that Automation of Reports and Consolidated Orders System {ARCOS) data is
         recom:iled) nor does this requirement supplant the requirement to report ARCOS data in the time
         and manner required by DEA regulations, The Parties agree that the data provided in this report
         shall be a true and correct copy of the raw transaction data nt the time that the data is transmitted
         to the DEA and thus docs not contain any adjustments or corrections that would normally be part
         of McKesson's reconcHiatkm ofits business records. The Parties agree that the report does not




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM DL00496495
                                                                                                                 P-00016_00190
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         othernise constitute the basis for McKesscm •s compliance 1,vf th recordkeeping and reporting
         requirements under the CSA or applicable DEA regulations, The Parties agree that such report is
         not required under the CSA or DEA regulations and that the accuracy of the report or the failure
         to file such a report is not a basis for a violation of21 U,S,C, § 842(a)(5). McKesson shall begin
         transmitting this information no later than 120 days after the Pruties have mutually agreed upon a
         format The obligations contained in this paragraph shall remain in full force and effect for .a
         period of five (5) years from the Effective Date of this Agreement unless DEA agrees in v.Titing
         to an earlier termination of the obligations contained in this paragraph,

                  (c) McKesson shall inform DEA of suspicious orders as required by 21 C.ER §
         130 I. 74(b) in a format mutually and reasonably agreed upon by the Parties, except that contrary
         to DEA regulations, McKesson shall inform DEA Headquarters rather than the local DEA Field
         Office of suspicious orders, unless and until advised othe!'\vise in writing by DEA Hen.dquru1.ers.
         DEA agrees to nmify all of the DEA Field Offices \Vithin 30 days of the Effective Date of this
         Agreement that McKesson \vtll no longer be required to provide suspicious order reports or any
         other type of reports regarding excessive purchases of controlled substances to the DEA Field
         Offices and th.at this Agreement shall supersede any DEA regulatory requirements to report
         suspicious orders to DEA. The obligations contained in this para.graph shall be and remain in
         full force and effect from the Effective Date of this Agreement, and thereafter shall remain in full
         force and effect unless terminated and revoked by DEA ,vith thirty (30) days v.'ritten notice.

                   (d) .McKesson agrees to a temporary suspension of its authority to distribute drugs
         containing the drug codes for Schedule III hydroco<lone combination products and alprazolam,
         that is, DEA drug codes 9805, 9806 and 2882 with respect to the DEA registrations for its
         Lakeland Facility and its Conroe Facility, except for sales to the accounts as listed in Appendix
         C The temporary suspension shru.l terminate in accordance .,,ith subsection IL2(g) unless sooner
         terminated by the Parties in \vriting pursuant to the terms of this Agreement

                 (e) McKesson agrees that any express or implied approval by DEA of any previously
         implemented system to detect and report suspicious orders, ls hereby rescinded and is of no legal
         effect with respect to McKesson's obligations to detect and report suspicious orders in
         accordance with 21 C.F.R, §l30l.74(b),

                 (f) McKesson agrees that ,vithin 120 days of the Effective Date oft.his Agreement it will
         review distributions of hydrocodone and alprazoiam for the 24-month period immediately
         preceding the execution of this Agreement and identify any current customer whose pun::hases of
         hydrocodone and nlprazolam exceeded the thresholds established in its compliance program,
         McKesson shaH conduct an investigation and take appropriate action as required by this
         Agreementt DEA regulations and oilier procedures established under McKesson's compliance
         program including its Con.trolled Substance Monitoring Program. (CSMP).

                     (g) McKesson's poJicy and procedure is to cooperate with the government in any
         investigation. McKesson agrees to reasonably cooperate with DEA, the United States
         Attorneys' Offices, and any other Federal, state, or local law enforcement agency investigating
         or prosecuting McKesson's customers for alleged violations or activities related to the Covered
         Conduct unless such matters would affect the rights or obligations of McKesson in regard to any


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                          MCKM DL00496496
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         pending or threatened litigation, Such cooperation shall indudei but is not limited to, producing
         records and making employees available for imerviev.is by the DEA or other law enforcement
         m.athorities. However, nothing in this paragraph shall be construed as a waiver by McKesson or
         its employees of any constitutional rights or rights that the company wou!d have as a party to a
         matter involving pending or threatened litigation ,.vith the government or a third party.

                     (h) McKesson agrees to pay civil penalties to the United States of America under 2 l
         US.C § 842(c) for violations of21 U,S,C. § 842(a)(5) in the amount of$13,2:50,000,00 in
         settlement of daims or potential claims made by the United States of America for failing to
         report suspicious orders of controlled substances and for failing to report thefts or significant
         losses of controlled substances. Payment of said civil penalties shall be made by McKesson in
         the amounts indicated and as directed by the United States Attomeys 1 Offices set forth in
         Appendix B, Paragraph 13. McKesson agrees to execute the Settlement Agreement at Append.ix
         B simultaneously with the execution of this Agreement and to execute any other documents
         necessary to fully and finally settle all claims of the United States of America under this
         subparagraph, and to fully pay said dvli penalties within 30 days of the Effective Date of this
         Agreement

                  (i) Any material breach hy any McKesson facility of subsections 11. l(a)-(h) of this
         Agreement by McKesson after the Effective Date of this Agreement may be a basis upon whkh
         DEA can issue an Order to Shov,: Cause seeking the revocation of McKesson's DEA
         certificate(s) of registraticm for that foci!ity.

                2. Obfo.mtions of DEA,

                   (a) At McKesson's request, DEA shall continue to provide diversion prevention and
         awareness training, as practicable, to retail pharmacy industry members at McKesson trade
         shov.-·s and through v.'litten materials. The frequency and content of such trajning shall be at
         DEA's sole discretion.

                (b) DEA agrees to accept at DEA Headquarters the information regarding suspicious
         orders as required under 21 C.ER. §130l.74(b) and described in subsection lU(c) of this
         Agreement. DEA agrees that this procedure is consistent ,irith DEA regulatory requirements and
         hereby waives the regulatory requirement to report suspicious orders of controlled substances to
         the DEA Field Division Offices.

                 (c) DEA agrees and acknowledges that neither the CSA, DEA regulations, nor the terms
         of this Agreement establish a requirement that reporting of a suspicious order means tlmt a
         customer be designated as a suspicious customer that would de facto require the suspension of all
         orders or sales of other controlled substances to this cuswmer.

                (d) DEA agrees that any request made by DEA or any ofits employees that McKesson
         continue to sell controlled substances to customers for an order that McKesson has determined to
         be suspicious shall be made in \Vriting to the designated McKesson Representative.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKM DL00496497
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                 (e) Within 150 days of the Effective Date oflhis Agreementi but not earlier than 90 days
         after the Effective Date of this Agreement, DEA shall conduct :reviews of the functionality of
         McKesson's diversion compliance program ("Compliance Reviews'') at up to eight distribution
         centers of McKesson, consisting of the Lakeland Facility; the Landover Facility; the Conroe
         Facility; and five other McKesson distribution centers selected by DEA. DEA shall also review
         the investigatory files maintained by McKesson of the customers serviced by the distribution
         centers subject to the Compliance Reviev-,'S. DEA shall notify McKesson no less than 48 hours
         prior to commencing a Compliance Review at a distribution center. DEA shall issue a Notice of
         Inspection to McKesson upon commencement of a Compliance Review, During the course of a
         Compliance Reviev,\ if requested, McKesson shall provide DEA with information related to the
         sales of controlled substances, non~controlled drugs, and listed chemicals from Effective Date of
         Agreement, tO the date of the Compliance Review by the particular distribution center being
         reviewed, At the conclusion of each Compliance Revievl, DEA shall conduct an exit interview
         with rut appropriate McKesson representative to provide DEA's preliminary conclusions
         regarding the Compliance Review.

                   (f) The Compliance Reviews will be deemed satisfactory unless DEA determines that one
         or more of the facilities being inspected has (i) failed to maintain effective controls against
         diversion regarding the distribution of any commlled substance; (ii) failed to detect and report to
         DEA suspicious orders of controlled substances; or (iii) failed to meaningfully investigate new or
         existing customers regarding the customer's legitimate need to order or purchase controlled
         substances, The CompHam;:e Reviews shall be deemed "not satisfactory" ff DEA provides
         1,vritten notice v.ith specificity to McKesson on or before 165 days from the Effective Date of
         Agreement, stilting that McKesson failed to meet any of the requirements in either subsections
         II.2(f)(i), (ii), or (iii) of this Agreement DEA shall not find a Compliance Review Hnot
         .satisfactory" unless the foilure(s) are sufficient to provide DEA with a factual and legal basis for
         issuing an Order to Show Cause under 21 U.S.C, § 824(a) against one or more of the inspected
         facilities. In the event that DEA provides such vvritten notice of a Compliance Review
         Failure(.s), DEA shall meet and confor 'With McKesson within 48 hours regarding such a finding,
         DEA shall consider remedial measures that McKesson has instituted in determining whether th!!
         Compliance Reviews are satisfactory. A finding of1o~m.tisfact0ry" does not othenvise express
         DEA's approval of the compliance program implemented at any particular distribution centeL

                (g) Upon the completion of the Compliance Reviews and within l 80 days of the
         Effective Date of this Agreement, DEA \Vil! restore the drug codes 9805, 9806 and 2882 to the
         DEA registrations for the Lakeland and Conroe FacHities, In the event that McKesson has not
         satisfied DEA in regard to the Compliance Reviev,is v..ithin 180 days of the Effective Date of this
         Agreement and DEA issues a Show Cause against either of the Lakeland or Conroe Facilities,
         McKesson agrees to a new period of suspension of the drugs codes at such facility until the
         matter is resolved by mutual agreement of the Parties or a final decision by the DEA Deputy
         Administrator- Notwithstanding, nothing in th.is Agreement shall prevent the Parties from
         agreeing to an extension or shortening of the suspension period for these drugs codes at the
         Lakeland and Conroe Facilities at any time during the course ofthls Agreement. DEA shall not
         be prevented from taking any action that wmild otherwise be available to the agency to pursue a
         new period of suspension of the drug codes at these facilities.




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL00496498
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                (h} DEA shall execute this Agreement only upon obtaining a fully executed copy of the
         Settlement Agreement at Appendix B.

                 (i) In the event that DEA discovers information that may warrant administrative action1
         and which is not othenvise included under the Covered Conduct, DEA shai! favorably consider
         McKesson's entry into this Agreement; all actions taken by McKesson pursuant to this
         Agreement; any remedial actions taken by McKesson to address the alleged or perceived
         violative conduct; and the compliance history of McKesson at the particular facility and at other
         McKesson facilities,

                          (i) DEA represents that il has reviewed its records for investigations or
         inspections 1 initiated or conducted prior to December 31, 2007, wWch may allege that McKesson
         failed to report suspicious orders as required by 21 C.FR l30i.74(b). DEA further represents
         that it has reviewed reports and records submitted by McKesson to DEA on or before December
         31, 2007 for indications that McKesson may have failed to report su:spickms orders as required
         by 21 CF.R. 130L74(b). DEA has not referred and agrees to not refer any conduct (other than
         conduct in Appendix B, Paragraph 8) occurring before December 31, 2007, for civil penalty
         proceedings under to 21 U.S.C, § 842(a)(5) that \VOuld be based on the Covered Conduct, to any
         other agency '""ithin the Department of Justice.

                 3. Joint Oblh?ations of the Parties. McKesson and DEA agree that upon the execution of
         th.is Agreement, DEA and McKesson shall file a joint motion with the DEA Administrative Law
         Judge to terminate alt pending administrative proceedings against the Lakeland Facility and
         Landover Facility,

              4, Release bv DEA, (i) In consideration of the fulfillment of the obligations of
         McKesson under this Agreement, DEA agrees to:

                (i)     Release McKesson from any administrative claims \\<'!thin DEA's enforcement
                        authority for the conduct alleged in the Orders; and

                (ii)    Refrain from filing any administrative claims against McKesson within DEA's
                        enforcement authority under21 U,S,C. §§ 823, 824 and 842, based on the Covered
                        Conduct, only to extent that such conduct was or could have been discovered by
                        DEA through the exercise of due diligence through the examination of open
                        investigations and inspections in existence as of December 31, 2007; and the
                        review of the reports and records McKesson submitted to DEA prior to December
                        31, 2007.

                  Notwithstanding the releases by DEA contained in this Paragraph, DEA reserves the
         right to seek to admit evidence of the Covered Conduct in any other admirustrative proceedings.
         Further, nothing in this Paragraph shall prohibit any other agency \Vithin the Department of
         Justice, any State attorney general, or any other law enforcement, administrative, or regulatory
         agency of the United States or any St.ate thereof ("law enforcement agency"), from initiating
         administrative, civil, or c:rimirml proceedings with respect to the Covered Conduct and DEA
         shall, as obligated in fulfilling its statutory duties, assist and cooperate with any law enforcement


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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL00496499
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         agency that initiates an investigation, action. or proceeding involving the Covered Conduct. At
         McKesson's request, DEA agrees to disclose the terms of this Agreement to any other law
         enforcerm::nt agency and will represent that McKesson's compliance \vith this Agreement
         adequately addressed the administrative and civil allegations raised by DEA as defined in the
         Covered Conduct This release is applicable only to the Released Parties and is not applicable in
         any manner to any other individual, partnership. corporation, or entity.

                 5. Release bv McKesson. McKesson foHy and finally releases the United States of
         America, its agencies, employees, servants, and agents from any claims (induding attomey's
         fees, costs, and expenses of every kind and however denominated) which McKesson has
         asserted, could have assertedi or may assert in the future against the United States of America, its
         agencies, employees, servants, and agents, related to the Covered Conduct and the United States 1
         investigation and prosecution thereof.

                 6. Reservmion of Claims. Notwithstanding any term of this Agreement, specifically
         reserved and excluded from the scope and terms of this Agreement as to any entity or person
         (including McKesson) are the following:

                 (a) Any civil, criminal or admin.ismitive liability arising under Title 26, U.S. Code
         (f.ntemal Revenue Code};

               (b) i\ny liability to the United States (or its agencies) for any conduct other than the
         Covered Conduct subject to Paragraph HA of this Agreement; or

                (c) Any liability based upon such obligations as are created by this Agreement


                                                 m,   Miscellaneous

                l. Birniirm on Succsw,sors, This Agreement is binding on McKesson, and its respective
         successors, heirs, transferees, and assigns,

                2. Costs. Each Party to this Agreement shall bear its ow11 legal and other costs incurred
         in connection with this matter, including the preparation and performance of this Agreement.

                 3. No Additional Releases. This Agreement is intended to be for the benefit of the
         Parties and the Released Porties only 1 and by this inslrument the Parties do not release any claims
         against any other person or entity other than the Released Parties.

                 4. Effect of Agreement. This Agreement constitutes the complete agreement betvi.'een
         the Parties, All material representations, understandings, and promises of the Parties are
         contained in this Agreement., and each of the parties expressly agrees and acknowledges that,
         other than those statements expressly set forth in this Agreement, it is not relying on any
         statement. whether oral or \witten, of any person or entity ,vith respect to its entry into this
         Agreement or to the consummation of the transactions contemplated by this Agreement. Any
         modifications to this Agreement shall be set forth in writing and signed by ail Parties.




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                           MCKM DL00496500
                                                                                                                P-00016_00195
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         McKesson represents that this Agreement is entered into with advice of counsel and knowledge
         of the events described herein . McKesson further represents that this Agreement ls voluntarily
         entered into in order to avoid litigation,. ,vithout any degree of duress or compulsion,

                5. Execution of Agreement. This Agreement shall become effective (Le., final and
         binding) five (5) business days after the date of signing by the last signatory (the "Effective
         Date"}. The government agrees to notify McKesson immedi.uely when the final signatory has
         executed this Agreement.

                 6. Disclosure, McKesson and DEA may each discloSe the existence of this Agreement
         and information about this Agreement to the public without restriction, HO\vever, the Parties
         agree co provide each ocher '.vith advance notice the day before or as soon as possible once a
         decision has been made to issue a.r1y public statement or press release related to this Agreement.
         The Parties shall provide copies of any press release no later than two hours before issuing the
         press release. TI1is paragraph does not apply to any press release or public statement issued by
         the Department of Justice or any United Suues Attorney's Office, This paragraph shalt remain in
         effect for sixty (60) days~ commencing \vith the Effective Date of the Agreement.

                7. ~ecution in Counterparts, This Agreement may be executed in counterparts, each of
         which constitutes an original, and all of which shall constitute one and the same agreement

                8. Authorizations, The individuals signing this Agreement on behalf of McKesson
         represent and warrant that they are authorized by McKesson to execute this Agreemem, TI1e
         individuals signing this Agreement on behalf of DEA represent and warrant that they are signing
         this Agreement in their official capacities and that they are authorized by DEA to execute this
         Agreement,

                  9, Choice of Law and Venue. This Settlement Agreement and Release shall be
         construed in accordance with the laws of the United States, and either Party may seek judicial
         enforcement of this Agreement upon a material breach by the other Party, The Parties agree that
         the jurisdiction and venue for any dispute arising between and among the Parties under
         subsections H(2)(a-d) of this Agreement i1,ill be the United States District Court or, as
         appropriate, in the Court of Federal Claims, in which the McKesson distribution focility(s) at
         issue is located, TI1is provision, hov:ever, shall not be construed as a waiver of the jurisdictional
         provisions of the Controlled Substances Act




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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                            MCKMDL00496501
                                                                                                                 P-00016_00196
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                  IN WITNESS WHEREOF, the Parties hereto have duly executed thls Settlement and
           Release Agreement as of the date v.'ritten above,

                         CORPORATION


                 o      . Hammergren
                                                          By:   _fJ
                                                                 . .·. .~~-------
                                                                 Donald G, Walker
                  resident                                       Senior Vice President
                 McKesson Corporation                            McKesson Corporation

           Dated: April ~ 2008



         THE UNITED STATES DEPARTlvlEI\"T OF JUSTICE
         DRUG ENFPRCEMEN     Dl\ 1ST TION



               Acting Administrat
               Drug Enforcement Administration                    Drug Enforcement Administration

         Dated: May ~ . 2008                              Dated: May   L, 2008




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                    MCKM D L00496502
                                                                                                    P-00016_00197
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            Appendix A

            McKesson Distribution Center DEA Registered Facilities

            Location                      DEA Registrath:m #

            Carol Stream, IL              RM0220599
            Methuen, MA                   PM0020850
           West Seneca, NY                PM0003094
           Everett, WA                    PM0150538
           Anchorage, AK                  R!\10227430
           Aurora, CO                     PM0018425
           Livonia, Ml                    PM00.30849
           Honolulu, HI                   PMD0010i4
           Santa Fe Springs, CA           PFOOOOOl2
           Duluth.GA                      PR.0040357
           Memphis, TN                    PMOOOl951
           \Vashingmn Ct House. OH        fil.10220688
           Oklahoma City, OK              RMOl38328
           La Vista, NE                   PM0038693
           Tolleson, AZ                   PM002l !31
           \ViloonviHe, OR                PM0022929
           La Crosse, WI                  RM0220537
           Delran, NJ                     RM0!73055
           Salt Lake City, UT             P~-f0023046
           West Sacramento, CA            PM0021535
           O'Fallon, MO                   PM00.37374
           Memphis, TN                    RM0207286
           Lakeland, FL                   PM0000771
           New Castle, PA                 RM025S601
           Landover, MD                   ?00029567
           Aberdeen, SD                   RJ,.10335869
           Conroet TX                     RM0.328408
           McCal!a, AL                    R,\10336950
           Little Canada, MN              PM0036l34
           Cape Girardeau, MO             R.i\.1033 7534
           Rocky Hill; CT                 PR0104593
           Aurora, CO                     R.i\10354958




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              Appendix B


                                   SETTLEMENT AGREEMENT
                  This Settlement Agreement ("Agreement") ls entered into this    .3 o+L   day of April,

         2008, by and between the United States Department of Justice, through the United States

         Attorney's Offices for Y,~ pii:;trj~t~ 9f M~ry!an~, Middle F!orjqa, $outhern Texas, Coi?r~~?,
         Utah and Eastern California {"United States") and McKesson Corporation induding facilities

         doing business as McKesson Pharmaceuticals and McKesson Drug Company,

         rMcKesson"} and col!ectivety referred to as "the Parties."

                                                   RECITALS

         1.       McKesson is a Delaware corporation and is headquartered in San Francisca,

         California. Among othettrilhgs; NrcKesson is in U1t§i:mstrre!rs of d!str!tmt!rrg branded and

         generic prescription drugs, as we!! as over-the-counter medlcatlons, to retail pharmacies

         throughout the Unlted States,       tn   furtherance of this business objective, McKesson

         operates numerous dlstribution facilities in the United States, Including six faciHties more

         fully described in Attachment A to this Agreement ("the Six Facilities").

         2.       As more fully described in Attachment A, McKesson holds Certificates of

         Registration lssued by the Drug Enforcement Administration eDEA") authorizing it to

         distribute controlled substances from these facilities inc:ludlng the Six Facilities,

         3.       McKesson is required to operate the Six Facilities in accordance with the statutory

         and regulatory provisions of the Controlled Substances Act, 21 U,S.C. § 801 et seq. rthe

         CSA").

         4,       Each of the Six Facilities supplies prescription medications, including controlled

         substances, to retafl pharrnades and other health care providers within the respective




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          jurisdtctkms as stated in Paragraph 8.

          5.     DEA is the Department of Justice component agency primarily responsible for

          administering the CSA and is vested with the responsibility of investigating CSA violations.

          6,    The Attorney Genera!, through the United States Attorneys, has primary authority

          to bring civil actlons to enforce the CSA in the Districts noted above, See 21 U.S,C. § 871

          and 28 C.F.R. § 0.55{c).

          7.    Methadone, Hydmcodone, Phentermine, Fentany! and Oxycodone are medications

          whose manufacture, distribution, sale and possession are regulated by DEA under the

          CSA. This includes a requirement to report customer orders for controlled substances that

          are suspicious as the term is defined under 21 C,FR §1301.74(b},

          8.    The ~covered Conduct" shall mean the follow!ng alleged conduct:

                A. Within the District of Maryland: From January 2005 through October 2006,
                McKesson-Landover sold approximately 3 mimon dosage units of hydroc:odone to
                NewCare Pharmacy ln Baltimore, and failed to report these sales as suspicious
                orders to DEA when discovered, as required by and in violation of 21 C.ER §
                1301, 74(b) and 21 U.S,C, § 842(a)(5), Further, from August2006 to February 2007,
                McKesson-Landover sold large quantities of phentermine based products to Smeeta
                Pharmacy in Highland, Maryland and failed to report these sales as suspicious
                orders to DEA when discovered, as required by and in violation of 21 C.F.R. §
                1301.74(b) and 21 U.S.C, § 842(a)(5);

                B. Within the Middle Distrtct of Florida: In October 2005, McKessm1~Lakeland sold
                approximately 2.1 mHlion dosage un[ts of hydrocodone to seven pharmacies in the
                Tampa area (Trelles Pharmacy, BiWise Drugs, Universal RX, United Prescription
                Service, Accumed Rx Medipharm RX and Avee Pharmacy) and failed to report
                these sales as suspicious orders to DEA when discovered, as required by and !n
                violation of 21 C.F.R. § 1301.74(b) and 21 U.S.C. § 842(a)(5};

                C. Within the Southern District of Texas: From February to September 2007,
                Mc:Kesson~Conroe sold approximately 2.6 million dosage units of hydrocodone to
                Mercury Drlve Pharmacy and Maswoswe's A!temative Pharmacy and failed to report
                these sales as suspicious orders to DEA when discovered, as required by and rn
                violation of 21 C.F.R § 1301.74(b} and 21 U.S.C. § 842(a)(5};


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               D. Within the District gf Colorado: From September 2005 through November 2007,
               McKesson-Aurora said large quantities of hydrocodone to three Colorado
               pharmacies {Brighton Pharmacy in Brighton, Colorado; Western States Pharmacy
               in Brighton, Colorado: and St Vrain's Pharmacy in Lyons, Colorado}, and faHed to
               report these sales as suspicious orders to DEA when discovered, as required by and
               in violation of 21 C.F.R. § 1301.74(b) and 21 U.S,C. § 842{a)(5);

               E. Within the Dlstrlct of Utah: From January 2005 through October 2007,
               McKesson-Salt lake City sold approximately 824;000 dosage units of hydrooodone,
               Oxycodone 1 Fentanyl and Methadone to the Blackfeet Clinic !n Bravming, Montana,
               and failed to report these sales as suspicious orders to DEA when discovered, as
               required by and !n violation of 21 C.F.R. § 1301.74(b) and 21 U,S.C, § 842(a}(5);

               F. Within the Eastern District of California: From October 2007 through June 2007,
               McKesson-West Sacramento suffered the theft or significant loss of controlled
               substances on twenty&eight separate occasions, and failed to ttme!y submit
               required theft and loss reports to DEA, in violation of 21 C.F .R §§ 1301.74(c) and
               1301.76(b), and 21 U.S,C. § 842(a}(5),

        9.     By entering into thls Agreement, McKesson does not admlt to the violations alleged

        as a result of any DEA investigation, or to any vlo!atlcm of law, llablHty, fault, misconduct,

        or wrongdoing. McKesson expllcit!y denies any aflegations of violations of the CSA or DEA

        regulations and represents that the company has defenses to the violations alleged by the

        government

        1O.    At   au ttmes relevant to the activity a!leged in these Recitals and Attachments, the
        CSA {21 U,S.C. § 842(c)(1 )}, authorized the imposition of a civil penalty of up to $25,000

        for each violation of the Section, except that violations of § 842(a)(5) (record keeping and

        reporting violations) are subject to a clvll penalty of up to $10,000 for each violation.

        11.    To avoid the delay, expense, inconvenience and uncertainty of Htigatian of these

        claims, the Parties agree to settle, compromise, and resolve all exlsting or potential claims

        for civil penalties the United States may have against McKesson under§ 842 of the CSA

        based on the Covered Conduct as further described in Paragraphs 13 and 14 below.




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        12.    Thls Agreement is nelther an adm!sslon of llabHity by McKesson nor a concessfon

        by the Unlted States that its claims are not we!! founded. In consideration of the mutual

        promises, covenants, and ob!lgations set forth in thls Agreement, the Parties agree as

        follows:

                                       TERMS AND CONDITIONS

        13.    McKesson shall pay to the United States the sum of Thirteen MilHon, Two Hundred

        Flfty Thousand Dollars ($13,250,000) (the "Settlement Amount") wlthin thirty (30) days of

        the effective date of this Agreement, payable as follows:

               A. For Conduct Alleged to have Occurred within the District of Maryland:
               McKesson shall pay the sum of Two Million Dollars ($2,000,000). Payment shall be
               by electronic funds transfer to the United States Attorney's Office, District of
               Maryland, pursuant to instructions provided by the United States,

               B. For Conduct Maged to have Occurred wlthln the Middle District of Florida:
               McKesson shall pay the sum of Seven Million Four Hundred Fifty-Sbt Thousand
               Dollars ($7,456,000}. Payment shall be by electronic funds transfer to the United
               States Attorney's Office, Middle District of Florida, pursuant to instructions provided
               by the United States.

               C. For Conduct Alleged to have Occurred within the Southern District of Texas:
               McKesson sham pay the sum of Two Million DoUars ($2,000,000). Payment shall be
               by electronic funds transfer to the United States Attorney's Office, Southern District
               of Texas, pursuant to instructions provided by the United States.

               D. For Conduct Alleged to have Occurrnd_within the District of Colorado: McKesson
               shall pay the sum of One Million Dollars {$1,000,000). Payment shall be by
                                                                     1
               electronic funds transfer to the United States Attomey s Office, District of Colorado,
               pursuant to lnstructions provided by the United States.

               E. For Conduct Alleged to have Occurred within th'9 District of Utah: McKesson
               shall pay the sum of Flve Hundred Forty-Four Thousand Dollars ($544,000).
               Payment shall be by electronlc funds transfer to the United States Attomets Office.
               District of Utah, pursuant to instructions provided by the United States.

               F. For £onduct Alleged to have Occurred within the Eastern District of Califomla:
               McKesson shall pay the sum of Two Hundred Fifty Thousand Dollars ($250,000).
               Payment sha!I be by electronic funds transfer to the Unfted States Attorney's Office,

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                Eastern District of California, pursuant to instructions provided by the United States.


         14.    In consideration of the undertakings by McKessont the United States agrees to

         settle and relinquish a!! claims for civil penalties it may have under 21 U.S.C. § 842.(c)(1)

         against McKesson, its officers, directors. and employees for possible violations of the CSA,

         and the regulations promulgated thereunder, based on the Covered Conduct.

         15.    McKesson fully and finally releases the United States, its agencies, employees,

        servants, and agents from any claims (inc!ucHng attorney's fees, costs, and expenses of

        every kind and however denominated) which lt has asserted, could have asserted, or may

        assert !n the future against the United States, its agencies, employees, servants, and

        agents, related to the investigation, prosecution and settlement of this matter.

        16.     Notwithstanding any term of this Agreement specifically reserved and excluded from

        lts scope and terms as to any entity or person are the following:

               A. Any potential criminal liability;

               B. Any crfmlnal, civil or administrative claims arising under Title 26, U.S. Code
               {Internal Revenue Service);

               C. Any admlnistrative liablmy, including mandatory exclusion from any federal
               programs;

               D. Any !iabmty to the United States for any conduct other than that covered by the
               release in Paragraph 14; and

               E. Any claims based on such obligations as are created by this agreement


        17.    McKesson acknowledges that each of its DEA registered faclllt!es is required to

        comply with the contm!!ed substance record keeping and reporting requirements of the

        CSA. McKesson represents that it has taken good-faith actions to detect and prevent




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         diversion including agreeing to implement the policies and procedures that are the subject

         of an administrative settlement agreement between it and DEA dated May±_, 2008.

         18.    McKesson agrees that any and a!! costs it has or wifl incur in connection with this

         matterw~inc!udlng payment of the Settlement Amount under this Agreement, attorney's fees,

         costs of investigation, negotiation, and remedial action-shall be unallowable costs for

         government contract accounting and for Mecifcare, Medicaid, TriCare, and FEHBP

         reimbursement purposes.

         19.    This Agreement is not intended by the Parties to be, and shall not be interpreted to

         constitute, a release of any person or entity not identified or referred to herein.

         20.    This Agreement shall be governed by the laws of the United States, If a dispute

         arises under this Agreement between McKesson and an Office of the United States

         Attorney signing this Agreement, exdus!ve jurisdlctron and venue shall lie in the federal

        judicial district of the Office with whom the dispute arose, and to the extent that state law

         applies to the dispute, the law of the State withln the jurisdictional district shafl apply. Ir a

         dfspute arises under this Agreement betv;een McKesson and more than one of the United

        States Attorney's Office signing this Agreement, exclusive Jurisdiction and venue shaU lie

        in the D!strict of Maryland and to the extent that state law applies to the dispute, the law of

        Maryland shall apply.

        21.     The Parties agree that thrs Agreement does not constitute evidence or an admission

        by any person or entfty, and shall not be construed as an admissron by any person or

        entity, with respect to any issue of law or fact.

        22.    This Agreement constitutes the entire agreement between the Parties and cannot

        be amended except in writing and when signed by an the Parties to this Agreement.




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            23,      McKesson acknowledges that its authorized representatives have read this

            Agreement and understand that as of its effective date, it wm be a matter of pubHc record.

            24.      Each person who signs this Agreement in a representative capacity warrants that he

            or she is fully authorized to do so,

            25.      This Agreement shall be effective on the date of signing by all the Parties. It may be

            executed in counterparts, each of which shall constitute an original and a!! of which shall

            constitute one and the same agreement



            On Behalf of McKesson Corporation
            One Post Street
            San Franc 0 1 CaHfomia 94104


                                                               By..............
                                                                     :_        -~
                                                                                -~---
                      ohn H. Hammargren                                Donald G, Walker
                     President                                         Senior Vice President

            Dated:   A,,) ,2 L. 2008                            Dated: ~b    1-'o , 2008


                     John A, Gilb    , Jr,
                     Hyman, Phelps & McNamara, P,C.
                     Counsel to McKesson Corporation

            Dated:    ~ 2,(             ,2008




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                                             ATTACHMENT A

               {Six McKesson Facmties Referenced in Paragraph 1 of this Agreement)


         1.       7721 Polk Street in Landover Maryland ("McKesson-Landover"), located within the
         District of Maryland and operating under DEA registration number PD0029567;


         2.      i 515 West Bella Vista Street fn Lakeland Florida rMcKessan-Lake!and'"'}, located
         within the Middle District of Florida and operating under DEA registration number PM
         0000771;


         3.    3301 Pollock Drive in Conroe Texas f'McKesson-Ccmroe"), located withln the
         Southern Dlstrlct of Texas and operating under DEA registration number RM 0328408;


        4.       14500 East 39 th Avenue in Aurora Colorado ("McKesson-Auron:f ), located within the
         District of Colorado and operating under DEA registration number PM OOi 8425;


        5.     1900 South 4490 West in Salt lake Cir; Utah ("McKesson-Salt Lake City"), located
        within Distrfct of Utah and operating under DEA registratfon number PMOQ23046; and


        6.      3775 Seaport Boulevard in West Sacramento Ca!ifomia {"McKesson-West
        Sacramento"}, located within the Eastern District of CaHfomia and operating under DEA
        registration number PM 0021535<




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         m          Appendix C - Sales Accounts at Lakeland and Conroe FacUitios authroizoci by DEA as an exception to Paragraph IL 1(d),
         z          (Lakeland DC Code= 195/Conroo Codo = 115}
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         r►         Account Namo                      DC       DEA         Address                        C!ty                 St    Zip
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         (/)        CENTRAL TX Vl\•SPD TEMPLE          l 15 AB•MSI 12•1 l!ffii srnrm HHXTST!Ul.ET         THMI'l.E             TX          76504
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         ;a
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         -I         VA MEDICAL CFNTIUUiNl'AT           195 AV4345$S9 lW! NW !GT!! ST                      MIAMI                H.          B!25
         m          VA MEnlCAL CENTHtO!' ?!WY          11:'\ AV45!57'io ;mni nrn.co~mu BLVD               HOUSTON              TX          77t))0
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                    COUSHATTA m.TDEMRT !HS              l 15   OC6820383 PO BOX 519 20-0J CC HEL RO       Bl.TON               LA          70532
                    DEPT OF VET AFFAlkS MED             195    tll12256990 lO CAL.LR CASJA                SANJUAN              l'R            qz1
                    VA MEDICAL CENTER                   195    HIJ2669')9S 7305 NOKnl MIUTARY TRAIL       WEST PALM' BEA.Cl[   FL          33410
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         m         Appendix C ~ Salas Accounts at Lakeland and Ccmroe Fm:mties authroizod by DEA as an c:iu:::epth:::,n to Paragraph U.1 (d).
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         (/)       US i'ENffENTIARY-f'OLLOCK            115      IW7167R45      l'Oil !000   woo Am HASH 1m      !'OL!.OCK            LJ\   71467
         C         ALEXANllRR NlNlNfiBR      svm        195      Bll717l589     840! W CYl'RESSDR                PEMBROKE PINES       Ft    33-025
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       TO:                        Linden Barber                                               FAX NO.:     (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                           MCKMDL00496517
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                                           UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MARYLAND

              U'NITEDSTATESOPAMERICA
                                                                                        SUBPOENA IN A
                                    v.                                                  CRIMINAL CASE

                                                                                        Case Number:


   TO:


                        Mr.Garry.Adam
                        c/a McKesson Drug Company
                        7721 Polk Avenue
                        Landover, MD 20785
                        Fax:415-983-9369
   D YOU ARE COMMANDED to appear :in the United States District Court at the place, dam, and time specified below,
     or any S'l.tbseqwmt place, date: and time set by the court, to testify m the above :referenced case. This subpoena shall
     remain meffect until you are granted leave to depart by the comt or by an officer acting oo behalf of the court.
   PLACB                                                                                                COURTROOM
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   United States Courthouse
   101 West Lomba.rd Street                                                                             DATE AND TIME
   Bal~ Mmyland 21201                                                                                    June 9, 2008

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   U.S. MAGISTRATE ruDC.IE OR CLSru( ~OlfR.T •
   Felicia C. Cannon1 Clerk                  J~
                                               /Ja~                                           DATE


   (By) Deputy Clerk




   ASsiSW!t l.J. $. Atrome-y, 36   South Charles S eet,   Floor, Baltimore, MaryJimd 2.120!
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                   MCKMDL00496518
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                   Department of Justice
            Office ofthe United States Attorney
                    District of Maryland
                  36 South Charles Street
                        Fourth Ffoor
                   BaltimOX'et MD 11201
                    Fu (410) 962-0122                                            Rod J. Roseostein
                   Phone (410) 209-4800                                        United States Attorney




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         To:             John Gilbert. Esq.
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                             6!2107               ~
                             Andrea L. Smith, AUS
                             410-209-4858


         Comments:           Thanks. A




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                                 Linden Barber                                                           (202) 307-4946
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                                                    MCKMDL00496521
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CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                                                                                               MCKM D L00496522
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 218 of 220 PageID #: 72777



                            UNITED STATES OEPAH.TI\,JENT OF JUSTICE
                                 Drug Enforcement /ulministration




                 McKesson Corporation                                           Docket Nos, 06~66
                 d/b/a McKesson Drug Company                                                                08-14



                                    ORDER TERMINATING PROCEEDlNGS

                 On June 6, 2008, counsel filed a joint motion to terminate the proceedings in the
          nbove~captioned matters on grounds that the parties have entered into an agreement that
          resolves the issues in both of the pending matters,
                  [nasmuch as lt appears that these proceedings are now moot, it is
                 ORDERED that all proceedings in the above-captioned matters before the
          undersigned be, and they hereby are, terminated,

          Dated: June 6, 2008




                                                                              Mary EIUin Bittner
                                                                              Administrative Law Judge


                                          CERTIFICATE OF SERVICE

                 This is to certify that the undersigned, on June 6, 2008, caused a copy of the
          foregoing to be deli vercd via interoffice mail to counsel for the Government,
          \Vaync Patrick, Esq., Office of Chief Counsel, Drug Enforcement Administration,
          Washington, D.C. 20537, and a copy to be mailed, postage paid, to counsel for
          Respondent, John A Gilbert, Jr., Esq., Hyman, Phelps & McNamara, P.C., 700
          Thirteenth Street, N.\:V., Suite 1200, Washington, D.C 20005.
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                                                       Attorney Advisor to Mary Ellen Bittner
                                                       Administrative Law Judge




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                                                        MCKM D L00496523
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     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 219 of 220 PageID #: 72778




                         UNITED STATES DEPARTMENT OF JUSTICE
                              Drug Enforcement Administration

      In The Matter of                         )
                                               )
        McKesson Corporation                   )                     Docket Nos. 06-66
        d/b/a McKesson Drug Company            )                     and 08-14




                               JOINT MOTION TO TERMINATE

             McKesson Corporation (Respondent), through the undersigned counsel,

      respectfully submits this Joint Motion to Terminate the hearing and any further

      proceedings in the above captioned matters. As grounds for this request, the parties state

      that on May 2, 2008, Respondent and the Government entered into a Settlement and

      Release Agreement and Administrative Memorandum of Agreement that resolves both of

      the pending matters, Docket Nos. 06-66 and 08~14. The undersigned has discussed this

      motion with D. Linden Barber, Esq. and Wayne Patrick, Esq. counsel for the Government

      in these matters. The Government joins in the motion,




                                               John A. Gil e Jr.
                                               Hyman, Phelps & McNamara PC
                                               700 Thirteenth Street, N, W.
                                               Washington, D.C. 20005
                                               (202) 737-5600
                                               (202) 737-9329 (Fax)

                                               Counsel for McKesson Corporation

      Dated: June 6, 2008




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                MCKM DL00496524
                                                                                              P-00016_00219
     Case 3:17-cv-01362 Document 1509-3 Filed 01/12/22 Page 220 of 220 PageID #: 72779




                                    CERTIFICATE OF SERVICE

                This is to certify that the undersigned, on June 6, 2008, caused a copy oft.he
        foregoing to be delivered by facsimile with a confirmation copy by regular mail to The
        Honorable Mary Ellen Bittner U.S. Department of Justice, Drug Enforcement
        Administration, 600 Army Navy Drive, Arlington, Virginia, 22202, and copies to be
        delivered by facsimile and regular mail to:


                                     D, Linden Barber
                                     Chief, Regulatory Section
                                     Office of Chief Counsel
                                     Drug Enforcement Administration
                                     600 Army/Navy Drive
                                     Arlington, Virginia 22202




CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER                                                  MCKM DL00496525
                                                                                                 P-00016 _ 00220
